                    `IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE NORTHERN DISTRICT OF ALABAMA
                                NORTHERN DIVISION

In re:                                    )                Chapter 11
                                          )
Remington Outdoor Company, Inc. et al.    )                Case No. 20–81688-CRJ)
                                          )
                        Debtors.          )                (Jointly Administered)
__________________________________________)



           UNITED MINE WORKERS OF AMERICA’S LIMITED OBJECTION
                        TO DEBTORS’ PROPOSED SALE
         OF SUBSTANTIALLY ALL OR A PORTION OF THE DEBTORS’ ASSETS


         The United Mine Workers of America (“UMWA”), by and through counsel, submits this

Limited Objection to the Proposed Sale of Substantially All or a Portion of the Debtors’ Assets

(the “Objection”) to the extent that such a sale would affect the Debtors’ collective bargaining

agreement (“CBA”) with the UMWA or the Debtors’ retiree benefits obligations to their union

employees, and to the extent such a sale permits the Debtors to circumvent the mandatory

requirement of good faith collective bargaining pursuant to 11 U.S.C. §§ 1113 and 1114. In

support of this Objection, the UMWA respectfully states:

                                      INTRODUCTION

         The UMWA objects to the extent the proposed sale of the Debtors’ assets alters,

modifies, rejects, and otherwise affects, without providing for or even mentioning, the Debtors’

collective bargaining agreement (“CBA”) with the UMWA or the Debtors’ retiree benefits

obligations to their union employees. The Debtors cannot circumvent their good faith collective

bargaining obligations required by 11 U.S.C. §§ 1113 and 1114 to achieve a unilateral, bad faith

rejection of the CBA and retiree benefits, yet that is precisely what the Debtors are doing by




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rushing through a sale and failing to provide either time or opportunity for the UMWA to

negotiate with the Debtors or prospective purchasers. The Bankruptcy Code does not permit this

result, and it should not be permitted here.

                                  FACTUAL BACKGROUND

       1.      The Debtors initiated this case on July 27, 2020 (the “Petition Date”).

       2.      On July 28, 2020, the Debtors filed a Motion of Remington Outdoor Company,

Inc. and its Debtor Affiliates (“Debtors”) for (I) an Order Establishing Bidding Procedures and

Granting Related Relief and (II) an Order or Orders Approving the Sale of the Debtors’ Assets

(the “Motion”). See Doc. 29.

       3.      The Debtors have indicated a desire to sell their business as a going concern,

which would include their plants, equipment, assumed and assigned executory contracts, and all

assets necessary to consummate the going concern sale.

       4.      The Debtors are party to a CBA with the UMWA that is an executory contract

which is in full force and effect. A true and correct copy of the CBA is attached hereto as

Exhibit A. Moreover, the Debtors own initial pleading, namely the Wage Motion (Doc. 8),

acknowledges that the Debtors are obligated to pay certain retiree health obligations that have the

protections of § 1114 of the Bankruptcy Code.

       5.      During the status conference and hearings on first day motions, the Debtors

repeatedly indicated a desire for an expedited sales process for the disposition of these cases.

       6.      Counsel for the UMWA has noted from the outset of this case, both before this

Court and in subsequent conversations with Debtors’ counsel, that the proposed expedited sales

process and ultimate sale of the Debtors’ assets may be statutorily barred to the extent it has any

effect on the CBA or retiree benefits.



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       7.      Nevertheless, on August 20, 2020, the Court granted the motion in part and

entered an Order Establishing Bidding Procedures Relating to the Sales of All or a Portion of the

Debtors’ Assets (the “Order”). Doc. 411.

       8.      In the Order, the Court approved a very abbreviated timetable for completing an

auction and sale of the Debtors’ assets by September 17, 2020 (less than three weeks from the

date of this Objection). Id. at 6.

       9.      Pursuant to that timetable, on August 21, 2020, the Debtors served a Notice of

Executory Contracts and Unexpired Leases That May be Assumed and Assigned in Connection

with the Sale of the Debtors’ Assets and the Proposed Cure Costs With Respect Thereto (the

“Notice”). Doc. 420.

       10.     The CBA is not included on the list of executory contracts to be assumed or

assigned and, despite the Debtors’ acknowledgement of their retiree benefits obligations in their

own pleadings, no provision has been made for them.

       11.     The CBA contains a “Successorship” clause, which states:

       In consideration of the UNION’S execution of this Agreement, the EMPLOYER
       promises that the PLANT covered by this Agreement shall not be sold,
       conveyed, or otherwise transferred or assigned to any successor without first
       securing the successor’s agreement to assume the EMPLOER’S obligations
       under this Agreement including Appendix A.

Ex. A at 5.

       12.     The CBA further provides that “it shall be deemed a violation of this Agreement

if the PLANT, to which this Agreement is applicable, shall be sold, leased, subleased, assigned

or otherwise disposed of for the purpose of avoiding the obligations hereunder.” Id. at 40.

       13.     While the UMWA stands prepared and willing to have meaningful conversations

and/or negotiations with the Debtors (or prospective purchasers) regarding the existing CBA and



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the preservation of UMWA jobs, as well as UMWA related retiree healthcare obligations, the

Debtors have now rendered such mandatory negotiations impossible.

        14.      As of the date of this Objection, the parties have had no substantive negotiations

regarding the CBA or retiree benefits. Instead, by their own Notice, the Debtors have unilaterally

rejected their CBA and retiree benefit obligations by failing to include them in the list of

executory contracts which may be assumed or assigned.

        15.      Under these circumstances, any potential bidder or ultimate purchaser of the

Debtors’ assets would already be free and clear of the CBA and retiree benefit obligations

because the Debtors do not even allow for the assumption or assignment of their §§ 1113 and

1114 obligations.

        16.      This is not a good faith sale, and any post-sale negotiations with the Debtors

would be a futile, pre-determined endeavor.

        17.      This result eviscerates the clear language of §§ 1113 and 1114 of the Bankruptcy

Code and cannot be permitted here.

                                          OBJECTIONS

   I.         The Debtors’ May not Eviscerate the §§ 1113/1114 Process by Delaying
              Negotiations Until After a Sale of their Assets Free and Clear of CBA and
              Retiree Benefit Obligations has already Occurred.

        The Debtors’ Motion and Notice reveal a bad faith attempt to use a § 363 sale to

circumvent the statutorily mandated collective bargaining process for rejecting or modifying

collective bargaining agreements and retiree benefits. This is directly contrary to the Bankruptcy

Code §§ 1113 and 1114, expressly prohibited by case law in this district, and cannot be

permitted here to the extent the Debtors seek confirmation of any Sale that does not include an

assumption and assignment of the CBA and retiree benefit obligations to a potential seller.



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        11 U.S.C. §§ 1113 and 1114 provide the sole methods for modifying or rejecting

collective bargaining agreements and retiree benefits. See In re Unimet Corp., 842 F.2d 879, 884

(6th Cir. 1988) (finding debtor required to comply with all provisions of a CBA unless and until

the debtor complied with § 1113).1 These sections provide a “statutorily mandated sequence of

steps to be followed” prior to modification or rejection of any CBA or retirement benefits

provision, which may not be considered or approved by the Court until, at a minimum, the

Debtors have (1) submitted a proposal and engaged in good faith negotiation with the

employees’ and/or retirees’ representative and (2) made an adequate showing that the proposed

modifications or rejections are necessary and will ensure affected parties are treated fairly and

equitably. In re Century Brass Prods., Inc., 795 F.2d 265, 272 (2d Cir. 1986); In re Visteon

Corp., 612 F.3d at 229. To be clear, the Bankruptcy Code expressly requires that the Debtors

“confer in good faith in attempting to reach mutually satisfactory modifications” of their

§§ 1113/1114 obligations. 11 U.S.C. §§ 1113(b)(2), 1114(f)(2).

        Debtors cannot use a § 363 sale to circumvent the good faith negotiations required by the

Bankruptcy Code.2 Judge Mitchell acknowledged this in In re Walter Energy, Inc., 542 B.R. 859,



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  See Am. Flint Glass Workers Union v. Anchor Resolution Corp., 197 F.3d 76, 80 (3d Cir. 1999) (finding DIP
violated § 1113(f) when it entered into agreement for sale of assets which affected CBA relations without first
complying with § 1113(b)), Wheeling-Pittsburg Steel Corp. v. United Steelworkers of Am., AFL-CIO-CLC, 791 F.2d
1074, 1088 (3d Cir. 1986) (recognizing that a proposal, negotiation, and then a hearing on rejection or modification
to be the “statutorily mandated sequence of steps to be followed” in order to modify or reject a CBA), In re Century
Brass Prods., Inc., 795 F.2d 265, 272 (2d Cir. 1986) (finding Congress “designed [§ 1113] to insure that employers
did not use Chapter 11 as medicine to rid themselves of corporate indigestion”), In re Journal Register Co., 488
B.R. 835, 840 (Bankr. S.D.N.Y. 2013) (holding “debtor cannot reject a collective bargaining agreement except in
accordance with Bankruptcy Code § 1113(f)), AFL-CIO v. Kitty Hawk Int’l, Inc. (In re Kitty Hawk, Inc.), 255 B.R.
428, 432 (Bankr. N.D. Tex. 2000) (finding § 1113 to be the “exclusive process by which a debtor may seek to
modify or reject a collective bargaining agreement”); see also IUE-CWA, The Indus. Div. of the Commc’ns Workers
of Am., AFLCIO, CLC, v. Visteon Corp. (In re Visteon Corp.), 612 F.3d 210, 229 (3d Cir. 2010) (finding a clear
requirement under § 1114 that “retiree benefits must be continued without change until and unless a modification is
agreed to” through the § 1114 process, and that all other bases for rejection are prohibited) (quoting S. Rep. No.
100-119) (emphasis in Visteon).
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  See also In re Ionosphere Clubs, Inc., 922 F.2d at 989 (holding other provisions of the Bankruptcy Code
“inoperable to the extent that they allow a debtor to bypass the requirements of § 1113”); In re Visteon, 612 F.3d at
229 (same with regard to § 1114).

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880 (Bankr. N.D. Ala. 2015), concluding that §§ 1113 and 1114 must still be satisfied even in a

the context of a § 363 sale. Even the case law cited by the Debtors cautions against the path they

are now walking. In their response to the UMWA’s objection to the bidding procedures motion,

the Debtors argue that “a debtor may reject Section 1113 collective bargaining agreements or

Section 1114 retiree benefits at any time until confirmation of a plan – even after it has sold its

assets pursuant to a Section 363 sale.” Doc. 354 at 12. The Debtors cite In re Family Snacks, Inc.

for this proposition, which went on to state that even after the sale, a debtor must prove it has

met each factor necessary to satisfy §§ 1113 and 1114, “including specifically that it is acting

in good faith.”257 B.R. 884, 898 (8th Cir. BAP 2001). The Panel remanded the case for further

proceedings to determine whether the debtors had acted in good faith.

          Debtors act in bad faith under §§ 1113/1114 when they fail to negotiate or make efforts to

find a buyer to negotiate with the union and obligate themselves to sales that do not include

CBAs and retiree benefits. The ultimate result is that their subsequent attempts to reject CBAs

and retiree benefits must be rejected. See In re Lady H Coal Co., 193 B.R. 233 (Bankr. S.D.W.V.

1996). In Lady H, debtors sold their assets without first negotiating with the union and then

sought an order rejecting the CBA and retiree benefits. The bankruptcy court found that “the

Debtors could not have bargained in good faith as the Debtors were, prior to any negotiations

with the union, locked into an agreement where the purchaser was not assuming the [CBA].” Id.

at 242.

          By their own actions, the Debtors have already prevented the possible occurrence of good

faith negotiations. The auction of the Debtors assets is set to take place in less than three weeks,

and the Debtors have not even placed the CBA and retiree benefits on the table for potential

assumption or assignment to a prospective purchaser. While the Debtors may, in certain



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circumstances, be permitted to sell certain assets before seeking approval of a rejection or

modification of Sections 1113 and 1114, they cannot put a sale in front of the §§ 1113/1114

negotiations in a blatant attempt to force a predetermined outcome.3 To allow otherwise would

permit Debtors to circumvent §§ 1113 and 1114 under the guise of a § 363 and use Bankruptcy

as a weapon to destroy CBAs and retiree benefits. This is not allowed, and the Debtors sale

should not be allowed here to the extent it precludes the good faith negotiations required by the

Bankruptcy Code.

          Accordingly, the UMWA respectfully requests that the Court deny the Motion (1) to the

extent it seeks circumvent the §§ 1113 and 1114 collective bargaining process and (2) to the

extent that it seeks to substitute the judgment of this court to the dictates of unidentified and

unknowable future bidders on the Debtors’ assets.

    II.      The Debtors’ Proposed Sale is Impermissible Because it Violates § 1113(f).

          Bankruptcy Code 11 U.S.C. § 1113(f) provides: “No provision of this title shall be

construed to permit a trustee [or debtor in possession] to unilaterally terminate or alter any

provision of a collective bargaining agreement prior to compliance with the provisions of this

section.” Case law makes abundantly clear that a debtor cannot enter into an agreement for the

sale of assets where the sale would necessarily affect the terms of a CBA unless and until the

debtor complies with §§ 1113 and 1114. See Am. Flint Glass Workers Union v. Anchor

Resolution Corp., 197 F.3d 76, 80 (3d Cir. 1999) (finding DIP violated § 1113(f) when it entered

into agreement for sale of assets which affected CBA relations without first complying with

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   “Good faith means more than merely going through the motions of negotiating: it is inconsistent with a
predetermined resolve not to budge from an initial position.” NLRB v. Truitt Mfg. Co., 351 U.S. 149 (1956) (Black,
J., concurring); NLRB v. Sw. Porcelain Steel Corp., 317 F.2d 527, 528 (10th Cir. 1963) (“[T]he parties can bargain,
even to impasse on positions fairly maintained . . . But, they may not come to the bargaining table with a closed
mind, i.e., a predetermined disposition not to bargain.”); see also Kellwood Co., Ottenheimer Div. v. NLRB, 434
F.2d 1069, 1072 (8th Cir. 1970) (stating that “one party [who] makes it virtually impossible for him to respond to
the other – knowing that he has done so deliberately – should be condemned by the same rationale that prohibits
‘going through the motions’ with a ‘predetermined resolve not to budge from an initial positions’”).

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§ 1113(b)); see also Visteon, 612 F.3d 210, 229 (3d Cir. 2010) (finding a clear requirement under

§ 1114 that “retiree benefits must be continued without change until and unless a modification is

agreed to” through the § 1114 process, and that all other bases for rejection are prohibited)

(quoting S. Rep. No. 100-119) (emphasis in Visteon).

          Yet, this is exactly what the Debtors are doing in their proposed sale. To be clear, the

Debtors have: (1) failed to allow time for collective bargaining pursuant to §§ 1113 and 1114

prior to a sale of substantially all of their assets; (2) indicated that they will not engage in

1113/1114 negotiations until after the sale (see Doc. 354 at 12); and (3) failed to include the

CBA, its obligations, or retiree benefits on its notice of executory contracts to be assumed or

assigned in a sale. Given the express requirements contained in the CBA that its obligations

succeed to any purchaser or assignee of the assets covered under the agreement, then unless the

purchaser of the Debtors’ assets assumes the CBA and retiree benefit obligations without

modification, the Debtors have already rejected CBA provisions and violated § 1113(f) of the

Bankruptcy Code. See In re: Journal Registrar Co., 488 B.R. 835, 840 (Bankr. S.D. NY 2013)

(Judge Bernstein stating that “a sale under Bankruptcy Code §363 cannot circumvent the

condition imposed under the successor clause absent compliance with §1113”) (emphasis

added).

          Under these circumstances, any sale that does not include assumption and assignment of

the CBA and retiree benefit obligations must be denied. As previously noted, the UMWA stands

ready, willing, and able to participate in good faith negotiations, on a workable timetable, in

accordance with the provisions of the Bankruptcy Code and assist the process of moving this

case forward in a timely and statutorily valid manner.




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                                   RESERVATION OF RIGHTS

       The UMWA reserves the right (i) to join in the objections of other parties in interest,

including without limitation any objection of the Official Committee of Unsecured Creditors, (ii)

to raise further and other objections to the sale prior to or at the hearing, and to amend,

supplement or modify this Objection at any time prior to the hearing on the Motion, and (iii) to

be heard before this Court with respect to the subject matter of this Objection or any other

objection raised to the sale.

                                         CONCLUSION

       Accordingly, based upon the foregoing, the UMWA asserts that this Court not allow a

sale authorizes the Debtors to engage in bad faith and permits the circumvention of mandatory

Bankruptcy Code provisions The UMWA seeks whatever further and additional relief as the

Court may deem appropriate.



Dated: September 1, 2020.

                                             Respectfully submitted,

                                              /s/ R. Scott Williams
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                               CERTIFICATE OF SERVICE

        I hereby certify that on September 1, 2020, a true and correct copy of the foregoing was
served via this Court’s CM/ECF Noticing System on all parties receiving electronic notices in
this bankruptcy case.




                                            /s/ R. Scott Williams
                                            Of Counsel




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                          Exhibit A




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          56789@ABCBDBEFGH@8FIBP@GQRASTTTTTTTTTTTTTTTTTTTUS
          S VWXY4`aSbcdSef4`fSghfWWiWaYpqSS
          S efcXY4XWpScarSstpY`ipSTTTTTTTTTTTTTTTTTTTU
          S VWXY4`aSbudSvWX`ha4Y4`aSTTTTTTTTTTTTTTTTTTw
          S VWXY4`aSbXdSx`ay4pXf4i4acY4`aSTTTTTw
          S VWXY4`aSbrdSWa4Y4`apSTTTTTTTTTTTTTTTTTTTwS
          S VWXY4`aSbWdSecf`SWrtXY4`aSTTTTTTTT
          S VWXY4`aSbdSVtXXWpp`fp4STTTTTTTTTTTTTTTS
          56789@ABCCBB9ABGFBPA6GIASTTTTTTTTTTS
          S VWXY4`aSbcdS`fStf4pr4XY4`aSTTTTTTTT
          S VWXY4`aSbudSdWiY4`apSsctpWSTTTTT
          S VWXY4`aSbXdSVtWfe4p`fpSVcSx`YSS
          S eWf`fiSscpp4WrS`fSTTTTTTTTTTTTTTTTTf
          S VWXY4`aSbrdSgcachWiWaYS̀ SYWS
          S ehgxiSTTTTTTTTTTTTTTTTTTTTTTTTTTTTTTTTTTTTTTTTTTTTj
          S VWXY4`aSbWdSkxlmxnVSv4hYpSTTTTTTTTUo
          S VWXY4`aSbdSs`aYfcXY4ahScarSS
          S VtuX`aYfcXY4ahSTTTTTTTTTTTTTTTTTTTTTTTTTTTTTTUS
          56789@ABCCCBDBpGIARBGFBqQ6RSTTTTTTTTTTTTU
          S VWXY4`aSbcdSrcp4XS`frcSTTTTTTTTTTTTUS
          S VWXY4`aSbudSrcp4XS`fsWWSTTTTTTTTTUS
          S VWXY4`aSbXdSmeWfY4iWSecScarSS
          S efWi4tiSecSTTTTTTTTTTTTTTTTTTTTTTTTTTTTTTTTTU
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          S VWXY4`aSbWdS{`tfSchWSvcYWpScarSS
          S V4YS4 WfWaY4cSTTTTTTTTTTTTTTTTTTTTTTTTTTw
          56789@ABC|BBq@8G}RSTTTTTTTTTTTTTTTTTTTTTTTTTTwj
          S VWXY4`aSbcdS{`4rcpSmupWfeWrSTTTTwjS
          S VWXY4`aSbudSVcYtfrcScarSVtarcSSS
          S {`4rcpSTTTTTTTTTTTTTTTTTTTTTTTTTTTTTTTTTTTTTTTTTto
          S VWXY4`aSbXdSecaYS~`cYWfScarSS
          S WXWiuWfSwSTTTTTTTTTTTTTTTTTTTTTTTTTTTTTTTTTtU
          S VWXY4`aSbrdSecS`fS{`4rcpSS
          S `fWrSTTTTTTTTTTTTTTTTTTTTTTTTTTTTTTTTTTTTTTTTTTTtU
          S VWXY4`aSbWdSecS`fS{`4rcpSx`YSS
          S `fWrSTTTTTTTTTTTTTTTTTTTTTTTTTTTTTTTTTTTTTTTTTTTtw
          S VWXY4`aSbdSr4fYrcS{`4rcpSTTTTTTtw
          B VWXY4`aSbhdSi4iWS̀ SeciWaYSTTTTTTTTtS
          56789@AB|BB|G9G78FSTTTTTTTTTTTTTTTTTTTTTTTTTTTTTtS
          S VWXY4`aSbcdSvWhtcfScXcY4`aSTTTTTTTtS
          S VWXY4`aSbudSehgxiSVtYr`saSTTTTTtS
          S VWXY4`aSbXdSVYchhWfWrScXcY4`aSTTTTt
          S VWXY4̀aSbrdS`fStf4ahSVtYr`saSTTTtS
          S VWXY4`aSbWdSi4iWS̀ SeciWaYSTTTTTTTTtS
          S VWXY4̀aSbdSmu4hcY4̀aS`fSeciWaYSTTtj
          56789@AB|CBB5@@GF9ASTTTTTTTTTTTTTTTTTTTTTTTTo
          S VWXY4`aSbcdSrWfWceWiWaYSecSTTTTTTTo
          S VWXY4`aSbudStfStYSTTTTTTTTTTTTTTTTTTTt
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          S VWXY4`aSbXdSvW`fY4ahSecScarSS
          S scSySlaSecSTTTTTTTTTTTTTTTTTTTTTTTTTTTTTTTTTTT
          S VWXY4`aSbrdSg44YcfStYSTTTTTTTTTTTTT
          56789@AB|CCBB8F7BGH6BBGFGIAAF7B
          PQF89G78FBP877AASTTTTTTTTTTTTTTTT
          56789@AB|CCCBBqAG@7BGFBGvA7}STTTTTTT
          S VWXY4`aSbcdSv4hYSY`ScSVcWS`f4ahS
          S cXWSTTTTTTTTTTTTTTTTTTTTTTTTTTTTTTTTTTTTTTTTTTTTTTT
          S VWXY4`aSbudS{WcYScarSVcWYSS
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          S VWXY4`aSbXdSVWYYWiWaYS̀ S{WcYS̀fS
          S VcWYS4ptYWpSTTTTTTTTTTTTTTTTTTTTTTTTTTTTTt
          S VWXY4`aSbrdSfthScarSgX``S
          S iWpY4ahS  TTTTTTTTTTTTTTTTTTTTTTTTTTTTTTTTTTTTTTTTTTTTt
          56789@ABCBBAF8687}STTTTTTTTTTTTTTTTTTTTTTTTTT
          S VWXY4̀aSbcdSWa4Y4̀aS̀ SVWa4̀f4YSTTTTT
          S VWXY4̀aSbudSiWfi4acY4̀aS̀SVWa4̀f4YSTT
          S VWXY4`aSbXdSef`ucY4`acfSeWf4`rSTT
          S VWXY4`aSbrdS~44ahScXcaX4WpSTTTTTTT
          S VWXY4`aSbWdSvWrtXY4`aSvWc4haiWaYS
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          S VWXY4`aSbdSiWi`fcfSvWrtXY4`aSS
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          S VWXY4`aSb4dSecaWSgWiuWfpSgXXftWSS
          S VWa4`f4YSTTTTTTTTTTTTTTTTTTTTTTTTTTTTTTTTTTTTTTTT
          S VWXY4`aSbdSv4hYSY`SuWSvWXcWrSTT
          S VWXY4`aSbdSvWXcS̀ SeWfp`apS̀aSS
          S hc` SVYcYtpSTTTTTTTTTTTTTTTTTTTTTTTTTTTTTTTTT
          S VWXY4`aSbdS`uSr4rr4ahScarSe`pY4ahS
          S ef`XWrtfWSTTTTTTTTTTTTTTTTTTTTTTTTTTTTTTTTTTTTTT
          S VWXY4̀aSbidSiWi`fcfSgpp4haiWaYpTT
          S VWXY4`aSbadSkY44YSVWX4c4pYSTTTTTTTfoS
          S VWXY4`aSb`dSVWcfcY4`aSecSTTTTTTTTTTTft
          56789@ABBBA77@AAF7BvB8RQ7ARSTTTTf
          S VWXY4`aSbcdSf4WecaXWSs`ii4YYWWSTTf
          S VWXY4`aSbudSf4WecaXWSef`XWrtfWTTTfj
          S VWXY4`aSbXdS~4ac4YS̀ SWX4p4`aS̀fSS
          S VWYYWiWaYSTTTTTTTTTTTTTTTTTTTTTTTTTTTTTTTTTTTTTj
          S VWXY4`aSbrdSc4eWfS̀ Si4iWSh4i4YpSTTTj
          56789@ABCBB8R98@8FABGFB8R9G6IATTTjf
          S VWXY4`aSbcdStpYSsctpWSvWt4fWrSTTjfS
          S VWXY4`aSbudSef`XWrtfWSTTTTTTTTTTTTTTTTTTTjf
          S VWXY4`aSbXdSVtpWap4`aSTTTTTTTTTTTTTTTTTjj
          S VWXY4`aSbrdSs`iWapcY4`aS`fSh`pYSS
          S cfa4ahpSTTTTTTTTTTTTTTTTTTTTTTTTTTTTTTTTTTTTTTTUoo
          S VWXY4`aSbWdSvWi`ecS̀ Si`WWSS
          S 4pX44acfSvWX`frpSTTTTTTTTTTTTTTTTTTUoU
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               uGH@ABvBPF7AF7RB9F78FQA
          56789@ABCCBDBAFA7RBGFB6G9789ARTTUoUS
          S VWXY4`aSbcdS4h4u44YSTTTTTTTTTTTTTTTTTUoUS
          S VWXY4`aSbudSrWaWYpS̀ Ss`4XWSTTTUowS
          S VWXY4`aSbXdShWahYS̀ SVWfe4XWSTTTTUot
          S VWXY4`aSbrdSefcXY4XWpSTTTTTTTTTTTTTTTTTTTUotS
          S VWXY4`aSbWdSgri4a4pYfcY4eWScarSS
          S Wp4haSgcYYWfpScarSka4`fi4YSSTTUotS
          56789@ABCCCBB8R9A@@GFAQRSTTTTTTTTTTTTUo
          S VWXY4`aSbcdSecScSTTTTTTTTTTTTTTTTTTTTTUo
          S VWXY4`aSbudSrtWY4aSr`cfrpSTTTTTTTTUo
          S VWXY4`aSbXdSVcWYSV`WpSTTTTTTTTTTTTTUo
          S VWXY4`aSbrdSWSdci4acY4`apSTTTUoS
          S VWXY4`aSbWdS4pcu44YSS
          S gXX`ii`rcY4`aSTTTTTTTTTTTTTTTTTTTTTTTTTTUoS
          S VWXY4̀aSbdSgWr4XcSg`4aYiWaYpSTTUofS
          56789@ABC|BBB768AB6B9Q7STTUojS
          S VWXY4`aSbcdSkxlmxSx`YSY`SVYf4WSTTUojS
          S VWXY4̀aSbudSkxlmxSY`S{cYSrfWcXSTUUoS
          S VWXY4`aSbXdS4pX44aWS`fSrfWcXSTTUUoS
          S VWXY4`aSbrdSx`Sh`X`tYSTTTTTTTTTTTTTTTUUo
          56789@AB|BBG8F7G8FBCF7AI687}BvB7AB
          PF76G97BGFBAR67B7BPQ67RSTTTTTTTTTUUU
          56789@AB|CBB89G78FBGFB
          AA6GH8@87}BP@GQRASTTTTTTTTTTTTTTTTTTTTTTTTTTTUUUS
          S VWXY4`aSbcdSg`r4XcY4`aSTTTTTTTTTTTTTUUUS
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               uGH@ABvBPF7AF7RB9F78FQA
          S VWXY4`aSbudSVWeWfcu44YSTTTTTTTTTTTTTTUUw
          56789@AB|CCBDBG789G78FBGFB
          uA68FG78FBvB78RB5I6AAAF7STTTTTTTTUU
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          5ECBSTTTTTTTTTTTTTTTTTTTTTTTTTTTTTTTTTTTTTUwU
          5ECBPSTTTTTTTTTTTTTTTTTTTTTTTTTTTTTTTTTTTTTUwwS
          5ECBSTTTTTTTTTTTTTTTTTTTTTTTTTTTTTTTTTTTTTUtU




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                 56789@ABCBDBEFGH@8FIBP@GQRA
             WXY4eWSY4pSUYSrcS`SWXWiuWfS
          woUqSvglximxSgvgVSsmgegy
          xqSlxsTqSWfW4acYWfSfWWffWrSY`ScpSYWS
          ehgxiS`fSYWSgehmvqScarSYWS
          lxivxgilmxghSkxlmxqSkxliS
          glxSmvvVSm~SggvlsgqSWfWy
          4acYWfSfWWffWrSY`ScpSYWSkxlmxqS4aS
          X`ap4rWfcY4`aS`SYWSitYtcSX`eWacaYpS
          WfW4aSX`aYc4aWrSceWSchfWWrScarSr`S
          chfWWScpS``sp
          A978FBGB686B5I6AAAF7RB6G9789ARB
          GFBPQR7R
            i4pSchfWWiWaYSptWfpWrWpSYWSX`WXy
          Y4eWSucfhc4a4ahSchfWWiWaYpSfWe4`tpS
          WdWXtYWrSuSYWScfY4WpTSSiWfWSpcSuWS
          a`Sf4`fSfcXY4XWpScarSXtpY`ipS̀upWfeWrS
          cYSYWSecaYqStaWppS4rWaY4WrS4aSgWay
          r4dSTSSgSfWe4`tpSchfWWiWaYpSa`YSX`ay
          Yc4aWrS4aSY4pSchfWWiWaYqSs4SuWSptWfy
          pWrWrSuSY4pSghfWWiWaYScarSY`SfWic4aS
          4aSW WXYSitpYSuWSp4haWrScarSrcYWrS`aS
          `fScYWfSYWSW WXY4eWSrcYWS̀ SY4pSghfWWy
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          A978FBHBA9IF878F
            iWSkxlmxScpSuWWaScarS4pSfWX`hy
          a4¤WrScpSYWSWdXtp4eWSucfhc4a4ahSchWay
          XS`fSYWSi`WWpS̀ Spc4rSecaYTSSi4pS
          chfWWiWaYSWfYc4apSY`S`aSYWSta4YSY`S
          uWSfWX`ha4¤Wr¥S4YSr`WpSa`YSXfWcYWScaS
          f4hYpS`fS`u4hcY4`apSa`YSWdfWppSpYcYy
          WrSWfW4aTSSgSi`WWpSpcSuWS`fS
          uWX`iWSiWiuWfpS`SYWSkxlmxqSY`SYWS
          WdYWaYScarS4aSYWSicaaWfSWfi4YYWrSuS
          csTSS
          A978FB9BFD8R9688FG78F
            iWSehgxiScarSYWSkxlmxScfiS
          YWS`4XS`Sa`ar4pXf4i4acY4`aSchc4apYS
          caSi`WWS`fSc4XcaYS`fSWi`y
          iWaYSuWXctpWS`SchWqSr4pcu44YSbs4Y4aS
          YWSiWca4ahS`SYWSggdqSfcXWqSXfWWrqS
          fW4h4`aqSX``fqSpWdqSacY4`acS`f4h4aqScay
          XWpYfS`fS`4Y4XcScXY4e4YSbsWYWfS4ay
          YfcykxlmxS`fS`YWfs4pWdSs4YSfWpWXYS
          Y`SschWpqS`tfpScarSs`f4ahSX`ar4Y4`apT
          A978FBBAF878FR
            WfWeWfSYWS ``s4ahSYWfipScfWS
          tpWrS4aSY4pSghfWWiWaYqSYWScfWSrWy
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             bUdSSiWSYWfiS¯ehgxi°SpcSiWcaS
          YWSl4`aSecaYS̀ SvWi4ahY`aSgfipSs`iy
          caqShhsS`XcYWrScYSUS{`W±WfSgeWatWqS
          l4`aqSxWsS`fSUttS`fScaS`XcY4`aS
          YcYSX`iWpSY`SuWS`saWrSuSYWSvWi4ahy
          Y`aSgfipSs`icaqShhsSYcYS4pS`XcYWrS
          s4Y4aS`aWStarfWrSbUoodSi4WpS`SYWS
          XtffWaYSecaYS`XcYWrS4aSl4`aSY`Ss4XS
          s`fSXtffWaYSWf`fiWrScYSYWSecaYS
          4pSYfcapWffWrTSSvWX`ha4Y4`aSf4hYpScYScaS
          ptXSaWsScX44YSs4SuWSrWYWfi4aWrS4aS
          cXX`frcaXWSs4YSYWSp4rWSWYYWfSchfWWy
          iWaYS`tarS4aSgWar4dSTSS
             bwdSSiWSYWfipS¯i`WW°S`fS¯iy
          `WWp°SpcSiWcaScaS`fScS`SY`pWS
          Wi`WWpScYSYWSecaYS4aXtrWrSs4Yy
          4aSYWSucfhc4a4ahSta4YSX`eWfWrSuSY4pS
          ghfWWiWaYT
             btdSSiWSYWfipS¯stffWaYSi`WW°S
          `fS¯stffWaYSi`WWp°SpcSiWcaS
          `aSY`pWSWi`WWpS4fWrSuW`fWSVWy
          YWiuWfSUUqSUjjT
             bdSSiWSYWfipS̄xWsSi`WW°ScarS
          ¯xWsSi`WWp°SpcSiWcaS̀aSY`pWS
          Wi`WWpS4fWrS`aS`fScYWfSVWYWiuWfS
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             bdSSWaSYWSYWfiS¯i`WWbpd°S
          `fScSWfp`acSa`taS`fSf`a`taScWcfpS
          4aSY4pSghfWWiWaYqS4YSpcSuWStarWfy
          pY``rSY`SfWWfSY`SW4YWfSYWSicpXt4aWS̀fS
           Wi4a4aWShWarWfS`fSu`YScpSc4XcuWS
          4aSYWSX`aYWdYS4aSs4XS4YScWcfpT
          A978FBABG}6@@BAQ978F
             bUdS iWSehgxiSs4SrWrtXYSYWS
          iWiuWfp4SrtWpqS4aXtr4ahS4a4Y4cY4`aS
           WWpScarScppWppiWaYpqS`fSYWSWhcy
          SfWt4fWrSWt4ecWaYSYWfW`qS`SYWS
          kxlmxScarS4YpSecf4`tpSptur4e4p4`apqS
          fWpXf4uWrSuSYWSkxlmxqScarS`YWfS
          ctY`f4¤WrSrWrtXY4`apqSf`iSYWSpccfS
          ccuWSs4Y4aSYWSi`aYS̀ ScaSi`y
          WWSs`SctY`f4¤WpSYWSehgxiSY`SicWS
          ptXSrWrtXY4`apS̀aScS`fiSWaY4YWrSka4Yy
          WrSg4aWS`fWfpS`SgiWf4XcSsWX` S
          gtY`f4¤cY4`aS~`fiSrtf4ahSYWSYWfiS`S
          Y4pSghfWWiWaYT
             bwdS gSptipSrWrtXYWrS4aSY4pSicay
          aWfSpcSuWSYtfaWrS`eWfSuSYWSehgxiS
          Y`SYWSrWp4hacYWrSfWfWpWaYcY4eWpS`S
          YWSkxlmxqSY`hWYWfSs4YScSpYcYWiWaYS
          4pY4ahSYWSaciWpScarSp`X4cSpWXtf4YS
          atiuWfpS`ScSta4YSi`WWpScarSYWS
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          ci`taYSXWXWrS̀ S`fSWcXSctY`f4¤WrS
          rWrtXY4`aT
          A978FBvBQ99ARR6R8
            laSX`ap4rWfcY4`aS`SYWSkxlmxnVSWdWy
          XtY4`aS̀ SY4pSghfWWiWaYqSYWSgehmy
          vSf`i4pWpSYcYSYWSehgxiSX`eWfWrS
          uSY4pSghfWWiWaYSpcSa`YSuWSp`rqS
          X`aeWWrqS`fS`YWfs4pWSYfcapWffWrS`fS
          cpp4haWrSY`ScaSptXXWpp`fSs4Y`tYSfpYS
          pWXtf4ahSYWSptXXWpp`fnpSchfWWiWaYSY`S
          cpptiWSYWSgehmvnVS`u4hcY4`apS
          tarWfSY4pSghfWWiWaYS4aXtr4ahSgWay
          r4dSgTSSliiWr4cYWSt`aSYWSX`aXtp4`aS
          `ScaSptXSpcWqSX`aeWcaXWqScpp4hay
          iWaYS̀fSYfcapWfS̀ SYWSehgxiqSYWSgy
          ehmvSpcSa`Y4SYWSkxlmxS`SYWS
          YfcapcXY4`aTSSVtXSa`Y4XcY4`aSpcSuWS
          uSXWfY4WrSic4SY`SYWSVWXfWYcfyifWcy
          ptfWfS`SYWSlaYWfacY4`acSka4`aScarS
          pcSuWScXX`ica4WrSuSr`XtiWaYcy
          Y4`aSYcYSYWSptXXWpp`fS`u4hcY4`aSpWYS
           `fYSWfW4aScpSuWWaSpcY4pWrTSS


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               56789@ABCCBB9ABGFBPA6GIA
          A978FBGBp6BQ68R8978F
            gSXtffWaYSucfhc4a4ahSta4YSs`fS4ay
          Xtr4ahSf`XWppWpSfWcYWrSY`SYWSf`y
          rtXY4`aScarSf`XWpp4ahS`SfWcfipS
          carSf`tY4aWSfWc4fScarSf`tY4aWSic4aYWy
          acaXWSs`fSa`ficSWf`fiWrScYSYWS
          ehgxiqScarSucfhc4a4ahSta4YSs`fS̀ SYWS
          YWSXtpY`icf4SfWcYWrSY`ScS`SYWS
          cu`eWSWf`fiWrScYSYWSecaYSpcSuWS
          Wf`fiWrSuSucfhc4a4ahSta4YSi`y
          WWpS`SYWSgehmvSX`eWfWrSuScarS
          4aScXX`frcaXWSs4YSYWSYWfipS`SY4pS
          ghfWWiWaYqSWdXWYScpS`YWfs4pWSpWX4y
          WrSWfW4aTS
          A978FBHBE»A78FRBP@GQRA
            lYS4pSYWS4aYWaY4`aS̀ SY4pSghfWWiWaYSY`S
          fWpWfeWSY`SYWSgehmvScarSWdXWYS
           f`iSY4pSghfWWiWaYScaScrWtcYWS`fXWS
          `SptWfe4p`fSWi`WWpSY`SW WXY4eWS
          X`artXYSYWSpcWScarSWX4WaYS̀WfcY4`aS
          `SYWSehgxiScarScYSYWSpciWSY4iWqSY`S
          f`e4rWSchc4apYSYWScutpWS`SptXSWdy
          WiY4`apSuSWdXWY4ahSi`fWSptXSWiy
          `WWpSYcaScfWSfWcp`acuSfWt4fWrS
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           `fSYcYStf`pWT
            dWiYSWi`WWpStarWfSY4pSf`y
          e4p4`aScfWSpccf4WrSWi`WWpSWdWiYS
          tarWfSYWS~c4fShcu`fSVYcarcfrpSgXYS
          4aXtr4ahSYWSecaYSgcachWfqS4pScpy
          p4pYcaYpScarSYW4fSpYc qSVtWfe4p`fS
          Wi`WWpqSs4YSctY`f4YSY`S4fWqSr4py
          XcfhWqSf`i`YWqSYfcapWfqS`fS`YWfs4pWS
          W WXYSXcahWpS4aSpYcYtpS̀ Si`WWpS̀fS
          W WXY4eWSY`SfWX`iiWarSptXScXY4`aTS
          laSYWSWeWaYS`ScSecXcaXSbuScYYf4Y4`aS
          `fS`YWfs4pWdqSY``SrWp4haWfpScp`ScfWS
          WdXtrWrSf`iSYWSucfhc4a4ahSta4YScarS
          YWSs`fSpcSa`YSX`apY4YtYWSucfhc4a4ahS
          ta4YSs`fTSSgSa`ayWdWiYSWi`WWpS
          WdXtrWrSf`iSYWSucfhc4a4ahSta4YSs4S
          fWYc4aSptXSpYcYtpTSSgS̀YWfSi`WWpS
          s`f4ahS4aS`fScf`tarSYWSehgxiSpcS
          uWSX`eWfWrSuSY4pSghfWWiWaYqSWdXWYScpS
          `YWfs4pWSpWX4WrSWfW4aT
            iWSkxlmxSs4Sa`YSpWWSY`S`fhca4¤WS
          `fScpSfWX`ha4Y4`aS`fSptXSWdWiYSWiy
          `WWpSrtf4ahSYWS4WS`SY4pSghfWWy
          iWaYTSSiWSgehmvSpcSa`YStpWS
          Y4pSf`e4p4`aSY`SWdWiYSf`iSYWSf`y
          e4p4`apS`SY4pSghfWWiWaYSi`fWSWfp`apS
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          YcaScfWSaWXWppcfS`fSYWSpcWScarSWy
          X4WaYS̀WfcY4`aS̀ SYWSehgxiT
            `fSs4Sa`YSuWSX`ap4rWfWrSucfhc4ay
          4ahSta4YSs`fS4aSYWSWeWaYSYcYScaSWiy
          `WWS4pSYWi`fcf4Scpp4haWrSY`SWfy
           `fiSs`fSWf`fiWrSuSWi`WWpS
          WdXtrWrSf`iSYWSucfhc4a4ahSta4YTS
          A978FB9BQA68R6RBG@@B7BA6D
          v6BP@GRR8ABp6
            VtWfe4p`fSWi`WWpSpcSWfy
           `fiSa`SXcpp4WrSs`fSX`eWfWrSuSY4pS
          ghfWWiWaYSWdXWYS4aSWiWfhWaX4WpScarS
          WdXWYS4SptXSs`fS4pSaWXWppcfS`fSYWS
          tf`pWS`SYfc4a4ahS`fS4apYftXY4ahSucfy
          hc4a4ahSta4YSi`WWpTSSecaYSgcay
          chWiWaYSfWYc4apSYWSf4hYSY`Sctr4YS`y
          WfcY4`apSs4XSicS4aXtrWSiWcptf4ahS
          carShcth4ahSX`i`aWaYpScarSctr4Y4ahS
          a4pWrSf`rtXYScpSsWScpSWah4aWWf4ahS
          pt`fYS`fSf`rtXYSrWeW`iWaYScarS
          Yf`tuWp``Y4ahSp`S`ahScpSYWSatiuWfS
          `Sucfhc4a4ahSta4YSi`WWpSXtffWaYS
          Wf`fi4ahSptXSs`fS4pSa`YSW4i4acYWrS
          `fSfWrtXWrTSSWaScSr4ptYWScf4pWpStay
          rWfSY4pSpWXY4`aqS4YSpcSuWScrtr4XcYWrS
          Yf`thSYWShf4WecaXWScarScfu4YfcY4`aS
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          f`XWrtfWpSX`eWfWrSuSY4pSghfWWiWaYS
          carS4aSptXSf`XWWr4ahpSYWS``s4ahS
          ftWSs4ScSSYWSutfrWaS4pS`aSYWS
          gehmvSY`Sf`eWSYcYSXcpp4WrS
          s`fScpSa`YSuWWaSWf`fiWrSuSptWfy
          e4p`fSWfp`aaWT
          A978FBBGFGIAAF7BvB7AB 5u
            bUdS gcachWiWaYSv4hYp
            iWSkxlmxSfWX`ha4¤WpScarSchfWWpS
          YcYqSWdXWYScpSpWX4XcS4i4YWrSuS
          YWSWdfWppSf`e4p4`apS`SY4pSghfWWy
          iWaYqSYWSehgxiSic4aYc4apSYWSp`WS
          carSWdXtp4eWSf4hYSY`SicachWS4YpSutp4y
          aWppS4aSptXScSicaaWfScpSYWSehgxiS
          pcSrWYWfi4aWSY`SuWS4aS4YpSuWpYS4aYWfy
          WpYTSSiWSWdWfX4pWS`fSa`aWdWfX4pWS`SYWS
          f4hYpSfWYc4aWrSuSYWSehgxiSpcSa`YS
          uWSrWWiWrSY`Ssc4eWScaSptXSf4hYpS
          `fSYWSr4pXfWY4`aSY`SWdWfX4pWScaSptXS
          f4hYpS4aSp`iWS̀YWfSscS4aSYWStYtfWT
            bwdSg`pYS~ce`fWrSxcY4`ap
            tf4ahSYWSYWfiS`SY4pSghfWWiWaYS
          p`trSYWSkxlmxSW4YWfSbgdSWaYWfS4aY`S
          caSchfWWiWaYSs4YScaS̀YWfSX`iWY4ahS
          fWcfiSicatcXYtfWfSbs4YSX`icfcuWS
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          hf`ppSpcWpdS̀YWfSYcaSvWi4ahY`aSgfipS
          s`TqShhsS`fScaS`S4YpSX`i`aWaYSr4e4y
          p4`apqSYWSYWfipS`fSX`ar4Y4`apS`Ss4XS
          chfWWiWaYScfWSi`fWScrecaYchW`tpSY`S
          YWS`YWfSWi`WfSYcaSY`pWSX`ay
          Yc4aWrS4aSY4pSghfWWiWaY¥S̀fSbrdSs`taYWy
          acaXWScSX`tfpWS`SX`artXYSuScaS`YWfS
          X`icfcuWSX`iWY4ahSfWcfipSicay
          tcXYtfWfSp4haWrSY`ScaSchfWWiWaYSs4YS
          YWSkxlmxqSs4XSX`tfpWS`SX`artXYS
          WacuWpSYWS`YWfSWi`WfSY`S`WfcYWS
          tarWfSi`fWScrecaYchW`tpSYWfipScarS
          X`ar4Y4`apSYcaScfWSf`e4rWrS`fS4aSY4pS
          ghfWWiWaYqSYWSehgxiSpcSuWSf4e4y
          WhWrSY`Scr`YSptXScrecaYchW`tpSYWfipS
          carSX`ar4Y4`apSt`aSsf4YYWaSa`Y4XWSY`S
          YWSkxlmxS̀ S4YpS4aYWaYSY`Sr`Sp`T
          A978FBABÅCÆB8I7R
            bUdSgtY`f4¤WrSfWfWpWaYcY4eWpS`SYWS
          4pYf4XYScarSYWSlaYWfacY4`acSs4SuWScy
          `sWrScXXWppSY`SYWSehgxiSf`WfYSY`S
          4aptfWSX`i4caXWSs4YSY4pSghfWWiWaYqS
          cYWfSh4e4ahSa`Y4XWScarSYW4fSfWcp`aS`fS
          pWW4ahScXXWppTSSiWSefWp4rWaYqSlaYWfacy
          Y4`acS4XWSefWp4rWaYpqS~4WrSvWfWpWay
          YcY4eWpScarSlaYWfacY4`acSVcWYSvWfWy
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          pWaYcY4eWpScarSVWXfWYcfyifWcptfWfS`S
          YWSlaYWfacY4`acSka4`aSs4SuWShfcaYWrS
          cXXWppSY`SYWSehgxiSf`e4rWrSYcYSptXS
          `X4cpSceWSh4eWaScSi4a4itiS`SfS
          `tfpScrecaXWSa`Y4XcY4`aScarSfWcp`aS
          `SYW4fSrWp4fWSY`Se4p4YqSf`e4rWrSYWfWS
          4pSa`S4aYWfWfWaXWSs4YSf`rtXY4`aTSSiWS
          gehmvSpcSf`e4rWSXcar4rcYWpS
           `fSkxlmxS`XWSfWcp`acuWS``fYty
          a4YSY`SXcic4haSci`ahS4YpSi`WWpS
          rtf4ahSYW4fSa`ays`f4ahS`tfpScarS4aS
          a`ays`f4ahScfWcpqSf`e4rWrSYWfWS4pS
          a`S4aYWfWfWaXWSs4YSf`rtXY4`aTSSiWS
          gehmvStfYWfSchfWWpSY`Sf`e4rWS
          pcXWS`aSehgxiSf`WfYS`fSYWS`ry
          4ahS`SkxlmxSWWXY4`apScarSYWSfcY4y
          XcY4`aS`SX`WXY4eWSucfhc4a4ahSchfWWy
          iWaYpTSS{`sWeWfqSYWSkxlmxSchfWWpSYcYS
          YWfWSpcSuWSa`Sp`4X4YcY4`aS`fSkxlmxS
          iWWY4ahpS`fSf`i`Y4`acSkxlmxScXY4e4y
          YS̀aSehgxiSY4iWT
            bwdSiWSh`XcSka4`aSefWp4rWaYqS4XWS
          efWp4rWaYqS~4acaX4cSVWXfWYcfqSvWy
          X`fr4ahSVWXfWYcfScarSi`WWpSs`S
          cfWSW4YWfSWWXYWrS`fSc`4aYWrSY`SYWS
          `4aYShcu`fygcachWiWaYSs`iita4Xcy
          Y4`apSs`ii4YYWWqSYWS{WcYScarSVcWYS
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          s`ii4YYWWqScarSYWSf4WecaXWSs`ii4Yy
          YWWSpcSceWSYWSf4hYS`Si`eWiWaYS
          Yf`th`tYSYWSehgxiS4aSYWSWf`fy
          icaXWS`SYW4fS`X4cSrtY4WpqSf`e4rWrS
          YWSkxlmxS`X4cpSa`YWrScu`eWSr`Sa`YS
          tafWcp`acuS4aYWfWfWSs4YSYWSf`rtXy
          Y4`aS̀ Si`WWpTSSh`XcSka4`aSm XWfpS
          carSX`ii4YYWWSiWiuWfSpcSpWWSWfy
          i4pp4`aSf`iSYW4fSptWfe4p`fSY`SWceWS
          YW4fSs`fScfWcS4aS`frWfSY`SiWWYSYW4fS
          fWp`ap4u44Y4WpScpS`tY4aWrSs4Y4aSY4pS
          ghfWWiWaYTSSeWfi4pp4`aSs4SuWShfcaYWrS
          taWppSYWfWS4pScStpY4cuWSutp4aWppSfWcy
          p`aS`fSrWa4ahSptXSWfi4pp4`aTSSmaXWS
          Wfi4pp4`aScpSuWWaShfcaYWrqSYWSiy
          `WWSs4SuWSc4rSYW4fSfWhtcfSfcYWScpS
          `ahScpSYWSfWp`ap4u44Y4WpScfWSXcff4WrS
          `tYSrtf4ahSYWSi`WWnpSfWhtcfSs`fS
          `tfpT
             btdSkxlmxS`X4cpSa`YWrScu`eWS4aS
          ptupWXY4`aSbwdqSs4YSf`WfScrecaXWSa`y
          Y4XcY4`aSY`S{ticaSvWp`tfXWpqSs4SuWS
          WdXtpWrSY`ScfY4X4cYWS4aSkxlmxScXY4ey
          4Y4WpTSSlaSXcpWpSsWfWSitY4WSkxlmxS
          `X4cpSa`YWrScu`eWS4aSptupWXY4`aSbwdS
          cfWSfWtWpY4ahSY`SuWSWdXtpWrS`fSity
          Y4WSrcpqSYWSfWtWpYSpcSuWSptui4Yy
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          YWrScpScfS4aScrecaXWScpS`pp4uWSutYS
          a`SWppSYcaSYs`SbwdSs`f4ahSrcpSf4`fS
          Y`SYWSfWtWpYWrSY4iWS` TSSlaSXcpWpS`S
          4pYf4XYS`fSlaYWfacY4`acSs`aeWaY4`apS
          `fSX`aWfWaXWpqSa`Si`fWSYcaSYWaSbUodS
          i`WWpSpcSuWSWdXtpWrSY`ScYYWarTS
          i`WWpSs`SceWScaS̀ X4cSfWtWpYS
           `fScSWceWS`ScupWaXWSpcSuWShfcaYWrS
          WceWSY`SpWfeWScpS4pYf4XYS`fSlaYWfacy
          Y4`acS`XWfpS`fSfWfWpWaYcY4eWpScarS
          pcSfWYc4aSYW4fSpWa4`f4YScarScXXftWS
          pWa4`f4YSs4WSYWScfWS`aSptXSWceWTS
          i`WWpSs`SceWScaS̀ X4cSfWtWpYS
           `fScSWceWS`ScupWaXWSpcSuWShfcaYWrS
          WceWSY`ScXXWYScSYWi`fcfSkxlmxS
          cpp4haiWaYqSa`YSY`SWdXWWrS`tfSbdSX`ay
          pWXtY4eWSi`aYpqScarSY`SfWYtfaSY`SYW4fS
           `fiWfS`upScarSp4YpTSSx`Si`fWSYcaS
          Ys`SbwdSi`WWpSicScXXWYSptXSYWiy
          `fcfSkxlmxScpp4haiWaYpScYSYWSpciWS
          Y4iWTSSeWficaWaYSkxlmxSc`4aYWWpS
          carSY`pWSi`WWpSs`ScfWSWWXYWrSY`S
          4pYf4XYS`fSlaYWfacY4`acS`XWSpcSuWS
          WaY4YWrSY`SfWYtfaSY`ScS`uqSf`e4rWrSYcYS
          i`WWpSs4YShfWcYWfSpWa4`f4YScYSYWS
          ehgxiScfWSa`YS̀aSc` TSS

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          A978FBvBPF76G978FIBGFBQH9FD
          76G978FI
            x`Ys4YpYcar4ahScaY4ahSY`SYWSX`ay
          YfcfS4aSY4pSghfWWiWaYqSYWSehgxiScpS
          YWSta4i4YWrSf4hYSY`SX`aYfcXYS`tYS`fS
          YfcapWfSs`fT
                56789@ABCCCBDBpGIARBGFBqQ6R
          A978FBGBGR89Bp6G}
            iWSfWhtcfS`fSucp4XS¯s`frc°SpcS
          uWh4aScYSooSciScarSWarSYWS``s4ahS
          rcScYSooSciTSSiWSgehmvSicS
          rWp4hacYWS`YWfS̄s`frcp°S`fS4ar4e4ry
          tcSi`WWpS`fShf`tpS`Si`WWpS
           ``s4ahSr4pXtpp4`aS̀ SYWSaWWrSY`Sr`Sp`S
          s4YSYWSh`XcSka4`aT
          A978FBHBGR89Bp6AA
            iWSfWhtcfS̀fSucp4XS̄s`fsWW°SpcS
          uWh4aSg`arcScYSooScTiTScarSpcS
          WarSYWS``s4ahSg`arcScYSooSciTS
          iWSgehmvSicSrWp4hacYWS`YWfS
          ¯s`fsWWp°S`fS4ar4e4rtcSi`WWpS
          `fShf`tpS̀ Si`WWpS``s4ahSr4pXtpy
          p4`aS̀ SYWSaWWrSY`Sr`Sp`ScarSchfWWiWaYS
          uSYWSh`XcSka4`aTSSiWSgehmvS
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          icS4apY4YtYWSYWS``s4ahSpXWrtWpS
           `fSpWWXYSrWcfYiWaYp
            UpYSp4YSyyStoSggSY`StooSeg
            warSp4YSyySwtoSegSY`SUUooSeg
            tfrSp4YSyySUotoSegSY`SooSgg
            gaSi`WWnpSpXWrtWSs4Sa`YSuWS
          XcahWrSs4Y`tYSpWeWaSrcpSf4`fSa`y
          Y4XWTSSlaSYWSWeWaYSYWScfY4WpScfWStay
          cuWSY`SfWcXSchfWWiWaYSfWhcfr4ahSYWS
          s`fSsWWSXcahWqSYWSgehmvS
          icS4iWiWaYSYWSXcahWqSptuWXYSY`S
          YWSkxlmxnpSf4hYSY`SWScShf4WecaXWS
          carSptui4YSYWSicYYWfSY`Scfu4YfcY4`aS
           `fSacSfWp`tY4`aTSSlaSXcpWpSsWfWSYWS
          XcahWS4pS̀ ScSp4ahWSsWWSrtfcY4`aqSYWS
          chfWWiWaYScarSa`Y4XWSf`e4p4`apS`SY4pS
          pWXY4`aSpcSa`YScqSutYSYWSc WXYWrS
          i`WWbpdSs4SuWSh4eWaScpSitXSa`y
          Y4XWScpS`pp4uWTSS
          A978FB9BA678ABG}BGFB6A8QB
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          bUdSSmeWfY4iWScScYS`aWScarS`aWycS
          Y4iWpSYWSi`WWnpSfWhtcfSfcYWSs4S
          uWSc4rS`f

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             bgdSgS`tfpSs`fWrScYSYWSr4fWXy
             Y4`aS̀ SicachWiWaYS4aSWdXWppS̀ SW4hYS
             bfdS`tfpS4aScaSWf4`rS̀ SYsWaYy`tfS
             bwdSX`apWXtY4eWS`tfpTSSi4pSf`e4y
             p4`aSpcSa`YSuWSc4XcuWS4SYWSWdy
             XWppS`tfpSs`fWrScfWScYSYWSfWtWpYS
             `SYWSi`WWT
             brdSgS`tfpSs`fWrS4aSWdXWppS`S
              `fYSbodS4aSYWSfWhtcfSs`fsWWT
             bsdSSgS`tfpSs`fWrS̀aSYWSi`y
             WWnpSp4dYSX`apWXtY4eWSrcT
             bdSgS`tfpSs`fWrS̀aSVcYtfrcStay
             WppSVcYtfrcS4pS4aXtrWrS4aSYWSiy
             `WWnpSfWhtcfSpXWrtWrSs`fy
             sWWT
          bwdSSmeWfY4iWScScYSr`tuWSYWSi`y
          WWnpSfWhtcfSfcYWSs4SuWSc4rS`f
             bgdSgS`tfpSs`fWrS̀aSYWSi`y
             WWnpSpWeWaYSX`apWXtY4eWSrcT
             brdSgS`tfpSs`fWrS`aSVtarcS
             taWppSVtarcS4pS4aXtrWrS4aSYWSiy
             `WWnpSfWhtcfSpXWrtWrSs`fy
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          btdS~`fSYWStf`pWS`SrWYWfi4a4ahS
          sWYWfScaSi`WWScpSs`fWrScS
          p4dYS`fSpWeWaYSrcSs4Y4aSYWSfWhtcfS
          s`fsWWScpSpWYS`fYS4aSY4pSgfY4XWqS
          ptXSi`WWSpcSuWSX`ap4rWfWrSY`S
          ceWSWf`fiWrScSrcnpSs`fSsWa
             bgdSiWSi`WWSs`fpSYWSfWhty
             cfSpXWrtWrS`tfpS4aScSrcTSS
             brdSiWSi`WWS4pS̀ Ss`fSrtWSY`S
             cS{`4rcS̀fS̀YWfSs`aYfcXYtcSrcT
             bsdSiWSi`WWS4pSWdXtpWrS `fS
             cfYS̀ SYWSrcSuSicachWiWaYT
             bdSiWSi`WWS4pScupWaYScStS
             rcScpScSfWptYS`SuW4ahSpWaYS`iWS
             rtWSY`ScXS`Ss`fSs4Y`tYSf4`fSa`y
             Y4XcY4`aSa`YSY`SfW`fYT
          bdSS`fS`aSYWSpWeWaYSX`apWXtY4eWS
          rcScarScS`4rcpS4pS`Y4`acTSSlaSYWS
          WeWaYScSi`WWpSfWtpWSptXSs`fqS
          icachWiWaYSfWYc4apSYWSf4hYSY`Scpp4haS
          YWSWcpYSpWa4`fSi`WWpS4aSYWSaWWry
          WrS`uSY4YWSY`Ss`fSWdXWYScpS4i4YWrSuS
          gfY4XWSlqSVWXY4`aSbcdbtdT
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          bdSSgaSi`WWSs`S4pSfWt4fWrSY`S
          s`fS`aS`aWS`S4pSpXWrtWrSrcpS`S
          fWpYSpcSa`YSuWSfWt4fWrSY`SYcWSX`iy
          WapcY4ahSY4iWS̀ T
          bdSSmeWfY4iWS``fYta4Y4WpSpcSuWS
          r4pYf4utYWrS`aScaSWt4YcuWSucp4pTSSiWS
          gehmvS4pSfWp`ap4uWS`fSpXWry
          t4ahS`eWfY4iWScarSrWYWfi4a4ahStcy
          4WrSi`WWpSY`SWf`fiS`eWfY4iWS
          s`fTSSWWWarSbcarSp4dYScarSpWeWaYS
          rcSs`fWrdS`eWfY4iWS`tfpSpcSuWS
          r4pYf4utYWrSuSYWSgehmvSci`ahS
          YWSi`WWpStc4WrSY`SWf`fiSYWS
          s`fS4ae`eWrStfptcaYSY`SYWS``s4ahS
          ht4rW4aWpS
             bgdSgSp4YpS`aScScfY4XtcfScpp4hay
             iWaYSs`f4ahS̀eWfY4iW
                b4dSgpSfWhtcfS`WfcY`fbpdS`S
                YcYSf4icfScpp4haiWaYS`aSYWS
                p4YSYcYSs4SuWSftaa4ahT
                b44dSlSWSfWtpWpqScpS`YWfS
                `WfcY`fpS 4aS YWS pciWS Wy
                cfYiWaYqS`aSYWSpciWSp4YqS
                s`ScfWStc4WrSY`SWf`fiSYWS
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                  b444dSlSYWSfWtpWqSYWSVtWfe4p`fS
                  pcSpWWXYSe`taYWWfpSf`iSYWS
                  sWWS4pYS̀ SWi`WWpSf`iS̀Yy
                  WfSrWcfYiWaYpScarÙ̀fScfWcpSs`S
                  4ar4XcYWSYcYSYWScfWScec4cuWS
                  carSs44ahSY`Se`taYWWfSY`SWfy
                   `fiSs`fSYWScfWStc4WrSY`S
                  Wf`fiTSS
                  b4edSlSYWSfWtpWqSYWSgehmy
                  vSicScpp4haSYWSs`fSY`SYWS
                  WcpYSpWa4`fSWi`WWS4aSYWSgfWcS
                  gcachWfnpScfWcStc4WrSY`SWfy
                   `fiSYWSs`fSbptuWXYSY`SgfY4XWS
                  lllqSVWXY4`aSbXdbfddT
              brdSmaS`aWSp4YS`ScSitY4yp4YS
              `uSs`f4ahS̀eWfY4iW
              iWS`eWfY4iWS``fYta4YSs4SuWS`y
               WfWrSY`ScSfWhtcfS`WfcY`fpS`SYcYS
              cpp4haiWaYS̀aScSp4YpS̀aScaSWt4Ycy
              uWSucp4pTSSgcachWiWaYSfWpWfeWpSYWS
              f4hYSY`SpXWrtWSYWSpWX4XS`tfpS
              `SptXS`eWfY4iWSs`fTSSlSYWfWScfWS
              caS4aptX4WaYSatiuWfS`Se`taYWWfpqS
              YWSgehmvSicScpp4haSYWSs`fS
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            Y`SYWSWcpYSpWa4`fSfWhtcfS`WfcY`fpS
            `SYcYScpp4haiWaYT
            S x`YWSYcYS4aSWiWfhWaXSp4Ytcy
            Y4`apqSYWSgehmvSs4SYcWSscYy
            WeWfSpYWpScfWSaWXWppcfSY`SWWScS`uS
            ftaa4ahScarScpptfWSa`SufWcS4aSYWS
            f`rtXY4`aS±`sT
          bdSSWaSi`fWSYcaS`aWSfcYWS4pSc4y
          XcuWSY`SYWSpciWS`tfpS`Ss`fqSYWS
          fcYWpSpcSa`YSuWSfci4rWrqSutYS`aS
          YWS4hWpYSp4ahWSfcYWSc4XcuWSpcS
          uWSc4rTSSgaS`tfpSc4rS`fScYScaS̀eWfy
          Y4iWSfcYWqSWdXWYS`tfpSs`fWrS`aS{`y
          4rcpqSpcSa`YSuWStpWrSchc4aS`fSYWS
          tf`pWS`SrWYWfi4a4ahScaS`YWfS`eWfy
          Y4iWS`tfpTSSWaSY4iWScarS`aWycSbUS
          ÚdqSYs`SbwdqS`fSYs`ScarS`aWScSbwSUÙUwdS
          Y4iWpSfcYWpScfWSc4rS`fS`tfpSs`fWrqS
          ptXS`tfpSpcSuWSX`ap4rWfWrS̀eWfY4iWS
          `tfpT
          bfdSSlSYWfWScfWScaS4aptX4WaYSatiuWfS
          `Se`taYWWfpS`fS`eWfY4iWStfptcaYSY`S
          VtupWXY4`aSbdS̀ SY4pSgfY4XWSlllbXdqSYWaS
          YWSgehmvSicSfWt4fWSicarcY`y
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          fS`eWfY4iWS`StSY`SYWaSbUodS`tfpSWfS
          s`fSsWWSX`ap4pY4ahS`Ss`fSp4YpSa`YS
          Y`SWdXWWrS
                4TSSkSY`SYWaSbUodS`tfpS̀aSYWSfpYS
                eWSbdSrcpS`ScaSpXWrtWrS
                s`fSsWWSb4TWTqSa`YSY`SWdXWWrSYs`S
                bwdS`tfpS`SicarcY`fS`eWfY4iWS
                WfSp4YdT
                44TSV4dSbdS`tfpS`aSYWSp4dYSbYdS
                rcSs`fWrT
             bgdSiWSgehmvScpSYWSf4hYS
             Y`SrWYWfi4aWSYWS`tfpS`Ss`fScarS
             rWYWfi4a4ahStc4WrSi`WWpSY`S
             Wf`fiS̀eWfY4iWSs`fT
             brdSi`WWScupWaXWpSrtf4ahSicay
             rcY`fS`eWfY4iWScarSe`taYcfS`eWfy
             Y4iWS`aXWScXXWYWrSuSYWSi`WWS
             pcSuWS`hhWrS`aSYWSi`WWnpS
             s`fS4pY`fScarSX`taYWrScpScaStaWdy
             XtpWrScupWaXWS4aSYWSgYYWarcaXWSe`y
             4XT
             bsdSmeWfY4iWSpcSa`YSuWSc4Xcy
             uWS`fSYWSV`fYSiWfiS4pcu44YSecS
             ecaS̀fSecXcY4`aSX`ap4rWfcY4`apT
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            bdSi`WWpSpcSuWSh4eWaSYsWay
            Yy`tfSbwdS`tfScrecaXWSa`Y4XWS`S
            icarcY`fS`eWfY4iWSpXWrtWrS`aS
            YWSp4dYSbYdSX`apWXtY4eWSrcSY`SuWS
            s`fWrTSSrSscS̀ SWdciWqS4ScaSiy
            `WWS4pSh`4ahSY`SuWSpXWrtWrS`fS
            icarcY`fS`eWfY4iWS`aScSVcYtfrcqS
            YWSi`WWSpcSuWS4a`fiWrS`S
            YWScpp4haiWaYSuSYWSWarS̀ S4pSp4YS
            `aSitfprcT
            bdSi`WWpSpcSuWSh4eWaSYs`S
            bwdS`tfScrecaXWSa`Y4XWS`SicarcY`y
            fS`eWfY4iWSpXWrtWrS`aScaSpXWry
            tWrSs`fSrcS`SYWSs`fSsWWSb4TWTqS
            g`arcSYf`thS~f4rcdSf4`fSY`SYWS
            pXWrtWrSWarS̀ SYWSp4YTSSrSscS̀ S
            WdciWqSWi`WWpSs`ScfWSh`4ahS
            Y`SuWSpXWrtWrS`fSYs`SbwdS`tfpS`S
            icarcY`fS`eWfY4iWS`aScSsWWrcS
            itpYSuWSa`Y4WrSuSUooSegS4SYWS
            p4YS4pSpXWrtWrSY`SWarScYStooSegTSS
            b~dSlScaSWi`WWScpScaScf`eWrS
            pXWrtWrStS`fScyrcSecXcY4`aS
            rcS̀aSYWSYSbYdSrcSbWfSgfY4XWS
            qSVWXY4`aSbXddqSYWSWi`WWSs4SuWS
            WdWiYWrSf`iSicarcY`fS`eWfY4iWS
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              `aSYcYSp4dYSbYdSrcS̀ Ss`fS4aSYcYS
              s`fSsWWT
             bdSlShcu`fScScarÙ̀fSgWi`f4cS
             cS4pSXWWufcYWrS`aScSg`arcqSWiy
             `WWpSs4SuWSWdWiYWrSf`iSicay
             rcY`fS`eWfY4iWS`aSYWSp4dYSbYdS
             rcS`Ss`fS4aSYWSf4`fSs`fSsWWTS
             i`WWpSs4SuWSWdWiYWrSf`iS
             icarcY`fS`eWfY4iWS`aSYWSp4dYS
             bYdSrcS̀ Ss`fS4aSYWSs`fSsWWS4aS
             s4XS``rS~f4rcS4pSXWWufcYWrT
          A978FBB7GFG6BG8@}BpGIABG7A
            iWSi`WWnpSVYcarcfrSrc4SschWS
          fcYWScpStpWrSWfW4aSpcSuWSXcXtcYWrS
          4aScXX`frcaXWSs4YSYWS``s4ahS`fity
          c
          i`WWnpSpYcu4pWr
          g`aYSVccfSdSUwSSÛSSSSSSSSVYfc4hYSi4iWSvcYW
          wSWWpSdSoS{`tfpSeWfSWWS beWfS`tfd
            iWSYWfiSfWhtcfSfcYWScpStpWrSWfW4aS
          pcSiWcaSYWSpYfc4hYSY4iWSfcYWStpS
          p4YSr4 WfWaY4cqS4ScaqSutYSWdXtr4ahS
          cS̀YWfSciWaYpT
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          A978FBABqQ6@}BpGIABG7ARBGFB8v7B
          8vvA6AF78G@
          bUdS{`tfSchWSvcYWp
             bgdSiWS`tfSbdShWeWSecSVYftXYtfWS
             4pS4aXtrWrS4aSY4pSghfWWiWaYScpSgy
             War4dSgTSSi4pSpYftXYtfWSs4SfWic4aS
             YWSpciWSrtf4ahSYWS4WS̀ SY4pSghfWWy
             iWaYS`sWeWfqScSi`WWpScXY4eWS
             Wi`WrS̀aSYWSW WXY4eWSrcYWS̀ SY4pS
             ghfWWiWaYSs4SfWXW4eWSS
            WXY4eWScYWS S gi`taY
           mXY`uWfStoqSwoUS                 tÜ
           mXY`uWfSwjqSwoUfS                 tÜ
           x`eWiuWfSqSwoUjS                 tÜ
           x`eWiuWfSwqSwowoS                 tÜ
           x`eWiuWfSUqSwowUS                 tTÜ
             brdSgWar4dSrS4pYpSWcXS̀ SYWScS
             WeWpScarSYWS`uSY4YWpScarS`uSX`rWS
             atiuWfpS4aX`f`fcYWrSs4Y4aSWcXS
             cSWeWTSSiWSgehmvSpcSa`YS
             4aYf`rtXWScrr4Y4`acScSWeWpS̀fS`uS
             Y4YWpSrtf4ahSYWS4WS`SY4pSghfWWy
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             iWaYS`fSX`iu4aWSWd4pY4ahS`uSY4YWpS
             `fScSWeWpSs4Y`tYSr4pXtpp4`apS
             s4YScarSchfWWiWaYSuSYWSh`XcS
             ka4`aTSSlaSYWSWeWaYSYWScfY4WpScfWS
             tacuWSY`SfWcXSchfWWiWaYSfWhcfry
             4ahSYWScf`f4cYWScSWeWScarS`uS
             X`rWSatiuWfqSYWSgehmvSicS
             4iWiWaYSYWSXcahWqSptuWXYSY`SYWS
             kxlmxnpSf4hYSY`SWScShf4WecaXWScarS
             ptui4YSYWSicYYWfSY`Scfu4YfcY4`aS`fS
             acSfWp`tY4`aT
             bsdSV4ha4ahSu`atpSÝSWi`WWpScXy
             Y4eWSWi`WrSuSYWSi`WfScpS
             `SYWS WXY4eWScYWS`SYWSghfWWy
             iWaYSpcSuWSc4rS~4eWS{tarfWrS`y
             cfpSbÞoodqSWppScs tSrWrtXY4`apqSY`S
             uWSc4rS`aS`fSuW`fWSWXWiuWfSwUqS
             woUwT
          bwdSV4YS4 WfWaY4c
            gaSi`WWSWficaWaYSpXWry
          tWrS`fSYWi`fcf4Scpp4haWrSY`Ss`fS
          uWYsWWaSYWS`tfpS`SttoSTiTSb`fStooS
          TiTS4aSYWSWeWaYSYcYSYWSc4XcuWS
          UpYSp4YS4pSXcahWrSY`StoSY`StooSTiTdS
          carSooScTiTSpcSfWXW4eWScSa4hYSp4YS
          r4 WfWaY4cSci`taY4ahSY`SYWaSWfXWaYS
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          bUoÜdS`SYWSc4XcuWSfcYWS`fSstfy
          fWaYSi`WWpScarSÞoTSWfS`tfS`fS
          xWsSi`WWpS`fSptXS`tfpqScXX`fry
          4ahSY`SYWSf`XWrtfWpS4aScfchfcpSbgdS
          Yf`thSbdS̀ SY4pSVWXY4`aTSSx`Sp4YSr4y
           WfWaY4cSpcSuWSc4rSsWaSptXS`tfpS
          s`fWrScYSYWSfWtWpYS̀ SYWSi`WWT
             bgdSgSrcSp4YSi`WWSpcSfWy
             XW4eWSp4YSr4 WfWaY4cSsWaSYWS
             `tfpSs`fWrS4aScSs`frcSci`taYSY`S
              `tfS`fSi`fWßSuWYsWWaSYWS`tfpS`S
             ttoSiSb`fStooSTiTS4aSYWSWeWaYSYcYS
             YWSc4XcuWSUpYSp4YS4pSXcahWrSY`S
             toSY`StooSTiTdScarSooSciqScarS
             f`e4rWrSYWSi`WWSs`fWrS4pS
             a`ficSp4YScarSYWS`tfpStc44ahS
              `fSp4YSr4 WfWaY4cScfWScaSWdYWap4`aS
             `SYcYSp4YT
             ßi`WWpSpXWrtWrSY`SuWh4aSs`fS
             cYSooScTiTSs4SfWXW4eWSp4YSr4 WfWay
             Y4cS`fSY`pWS`tfpSs`fWrSuWYsWWaS
             YWS`tfpS̀ SooScTiTScarSooScTiTSS
             brdSgSrcSp4YSi`WWSpcSfWy
             XW4eWSp4YSr4 WfWaY4cS`fScS`tfpS
             s`fWrSuWYsWWaSttoSTiTSb`fStooS
             TiTS4aSYWSWeWaYSYcYSYWSc4XcuWS
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              UpYSp4YS4pSXcahWrSY`StoSY`StooS
              TiTdScarSooScTiTSf`e4rWrSYWSiy
              `WWSs`fWrS4pSa`ficSp4YScarS
              cSufWcS4aSs`fS`S`aWS`tfS`fSi`fWS
              `XXtfpSuWYsWWaSYWSa`ficSp4YScarS
              Y`pWS`tfpStc44ahS`fSp4YSr4 Wfy
              WaY4cT
              bsdSlSYWSic`f4YS`S`tfpSs`fWrS
              uScSrcSp4YSi`WWScfWSs`fWrS
              `aScSa4hYSp4YSbttoSTiTSà`fStooS
              TiTS4aSYWSWeWaYSYcYSYWSc4XcuWS
              UpYSp4YS4pSXcahWrSY`StoSY`StooS
              TiTáSY`SooScTiTdqSWSs4SuWSc4rScXy
              X`fr4ahSY`ScfchfcSbdS`SY4pSVWXy
              Y4`aT
              bdSgSpWX`arS`fSY4frSp4YSi`y
              WWSpcSfWXW4eWSp4YSr4 WfWaY4cS`fS
              cS`tfpSs`fWrS`aS4pSa`ficSp4YqS
              cpSsWScpS`fScS`tfpSs`fWrSs4XS
              cfWScaSWdYWap4`aS`S4pSa`ficSp4YqS
              f`e4rWrSWSs`fpS4pSa`ficSp4YT
              bdSlSYWSic`f4YS`S`tfpSs`fWrS
              uScSpWX`arS`fSY4frSp4YSi`WWS
              cfWSs`fWrS`aSYWSrcSp4YSbooSciS
              Y`SttoSiS`fStoScTiTSY`StooSTiTqS
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            s4XWeWfS4pSc4XcuWdqSWSs4SuWS
            c4rScXX`fr4ahSY`ScfchfcpSbgdScarS
            brdS̀ SY4pSVWXY4`aT
            b~dSx4hYSp4YSi`WWpSicSuWS
            YWi`fcf4Scpp4haWrSuSYWSgy
            ehmvSY`Ss`fSYWSrcSp4YTSSWaS
            YWpWSi`WWpScfWSfWcpp4haWrSY`S
            rcpqSYWSs4SX`aY4atWSY`SfWXW4eWS
            YW4fSa4hYSp4YSr4 WfWaY4cSf`e4rWrS
            YWSWi`WWSYWi`fcf4SfWic4apS̀aS
            YWSrcSp4YScYSYWSfWtWpYS̀ SYWSiy
            `WfScarScXYtcSs`fpS`aSYWSrcS
            p4YT
            i4pS`4XSs4Sa`YScSsWa
                b4dSiWSfWtWpYSY`Ss`fSYWSrcS
                p4YS4pS`f4h4acYWrSuSYWSi`y
                WWT
                b44dSVtWfe4p4`aSrWYWfi4aWpScS
                aWWrS`fSfWYfc4a4ahSrtWSY`ScScXS
                `SWf`ficaXWS`aSYWScfYS`SYWS
                i`WWT
                b444dSgaSi`WWSs`Sr`WpSa`YS
                fWpWaYSs`fS`aSYWSa4hYSp4YS
                s`S4pScSptXXWpptSu4rrWfSY`ScS
                a4hYSp4YS`uSs4XSfWt4fWpS
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                Yfc4a4ahS`aSYWSrcSp4YScarS4pS
                cXX`fr4ahScpp4haWrSY`SrcpS`fS
                4a4Y4cSYfc4a4ahTS
                b4edSgaSWi`WWS4pSi`eWrStfpty
                caYSY`ScSiWr4XcSfWpYf4XY4`aT
             gaSi`WWSs`SfWpWaYSs`fpS̀aS
             YWSa4hYSp4YScarSfWpWaYSfWXW4eWpS
             cSa4hYSp4YSr4 WfWaY4cSs`S4pScSptXy
             XWpptSu4rrWfSY`Sca`YWfSa4hYSp4YS
             `uSs4XSfWt4fWpSYfc4a4ahS`aSYWS
             rcSp4YScarS4pScXX`fr4ahScpp4haWrS
             Y`SrcpS`fS4a4Y4cSYfc4a4ahSs4SX`ay
             Y4atWSY`SfWXW4eWSYWSc4XcuWSa4hYS
             p4YSr4 WfWaY4cS`fSYWSrtfcY4`aS`S
             YWS4a4Y4cSYfc4a4ahT
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          A978FBGBq@8G}RBHRA6A
            bUdSSlaSWcXSWcfS`SY4pSghfWWiWaYS
          YWfWSpcSuWSWWeWaSc4rS{`4rcp
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            bwdS4YSYWSWdXWY4`aS̀ SYWSi`y
          WWnpSr4fYrcScarSYWSecaYS~`cYWfqS
           `fWh`4ahS{`4rcpSpcSuWSXWWufcYWrS
          `aSYWSWhcSrWp4hacYWrSrcpT
            btdSi`WWpSs4SuWSWdWiYWrSf`iS
          icarcY`fSs`fS`aSYWSc4rS`4rcpS
          a`YWrScu`eWS4aSVWXY4`aSbcdbUdS`SY4pSgfy
          Y4XWT
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            bUdSSWaScaS`SYWS`fWh`4ahS{`y
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            bwdSSWaScaS`SYWS`fWh`4ahS{`4y
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            A978FB9B@GF7Bö@G7A6BGFBA9AD
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            bUdSSiWSrcYWS`SXWWufcY4`aS`SYWS
          ecaYS~`cYWfS{`4rcSs4SuWSpWWXYy
          WrSuSWcXS4ar4e4rtcSi`WWSY`SuWS
          pXWrtWrS4aScXX`frcaXWSs4YSYWSf`y
          e4p4`apS`fSpXWrt4ahSecXcY4`apScpSpWYS
           `fYS4aSgfY4XWSTSS
            bwdSSWaSWXWiuWfSwScpS`aS~f4y
          rcqSYWSfWXWr4ahSitfprcSs4SuWS`uy
          pWfeWrScpSYWS{`4rcTSSWaSWXWiuWfS
          wScpS`aSVtarcqSYWS``s4ahSitWpy
          rcSs4SuWS̀upWfeWrScpSYWS{`4rcT
          A978FBBG}Bv6Bq@8G}RBp6A
            i`WWpSs`Ss`fS̀aSYWS`fWh`4ahS
          {`4rcpqS4aXtr4ahSrWp4hacYWrSu4fYy
          rcS{`4rcpqSpcSuWSc4rScYS`aWScarS
          `aWycSbUSÚdSY4iWpSYWSi`WWnpS
          fWhtcfSfcYWS`fScSptXS`tfpSs`fWrqS
          carS4aScrr4Y4`aqSs4SuWSc4rScS{`4rcS
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          pXWrtWrS`aSYWSrcS`SYWSs`fsWWqS
          `fSYWSi`WWSpcSuWSc4rS`eWfY4iWS
          cScYSYs`ScarS`aWycSbwSÚdSY4iWpSYWS
          i`WWnpSfWhtcfSfcYWS`fSptXS{`4y
          rcS`tfpSs`fWrqSs4XWeWfS4WrpSYWS
          hfWcYWfScT
          A978FBABG}Bv6Bq@8G}RB7Bp6A
            i`WWpSs`Sr`Sa`YSs`fS`aSYWS
           `fWh`4ahS{`4rcpSs4SuWSc4rSYW4fS
          fWhtcfSWcfa4ahpS`fSptXSrcqS4aXtry
          4ahSfWhtcfSpXWrtWrS`eWfY4iWSfcYWpTS
          laS`frWfSY`Stc4S`fS{`4rcScS`fS
          {`4rcpSa`YSs`fWrqSYWSi`WWS
          itpYSs`fSu`YS`aSYWSi`WWnpScpYS
          pXWrtWrSrcSf4`fSY`SYWS{`4rcScarS
          `aSYWSi`WWnpSaWdYSpXWrtWrSrcS
           ``s4ahSYWS{`4rcqStaWppSWdXtpWrS
           f`iSs`fS̀aSptXSrcpSuSehgxiSicay
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          A978FBvB867G}Bq@8G}R
            4YSptWfe4p`fScf`ecqScaSiy
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          rcSY`ScaSfWhtcfSpXWrtWrSs`frcS
          s4Y4aSYWSXcWarcfSWcfS4aSs4XSYWS
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          u4fYrcScpSWdXWYS`fSVtarcqScSrcS
          `SecXcY4`aS̀fScSfWX`ha4¤WrSehgxiSs4rWS
          `4rcT
            bUdSSi`WWpSs4SuWScpWrS4aS`fy
          rWfS`SpWa4`f4YSY`SpXWrtWSYW4fSu4fYy
          rcS{`4rcSf4`fSY`ScaSecXcY4`aSpXWry
          t4ahSWcXSWcfT
            bwdSSi`WWpSs`SX``pWSa`YSY`S
          ±`cYSYW4fSu4fYrcS{`4rcScarSWWXYS
          Y`SYcWSYWSrcS`SYW4fSu4fYrcS` qS
          s4SceWSfWWfWaXWS`eWfScaSWi`y
          WWS±`cY4ahSYWS{`4rcS`fSpXWrt4ahScS
          p4YSrcS̀ SecXcY4`aT
            btdSSlScaSi`WWSWWXYpSa`YSY`S
          pXWrtWSYWSu4fYrcS{`4rcS±`cYWfS
          f4`fSY`SecXcY4`aSpXWrt4ahqSYWSu4fYy
          rcS{`4rcSs4Sa`YSYcWSfWWfWaXWS
          `eWfSecXcY4`aSrcpSutYSs4SuWShfcaYWrS
          `aScSfpYyX`iWSfpYypWfeWrSucp4pTSiWS
          u4fYrcS{`4rcSs4SuWSh4eWaSX`ap4ry
          WfcY4`aSc`ahSs4YScaScYWSecXcY4`aSfWy
          tWpYpT
            bdSSlSYWSi`WWnpSu4fYrcScpS
          rtf4ahScSpXWrtWrSsWWS`SecXcY4`aqS
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          ecXcY4`aSrcScYSp`iWS`YWfSY4iWSrtf4ahS
          YWSXcWarcfSWcfS``s4ahSWpYcu4pWrS
          p4YSecXcY4`aSht4rW4aWpT
            bdS i`WWpSs4S`upWfeWSYW4fS
          u4fYrcS{`4rcS̀aSYWSrcSpWWXYWrTSlaS
          WiWfhWaXSp4YtcY4`apqS`sWeWfqScaSiy
          `WWnpSu4fYrcS{`4rcSicSuWShfcaYy
          WrS̀fSXcahWrSs4YScf`ecS̀ SgfWcSVty
          Wfe4p4`aSf4`fSY`SYWSpYcfYS`SYWSp4YS
          rtf4ahSs4XSYWS{`4rcSscpSY`SuWSXWy
          WufcYWrT
          A978FBIBu8ABvBG}AF7
            eciWaYS `fS{`4rcpSa`YSs`fWrS
          pcSuWS4aXtrWrSs4YScS`fSYWScS
          Wf4`rS4aSs4XSYWS{`4rcS̀XXtfpT
                     56789@AB|BB|G9G78F
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            i`WWpSs4Stc4S`fStSY`SeWS
          bdSsWWpS`SfWhtcfSecXcY4`aStarWfSYWS
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              pWfe4XW
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              `SpWfe4XWS
          A978FBHB 5uBQ7F
            iWSgehmvSpcSceWSYWS`y
          Y4`aS`SrWXcf4ahScStS`fScfY4cSecy
          XcY4`aSptYr`saS`fStSY`SUoSs`f4ahS
          rcpSrtf4ahScaSXcWarcfSWcfS`SY4pS
          ghfWWiWaYTSlSYWSgehmvSWWXYpS
          Y4pS̀Y4`aS4YSs4Sa`Y4SYWSh`XcSka4`aS
          efWp4rWaYSuScatcfSUYS̀ SYWSWcfSp`S
          WWXYWrS`SYWSpX`WS`SYWSptYr`saS
          carSc WXYWrSWi`WWpTSiWSi`WfS
          chfWWpSa`YSY`SXcaXWS`fSfWpXWrtWScaS
          pXWrtWrSptYr`saScYWfSgcfXSUpYS`S
          YWSWcfS`fSYWSfWic4arWfS̀ SYWSXcWay
          rcfSWcfSWdXWYS4SrtWSY`SX4fXtipYcaXy
          WpSuW`arSYWSX`aYf`S`SYWSi`WfS
          bWThTqScXYpS`Sh`rqSfWqSWYXTdTSmaWS`SYWS
          Ys`SsWWpSWWXYWrS`fSptYr`saSpcS
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          ehgxiqStSY`SUoSs`f4ahSrcpS`ScaS
          i`WWnpSfWhtcfSecXcY4`aSicSuWS
          cpp4haWrSY`SYWpWSptYr`saSWf4`rpTScy
          XcY4`aSptYr`saSsWWpSicS4aXtrWS̀uy
          pWfeWrS{`4rcpSX`eWfWrSuSY4pSghfWWy
          iWaYTSlaSptXSXcpWpSYWSgehmvS
          icScpp4haSecXcY4`aS`aSY`SY`pWSrcpS
          a`YSX`eWfWrSuS{`4rcpS`fScSX`iu4aWrS
          Y`YcS`SeWSbdSrcpSrtf4ahSYWSptYy
          r`saSsWWT
          A978FB9B7GIIA6AB|G9G78F
            gaSecXcY4`aS`YWfSYcaSecXcY4`aSrWy
          pXf4uWrS4aSVWXY4`aSbudScu`eWqSpcSuWS
          pXWrtWrSuSYWSgehmvScYSY4iWpS
          rWp4fWrSuSYWS4ar4e4rtcSi`WWpS
          f`e4rWrSYWSi`WWSfWtWpYpSYWSecy
          XcY4`aSYs`SbwdSs`f4ahSrcpSf4`fSY`SYWS
          cXYtcSecXcY4`aTSx`Ys4YpYcar4ahSYWS
           `fWh`4ahqScaSi`WWSicSfWtWpYSY`S
          tpWSa`Si`fWSYcaSYfWWSbtdSecXcY4`aSrcpS
          WfSXcWarcfSWcfSs4YSWppSYcaSYs`SbwdS
          s`f4ahSrcpSa`Y4XWSf4`fSY`SYWScXYtcS
          ecXcY4`aTSSiWSgehmvSicSWdXtpWS
          YWSYs`SbwdSs`f4ahSrcSf4`fSfWtWpYS
          fWt4fWiWaYS4aSYWSWeWaYS̀ ScSeWf4cuWS
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          pcSuWSpXWrtWrSuSi`WWpS4aScXy
          X`frcaXWSs4YSYWScpYSfcXY4XWS`Secy
          XcY4`aSpXWrt4ahqSfWX`ha4¤4ahSf`rtXy
          Y4`aSaWWrpScarSYWSi`WWnpSf4hYSY`S
          pXWrtWSecXcY4`aS4aSsWWSpWhiWaYpS
          `fSp4YScXY4`aS`Sp4ahWSrcS`fSÚSrcS
          pWhiWaYpT
          A978FBBp6BQ68FIBQ7FB
            laSYWSWeWaYSYWSgehmvSrWy
          XcfWpScSecXcY4`aSptYr`saSuWYsWWaSYWS
          i`aYpS`StaWSUSÝSgthtpYStUqSi`y
          WWpSs`ScfWSfWt4fWrSY`Ss`fSrtf4ahSYWS
          ptYr`saSpcSuWScpptfWrS`SpXWrty
          4ahSWtcSrcpS` Srtf4ahSYWSi`aYpS`S
          taWqStqS̀fSgthtpYqS4SYWSp`SrWp4fWT
          A978FBABu8ABvBG}AF7
            bUdS cXcY4`aSciWaYS`fSYfWWSbtdS
          `fSi`fWSX`apWXtY4eWSrcpSecXcY4`aSpcS
          uWSicrWSuSpWcfcYWSXWXSa`ScYWfSYcaS
          YWScpYScSrcS4iiWr4cYWSfWXWr4ahS
          YWSuWh4aa4ahS`SYWSfWpWXY4eWSecXcy
          Y4`aSWf4`rpqSf`e4r4ahScrecaXWrSecXcy
          Y4`aS`fipScfWSYtfaWrS4aY`SYWSecf`S
          WcfYiWaYS4aScSY4iWScp4`aTSgaSecy
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          XcY4`aS̀ SWppSYcaSYfWWSbtdSX`apWXtY4eWS
          rcpSs4SuWSc4rS4aSYWSpciWScSWf4`rS
          4aSs4XSYWSfWhtcfSs`fS`fSYcYSsWWS
          s4SuWSc4rT
            bwdS
                bgdSi`WWpSs`SWceWSYW4fS
                Wi`iWaYSb`fSfWcp`apS`Yy
                WfSYcaSr4pXcfhWS`fStpYSXctpWdS
                f4`fSY`SfWXW4e4ahSecXcY4`aScS
                pcSfWXW4eWSYW4fSf`SfcYcSpcfWS
                `SecXcY4`aSciWaYSWcfaWrS`fS
                WcXS`SYWStc44ahSWcfpSb4TWTqS
                fpYqSYqSYWaYqScarSYsWaY4WYdS
                uSYW4fSpWX`arSfWhtcfScSWf4`rS
                 f`iSYWSY4iWSYW4fSWi`iWaYS4pS
                pWeWfWrScXX`fr4ahSY`SYWS``s4ahS
                ht4rW4aWp
                ySlSYWSi`WWSWceWpSWi`y
                iWaYSrtf4ahS`fScYWfSYW4fScaa4y
                eWfpcfSi`aYqSYWSs4SfWXW4eWS
                 tScS`fSYWScrr4Y4`acSsWWS̀ S
                ecXcY4`aSWcfaWrT
                ySV`trSYWSi`WWSWceWSWiy
                `iWaYSuW`fWSYW4fScaa4eWfpcy
                fSi`aYqSYW4fScrr4Y4`acSsWWS
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                uSUÙUwS`ScSsWWS`fSWcXSi`aYS
                YWSi`WWSWceWpSf4`fSY`SYWS
                caa4eWfpcfSi`aYTSS~`fSWdciWqS
                caSi`WWSs4YScaScaa4eWfpcfS
                i`aYS`StSs`SscaYpSY`SWceWS
                4aS~WuftcfS`ScStc44ahSWcfS
                s4SuWSWce4ahSeWSbdSi`aYpSf4y
                `fSY`S4pScaa4eWfpcfSi`aYScarS
                s4SYWfW`fWSceWSYWScrr4Y4`acS
                sWWnpSecXcY4`aScSfWrtXWrSuS
                ÙUwnpS̀ ScSsWWTSS
                brdSi`WWpSs`SWceWSYW4fSWiy
                `iWaYSb`fSfWcp`apS`YWfSYcaS
                r4pXcfhWS`fStpYSXctpWdSf4`fSY`S
                fWXW4e4ahSecXcY4`aScS4aSYWSWcfpS
                uWYsWWaStc44ahSWcfpqSpcSfWy
                XW4eWStSecXcY4`aScSucpWrS`aS
                YW4fSWcfpS`SpWfe4XWS`tY4aWrS4aS
                VWXY4`aSbcdS̀ SY4pSgfY4XWT
                bsdSgaSecXcY4`aSfWe4`tpSc4rS
                rtf4ahSYWSXcWarcfSWcfSs4SuWS
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          fWt4fWrSWfWuqS4aSYWSicaaWfScarS`aS
          YWSrcYWpSWfW4aSf`e4rWrqSpcScYSYWS
          `Y4`aS`SYWSkxlmxqSuWSrWWiWrScSe4y
          `cY4`aS`SY4pSghfWWiWaYTSSi4pS`u4hcy
          Y4`aSpcSuWScSr4fWXYScarSX`aY4at4ahS̀uy
          4hcY4`aS`SYWSgehmvSrtf4ahSYWS
          4WS`SY4pSghfWWiWaY¥ScarS4YSpcSuWS
          rWWiWrScSe4`cY4`aS`SY4pSghfWWiWaYS
          4SYWSehgxiqSY`Ss4XSY4pSghfWWiWaYS
          4pSc4XcuWqSpcSuWSp`rqSWcpWrqSptuy
          WcpWrqScpp4haWrS`fS`YWfs4pWSr4p`pWrS
          `S`fSYWStf`pWS`Sce`4r4ahSYWS`u4y
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            bUdSSgaSi`WWSs`S4pSWdXtpWrS
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          `WWnpS4iiWr4cYWSci4qSpcSuWSc4rS
          YWSi`WWnpSfWhtcfSfcYWS`ScS`fS
          YWSi`WWnpSpXWrtWrSs`f4ahS
          `tfpSWdXtpWrS`fScSicd4itiS`SYfWWS
          btdSpXWrtWrSs`f4ahSrcpqSpYcfY4ahS`aS
          YWSrcS̀ SrWcYS̀fS̀aSYWSrcS``s4ahS
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           taWfcqSutYS4aSa`SWeWaYSWdYWar4ahSuWy
          `arSYWSrcScYWfSYWStaWfcTSSgSiWiy
          uWfS̀ SYWSi`WWnpS4iiWr4cYWSci4S
          pcSuWS4i4YWrS`fSYWStf`pWS`SY4pS
          VWXY4`aSY`Sg`YWfqS~cYWfqSVYWyecfWaYqS
          g`YWfy4aycsqS ~cYWfy4aycsqS V4pYWfqS
          rf`YWfqS{tpucarqS4WqSV`aqScthYWfqS
          VYWyX4rqSfcarcfWaYScarSfcarX4rS
          `SYWSWi`WWTSSx`ScSc`scaXWSpcS
          uWShfcaYWrS4aSYWSXcpWSsWfWqSuWXctpWS
          `Sr4pYcaXWS`fS`YWfSXctpWqSYWSi`y
          WWSr`WpSa`YScYYWarSYWStaWfcS`SYWS
          rWXWcpWrTSSlaS4apYcaXWpS̀ Sr4pYcaYSrWcYqS
          sWfWScS`XcSiWi`f4cSpWfe4XWS4pSWrqS
          i`WWpSs4SuWSWdXtpWrSs4YScqS`fS
          tSY`SW4hYS`tfpqS`aSYWSrcS`SYWSpWfy
          e4XWT
            bwdSSVf4ahS4aYWfiWaYS`fSp4YSY4iWS` S
          btaWfcScarS4aYWfiWaYScYScScYWfSrcYWdS
          icSuWShfcaYWrScpS`ahScpS4YSr`WpSa`YS
          WdXWWrSYfWWSbtdSs`f4ahSrcpS4aSY`YcS
          Y4iWS` TSSlScaSi`WWS4pS`aSecXcY4`aS
          carScSrWcYS`XXtfpS4aSYWSci4qSrcpS
          tpWrStarWfSYWScu`eWSf`e4p4`apSicSuWS
          fWpXWrtWrScYScScYWfSrcYWTSS
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            btdSSlaSXcpWS`SrWcYS`ScSrf`YWfy4ay
          csßqSV4pYWfy4aycsßqSV`ay4aycsqScthy
          YWfy4aycsqScaSi`WWSicSuWSWdXtpWrS
           f`iSs`fStSY`SW4hYSbfdS`tfpS`aSYWS
          rcS̀ SYWStaWfcScarSpcSuWSc4rSYWS
          i`WWnpSfWhtcfSfcYWS`ScS`fSYWS
          s`f4ahS`tfpSWdXtpWrTSSx`ScSc`sy
          caXWSpcSuWShfcaYWrS4aSYWSXcpWSsWfWqS
          uWXctpWS`Sr4pYcaXWS`fS`YWfSXctpWqSYWS
          i`WWSr`WpSa`YScYYWarSYWStaWfcS
          `SYWSrWXWcpWrTSSx`Y4XWS`SptXSrWcYpS
          itpYSuWSh4eWaSY`SYWSi`WWnpSptWfy
          e4p4`aScpSp``aScpS4YS4pSfWcp`acuS`pp4y
          uWTSSlaS4apYcaXWpS̀ Sr4pYcaYSrWcYqSsWfWS
          cS`XcSiWi`f4cSpWfe4XWS4pSWrqSiy
          `WWpSs4SuWSWdXtpWrSs4YScqS`fStS
          Y`SW4hYS`tfpqS̀aSYWSrcS̀ SYWSpWfe4XWTS
            bdSSiWS`tfpSYtpSc4rS`fSutYSa`YS
          s`fWrSpcSa`YSuWStpWrS4aSX`itY4ahS
          `eWfY4iWScS`fS`tfpSs`fWrS4aSWdXWppS
          `S`fYSbodS4aSYWSs`fsWWqSa`fSpcS
          VtXSrcpSuWSX`taYWrScpSrcpSs`fWrS4aS
          rWYWfi4a4ahSsWYWfSYWSi`WWScpS
          s`fWrScSp4dYSbYdS̀fSpWeWaYSbYdSrcS
          4aSYWSfWhtcfSpXWrtWrSs`fsWWTS

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            bdSSiWSgehmvSicSfWt4fWS
          eWf4XcY4`aS̀ SrWcYScarSfWcY4`aSY`SYWS
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            ßrf`YWfy4aycsScarSV4pYWfy4aycsScfWS
          rWaWrScpSYWSp`tpWS̀ SYWSi`WWnpS
          rf`YWfS̀fSV4pYWfScarSYWSrf`YWfS̀fSV4py
          YWfS̀ SYWSi`WWnpSp`tpWT
          A978FBHBQ6}BQ7}S
            WaScaSi`WWS4pSXcWrS`fStfS
          rtYSpWfe4XWqSWSpcSuWSWdXtpWrSf`iS
          s`fS`fSYWS`tfpSWS4pSfWt4fWrSY`Scy
          WcfS4aSX`tfYScarS`fSY4iWShfcaYWrSuS
          ptWfe4p4`aS`fSYWSi`WWSY`SfWy
          cfWS`fStfSrtYSbYfceWSY4iWqSX`YWpS
          XcahWqSWYXTdTSSiWSci`taYS`SY4pSY4iWS
          s4SuWSrWYWfi4aWrScYSYWSr4pXfWY4`aS
          `SYWSgehmvnpSptWfe4p`fTSSiy
          `WWpScYYWar4ahStfSrtYSs4SuWS
          c4rSYW4fSfWhtcfSfcYWS`fSYWSWdXtpWrS
          `tfpSYWSs`trSceWSuWWaSpXWrtWrS
          Y`Ss`fqSa`YSY`SWdXWWrSW4hYSbfdS`tfpS
           `fScaS`aWSrcScarSpcSuWSc`sWrSY`S
          fWYc4aStfSWWpSfWXW4eWrS`fStfSrtYS
          pWfe4XWTSSi4iWScupWaYS`fStfSrtYSs4S
          uWSc4rScpSWdXtpWrStfSrtYTSSgaSiy
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          XcY4`aSb`YWfSYcaSfWe4`tpSpXWrtWrS
          ecXcY4`aSptYr`sadSs4SuWSWfi4YYWrSY`S
          fWpXWrtWSecXcY4`aSuWh4aa4ahSs4YSYWS
          fpYSrcS`StfSrtYTSSi`WWpSs`S
          ceWSuWWaSpWWXYWrSY`StfSrtYSitpYS
          X`iWYWSf`WfSehgxiS`fipScarSfWy
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            bUdSSgaSi`WWSs`SfW`fYpS`fS
          pXWrtWrSs`fqSs4Y`tYSf4`fSa`Y4y
          XcY4`aSa`YSY`SfW`fYqSpcSuWSfWYc4aWrS
           `fSYWScyrcSWf4`rScarSh4eWaSptXS
          tpWtSs`fScpSicSuWScYScarScYSYWS
          i`WWnpSfWhtcfSfcYWTSSlSYWSi`y
          WWS4pS` WfWrScarSr`WpSa`YScXXWYSptuy
          pY4YtYWSs`fqSYWSi`WWSs4SuWSc4rS
          `aS`fSYWSY4iWSpWaYScYSYWSehgxiS
          taY4SptXSs`fS4pS` WfWrTSSi4pSf`e4y
          p4`aSr`WpSa`YScSY`SXcpWpSsWfWSs`fS
          4pSa`YScec4cuWS`fSfWcp`apSuW`arSYWS
          gehmvnpSX`aYf`qSptXScpS`sWfS
           c4tfWqSfWqS`fSpWf4`tpSiWXca4XcSr4y
          XtY4WpSc WXY4ahScaSWaY4fWScfWcqS`fS4aS
          XcpWpSsWfWSi`WWpSfWYtfaSY`Ss`fS
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          a`Y44ahSYW4fSptWfe4p4`aTSS4pcu44YS
          cSpcSa`YSuWSc4rSrtf4ahSWf4`rpS`S
          ehgxiSptYr`saSuW`arSYWSgehmy
          vnpSX`aYf`T
            bwdS gaSi`WWSs`S4pSXcWrS4aS
          carSfW`fYpS`fSs`fSuWYsWWaSfWhtcfS
          p4YpSs4YSWppSYcaSW4hYSbfdS`tfpSa`y
          Y4XWSpcSfWXW4eWScSXcy4aSc`scaXWS`S
          Ys`SbwdS`tfpScScYSYWSi`WWnpSfWhy
          tcfSfcYWqS4aScrr4Y4`aSY`ScaS̀YWfScSY`S
          s4XSicSuWSWaY4YWrT
          A978FBB8@87G6}BQ7}
            i`WWpSfWt4fWrSY`SWf`fiSi44y
          YcfSpWfe4XWSs4SfWXW4eWSX`iWapcY4`aqS
          f4hYpScarSuWaWYpSWfSYWSvWi4ahY`aS
          g44YcfShWceWSe`4XqScpSciWarWrSf`iS
          Y4iWSY`SY4iWSuSYWSgehmvT
          56789@AB|CCBB8F7BGH6BBGFGIAAF7B
          PQF89G78FBP877AA
            iWScfY4WpSfWX`ha4¤WSYcYSYWSf`py
          Wf4YScarSWX4WaXS`SYWSehgxiScfWS
          rWWarWaYSt`aSYW4fScu44YSY`Ss`fSX`y
          `WfcY4eWTSSlaS`frWfSY`StfYWfS4iWy
          iWaYSY4pSWdfWpp4`aS`Stf`pWqS`4aYS
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          hcu`fygcachWiWaYS s`iita4XcY4`aS
          s`ii4YYWWSpcSuWSWpYcu4pWrScYSYWS
          ehgxiTSSiWSkxlmxSfWfWpWaYcY4`aS`aS
          Y4pSX`ii4YYWWSpcSuWSYWSh`XcSka4`aS
          dWXtY4eWSr`cfrTSSiWSgehmvSpcS
          rWp4hacYWS4YpSfWfWpWaYcY4eWpSY`SYWS
          s`ii4YYWWTSSxW4YWfScfYSpcSceWS
          i`fWSYcaSp4dSbdSfWfWpWaYcY4eWpS̀aSYWS
          s`ii4YYWWTSSiWSs`ii4YYWWSpcSiWWYS
          cYSitYtcSchfWWcuWSY4iWpqSutYSa`SWppS
          YcaS`aXWScSi`aYTSSiWStaXY4`aS`SYWS
          s`ii4YYWWSpcSuWSY`S4rWaY4Sf`uWiS
          cfWcpqSWdXcahWS4a`ficY4`aScarSY`SpWWS
          Y`SrWeW`ScSh``rSs`f4ahSfWcY4`ap4S
          s4Y4aSYWSehgxiTSSvWfWpWaYcY4eWpS
           f`iSYWSkxlmxS`fSYWSgehmvS
          icSpthhWpYScfWcpS`SpWX4cSX`aXWfaS`fS
          4aYWfWpYScpSY`4XpS`Sr4pXtpp4`aSrtf4ahS
          YWpWSs`ii4YYWWSiWWY4ahpqScpS`ahScpS
          YWScfWSX`ap4pYWaYSs4YSYWStf`pWS`S
          Y4pSs`ii4YYWWScarSYWSf`e4p4`apS`S
          Y4pSghfWWiWaYTSS



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            eWfSi`WWSX`eWfWrSuSY4pS
          ghfWWiWaYS4pSWaY4YWrSY`ScSpcWScarS
          WcYtScXWSY`Ss`fqScarSYWScfy
          Y4WpS`4aYSWrhWSYW4fS4ar4e4rtcScarS
          `4aYSW `fYpSY`ScYYc4aScarSic4aYc4aSY4pS
          `uWXY4eWTSSvWX`ha4¤4ahSYcYSYWSWcYS
          carSpcWYS̀ SYWSi`WWpSX`eWfWrSuS
          Y4pSghfWWiWaYScfWS`aWS`SYWS4hWpYS
          f4`f4Y4WpS`SYWScfY4WpqSYWSgehmy
          vScarSkxlmxSs4SX`aY4atWSY`SX``Wfy
          cYWSY`SfWcXSYWS̀uWXY4eWS̀ SW4i4acY4ahS
          cXX4rWaYpScarSWcYSc¤cfrpqScarSs4S
          WaX`tfchWSi`WWpSY`StpWSYWSf`XWy
          rtfWpSpYcYWrSWfW4aSY`SfWcXSYcYS`uWXy
          Y4eWT
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            bUdS SgYSYWSehgxiSYWfWSpcSuWScS
          {WcYScarSVcWYSs`ii4YYWWSicrWStS
          `Sa4aWSbjdSkxlmxSiWiuWfpSWi`WrS
          cYSYWSehgxiSs`ScfWStc4WrSuSWdy
          Wf4WaXWS̀fSYfc4a4ahScarSpWWXYWrSuSYWS
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          bcdefghipqqq
          h`XcSka4`aTSSiWSka4`aSpcSuWSWaY4y
          YWrSY`S̀aWSbUdScrr4Y4`acSiWiuWfS̀ SYWS
          {WcYScarSVcWYSs`ii4YYWWS`fSWeWfS
          `aWStarfWrSbUoodSWi`WWpSWi`WrS
          `eWfS̀aWSY`tpcarSYs`StarfWrSWi`y
          WWpSbUqwoodTSSiWSh`XcSka4`aSpcS4ay
           `fiSYWSgehmvS`SYWSaciWpS`S
          YWSs`ii4YYWWSiWiuWfpTSSs`ii4YYWWS
          iWiuWfpSpcSuWSrWWiWrSY`SuWScXY4ahS
          s4Y4aSYWSpX`WS̀ SYW4fSWi`iWaYScYS
          YWSehgxiSs4Y4aSYWSiWca4ahS`SYWS
          c4XcuWSs`fWfpnSX`iWapcY4`aScsqS
          s4WS4aSYWSWf`ficaXWS̀ SYW4fSrtY4WpS
          cpS`tY4aWrSs4Y4aSY4pSghfWWiWaYTSSiWS
          {WcYScarSVcWYSs`ii4YYWWSpcSpWy
          WXYqSf`iSci`ahS4YpSiWiuWfpqScSsc4fy
          icaSs`SpcSX``fr4acYWSYWScXY4e4Y4WpS
          carStaXY4`apS`SYWSs`ii4YYWWScarS
          s`Ss4SpWfeWScpSYW4fSfWfWpWaYcY4eWS
          `aSYWSsWaYfcSVcWYSs`ii4YYWWScarS
          YWS`4aYShcu`fygcachWiWaYSs`iita4y
          XcY4`apSs`ii4YYWWT
            bwdSSgSiWiuWfS`SYWS{WcYScarS
          VcWYSs`ii4YYWWqScpp4haWrSuSYWSs`iy
          i4YYWWSsc4ficaqSicScfY4X4cYWSs4YS
          gcachWiWaYS4aSYWSWd4pY4ahS4apWXY4`aS
          f`hfciScarSpXWrtWrSVWf4`tpSe`YWay
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          Y4cSlaX4rWaYS4aeWpY4hcY4`apTSSiWScfy
          Y4WpSicSitYtcSchfWWSY`S4aXfWcpWSYWS
          atiuWfS`S{WcYScarSVcWYSs`ii4Yy
          YWWSiWiuWfpSY`ScfY4X4cYWS4aScaSh4eWaS
          4apWXY4`aSf`hfciScarÙ̀fSpXWrtWrS
          VWf4`tpSe`YWaY4cSlaX4rWaYS4aeWpY4hcy
          Y4`aT
            btdSSi`WWpSp`trSfpYSfW`fYS
          WcYScarSpcWYSX`ic4aYpS`fSX`ay
          r4Y4`apSY`SYW4fS4iiWr4cYWSptWfe4y
          p4`aTSSgWiuWfpS`SYWS{WcYScarSVcWy
          YSs`ii4YYWWSs4SicWSWeWfSW `fYS
          Y`SWaptfWSYcYSYWSi`WWScpSfpYS
          uf`thYSYWSX`ic4aYSY`SYWScYYWaY4`aS
          `SYW4fS4iiWr4cYWSptWfe4p4`aSuW`fWS
          fWpWaYcY4`aSY`SYWSecaYSVcWYSm XWfTS
          k`aSfWpWaYcY4`aS`ScWhWrSWcYS
          carSpcWYSX`ic4aYpS`fSX`ar4Y4`apSuS
          YWSsc4ficaS`SYWS{WcYScarSVcWYS
          s`ii4YYWWS̀fS4pSrWp4haWWSY`SYWSVcWYS
          m XWfqSYWSkxlmxScarSYWSVcWYSm y
          XWfSs4SpXWrtWScS`4aYS4aeWpY4hcY4`aS̀ S
          YWSX`ic4aYS̀fSX`ar4Y4`aT
            gcachWiWaYSs4Sa`Y4SYWSsc4ficaS
          `SYWS{WcYScarSVcWYSs`ii4YYWWS`fS
          4pSrWp4haWWS`ScSX`ic4aYS`fScXX4rWaYS
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          cpSp``aScpSfcXY4XcuWqStp4ahS4YpSuWpYSWy
           `fYpSY`Sr`Sp`SWdWr4Y4`tpTSSlaStfYWfy
          caXWS`SY4pS`uWXY4eWqSYWSsc4ficaS`S
          YWS{WcYScarSVcWYSX`ii4YYWWS̀fS4pS
          rWp4haWWSpcSf`e4rWSYWSVcWYSm y
          XWfSs4YScSi`u4WS`aWSatiuWfbpdSuS
          s4XSY`Sf`e4rWSptXSa`Y4XcY4`aTSSiWS
          sc4ficaS̀ SYWS{WcYScarSVcWYSs`iy
          i4YYWWS`fS4pSrWp4haWWSpcSuWSh4eWaScS
          X`S̀ ScaS4aX4rWaYSfW`fYShWaWfcYWrScpS
          cSfWptYS`ScaS4atfSY`ScaSi`WWTSSgS
          iWiuWfS`SYWS{WcYScarSVcWYSs`iy
          i4YYWWSpcScfY4X4cYWSs4YSYWSVcWYS
          m XWfS4aSYWS4a4Y4cS`ficSpcWYS4aeWpy
          Y4hcY4`aS4SYWSVcWYSm XWfSrWYWfi4aWpS
          YcYScaS4aeWpY4hcY4`aS4pSaWXWppcfT
            bdSSehgxiSgcachWiWaYScarStSY`S
          YfWWSbtdSiWiuWfpS`SYWS{WcYScarS
          VcWYSs`ii4YYWWSpcSiWWYSfWhtcfS
          cYSY4iWpScffcahWrSuSYWScfY4WpS`fSYWS
          tf`pWS`Sr4pXtpp4ahSWcYScarSpcWy
          YSicYYWfpTSSgWWY4ahpSpcSuWSWrS`aS
          cSi`aYSucp4pS`fSi`fWSfWtWaYS4S
          aWWrWrTSSx`Si`fWSYcaSYfWWSbtdSiWiy
          uWfpS`SYWS{WcYScarSVcWYSs`ii4Yy
          YWWSpcSuWSX`iWapcYWrqScYSYW4fSfWhy
          tcfSfcYWS`ScqSuSYWSgehmvS`fS
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          caS`pYSY4iWSpWaYS4aSYWpWSiWWY4ahpT
            bdSSgSiWiuWfS`SYWS{WcYScarS
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          fWfWpWaYcY4eWS`SYWSlaYWfacY4`acS
          ka4`aqSpcSuWSc`sWrSY`ScXX`icaS
          WcXSfWfWpWaYcY4eWS̀ ScaSVYcYWS̀fS~Wry
          WfcSchWaXSfWhcfr4ahSWcYScarSpcWYS
          `aScaS4apWXY4`aS̀ SYWSehgxiT
            bdSSgSiWiuWfS`SYWS{WcYScarS
          VcWYSs`ii4YYWWqScpp4haWrSuSYWS
          {WcYScarSVcWYSs`ii4YYWWSsc4fy
          icaqSpcSuWS4ae4YWrSY`ScYYWarSVWf4`tpS
          e`YWaY4cSlaX4rWaYS4aeWpY4hcY4`apqS`4aYS
          s`ic4aYSlaeWpY4hcY4`apScarS`YWfS
          pXWrtWrSpcWYSptuyX`ii4YYWWSiWWYy
          4ahpTSSiWScfY4WpSicSitYtcSchfWWSY`S
          4aXfWcpWSYWSatiuWfS̀ S{WcYScarSVcWy
          YSs`ii4YYWWSiWiuWfpSY`ScfY4X4cYWS4aS
          caSh4eWaSVWf4`tpSe`YWaY4cSlaX4rWaYS4ay
          eWpY4hcY4`aTSi4iWSpWaYSWf`fi4ahSYWS
          cu`eWSfWX`ha4¤WrSs`ii4YYWWScXY4e4Y4WpS
          s4SuWSX`iWapcYWrScYS4pSfWhtcfSfcYWS
          `ScqSuSYWSgehmvqS4SWf`fiWrS
          rtf4ahSYWSiWiuWfnpSfWhtcfSpXWry
          tWrSs`fS`tfpTSSm Sp4YSWi`WWpS
          s4SuWSpXWrtWrSY`ScYYWarSpcWYSiWWYy
          4ahpScpScfYS̀ SYW4fSfWhtcfSpXWrtWrS
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            bdSSiWSkxlmxScarSYWSgehmy
          vSchfWWSYcYqSf4`fSY`SfWtWpY4ahS4ay
          YWfeWaY4`aSf`iScSWrWfcS`fSpYcYWSchWay
          XS`aScaSicYYWfSfWcY4ahSY`SWi`WWS
          WcYScarSpcWYqSYWSkxlmxSs4SfWpy
          WaYSYWS4pptWSY`SYWSgehmvqSs4XS
          s4SYWaSuWSh4eWaScSfWcp`acuWSWf4`rS
          `SY4iWSs4Y4aSs4XSY`SfWp`arTSSmaS
          cYWfSfWXW4YS`SYWSgehmvnpSfWy
          p`apWqS`fSYWSgehmvnpSc4tfWSY`S
          fWp`arqSs4SYWSkxlmxSpWWSptXS`tYy
          p4rWS4aYWfeWaY4`aT
            bfdSSiWSVcWYSm XWfSpcSWcXS
          i`aYSf`e4rWSYWS{WcYScarSVcWYS
          s`ii4YYWWSs4YSYs`SX`4WpS`ScS4pYS`S
          cSb4dSfpYSc4rSYfWcYiWaYSXcpWpScarSb44dS
          cXX4rWaYpSfW`fYWrSY`SmV{gqSs4XS
          pcS4aXtrWqSutYSa`YS4i4YWrSY`SYWS
          mV{gSwooS`hTSSVtXSfW`fYSs4SfW±WXYS
          YWSacYtfWS̀ SYWS4atfScarSYWS`XcY4`aS
          `SYWScXX4rWaYT
            bjdSSiWS{WcYScarSVcWYSs`iy
          i4YYWWSpcScYYWarScaatcS{WcYScarS
          VcWYSifc4a4ahS̀ StSY`SeWSbdSs`f4ahS
          rcpScpSchfWWrSY`SuSYWSkggSlaYWfacy
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          Y4`acSka4`aScarSYWSgehmvTSSiWS
          Yfc4a4ahSs4SuWSrWp4haWrSY`S4if`eWS
          {WcYScarSVcWYSa`sWrhWSp4pTS
          s`ii4YYWWSiWiuWfpScYYWar4ahScarScfy
          Y4X4cY4ahS4aSptXSYfc4a4ahSpcSuWSc4rS
          cYSYW4fSfWhtcfSfcYWS̀ ScS`fS`pYSs`fy
          4ahSY4iWSuSYWSgehmvS`fScYYWay
          rcaXWScYSYWSYfc4a4ahT
          A978FB9BA77@AAF7BvBqAG@7B6B
          GvA7}B8RQ7AR
            WaScSr4ptYWScf4pWpScYSYWSehgxiS
          4ae`e4ahS{WcYScarSVcWYqScaS4iiWy
          r4cYWqSWcfaWpYScarSp4aXWfWSW `fYSpcS
          uWSicrWSY`SfWp`eWSYWSicYYWfTSSlSYWS
          r4ptYWS4pSa`YSfWp`eWrSuSYWSi`WWS
          carS4pS4iiWr4cYWSptWfe4p`fqSa`fSs4YS
          YWScpp4pYcaXWS`SYWS{WcYScarSVcWYS
          s`ii4YYWWqSYWSr4ptYWSs4SuWScrtr4y
          XcYWrSYf`thSYWShf4WecaXWSf`XWrtfWT
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            bUdS i`WWpSpcSuWSptuWXYSY`S
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          A978FBGBAF878FBvBAF8687}
            VWa4`f4YS`Si`WWpSWi`WrS4aS
          YWSucfhc4a4ahSta4YSpcSuWSYWSiy
          `WWnpSi`pYSfWXWaYSrcYWS`S4fWScYSYWS
          ehgxiScrtpYWrS`fScaSfWe4`tpSWf4y
          `rS`Stauf`WaSpWa4`f4YSf`e4rWrSptXS
          pWa4`f4YSscpSa`YSYWfi4acYWrS4aScXX`fy
          rcaXWSs4YSpWXY4`aSbudSuW`sT
          A978FBHBuA68FG78FBvBAF8687}
            VWa4`f4YSpcSuWSYWfi4acYWrSt`aS
          YWSi`WWnpSYWfi4acY4`aS `fStpYS
          XctpW¥Se`taYcfSfWp4hacY4`a¥SYfcapWfSY`S
          cS`uS`tYp4rWSYWSucfhc4a4ahSta4YqSWd4y
          fcY4`aS`SfWXcSf4hYpScYWfSYWfi4acY4`aS
           `fScXS`Ss`f¥S`fSc4tfWSY`SfWYtfaS
          Y`Ss`fScpSpXWrtWrScYWfSX`iWY4`aS
          `ScSWceWS`ScupWaXWSchfWWrSY`SuSYWS
          ehgxiS`fSYWSc4tfWSY`SfWYtfaSY`Ss`fS
          cpSpXWrtWrTSi`WWpSs`SYfcapWfS
          Y`ScS`uS`tYp4rWS`SYWSucfhc4a4ahSta4YS
          s4S`pWSYW4fSpWa4`f4YScarS4aSYWSWeWaYS
          YWSWi`WWSfWYtfapSY`SYWSucfhc4a4ahS
          ta4YSs4SuWSYfWcYWrScpScSaWsSWi`WWTS
          i`WWpSs`Sc4SY`SfWYtfaSY`Ss`fS
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          cpSpXWrtWrScYWfSYWSX`iWY4`aS`ScS
          WceWS`ScupWaXWSaWXWpp4YcYWrSuScSr4py
          cu44YS`SYWSWi`WWSs4SuWSWaY4YWrS
          Y`SfW4apYcYWiWaYSY`ScaS̀WaS`p4Y4`aS`fS
          s4XSYWSWi`WWScpSYWSfWt4fWrS
          tc4XcY4`apScarSYWScu44YSY`SWf`fiS
          YWScec4cuWSs`fSfWhcfrWppS`Sp4YS
          carÙ̀fSWeWScarSYWSpWa4`f4YSYWSWiy
          `WWSfWXW4eWrSf4`fSY`SYWSWceWS̀ Scuy
          pWaXWSf`e4rWrSYWSWi`WWSfWYtfapSY`S
          s`fSs4Y4aS̀aWSbUdSWcfSf`iSYWSpXWry
          tWrSX`iWY4`aS̀ SYWSWceWS̀ ScupWaXWS
          carSptXXWpptSX`iWYWpScSfWyWiy
          `iWaYSfWt4fWiWaYpÙpXfWWa4ahpSbWdy
          Xtr4ahScaSsf4YYWaSWdci4acY4`aqSptXS
          cpSYWS`arWf4XSWdci4acY4`adT
          A978FB9B6HG78FG6}BA68BBBSS
            tf4ahSYWSfpYS`aWStarfWrSW4hYS
          bUfodSXcWarcfSrcpS`SWi`iWaYqScS
          aWsSi`WWS4fWrScYWfSYWS WXY4eWS
          cYWS`SY4pSghfWWiWaYSs4SuWSptuWXYS
          Y`SrWi`Y4`aqSYfcapWfqS̀fSYWfi4acY4`aSuS
          YWSehgxiScarSptXScXY4`aSpcSa`YS
          uWSptuWXYSY`SgfY4XWpSScarSlS`SY4pS
          ghfWWiWaYTS WXY4eWScatcfSUqSwoUtqS
          cYWfSa4aWYSbjodSrcpS`SX`aY4at`tpS
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          Wi`iWaYqScSaWsSi`WWSs4SuWS
          W4h4uWSY`ScfY4X4cYWS4aSYWSrWaWYpS
          `Ss`4XWSpWYS`fYS4aSgfY4XWSllqSVWXy
          Y4`aSbudTSSg YWfS̀aWStarfWrSW4hYSbUfodS
          rcpSf`ucY4`acfSWf4`rqSYWSi`y
          WWnpSpWa4`f4YSs4SuWSWpYcu4pWrS4aScXy
          X`frcaXWSs4YSYWSf`e4p4`apS`SVWXY4`aS
          bcdS̀ SY4pSgfY4XWTS
          A978FBBö8@@8FIB|G9GF98AR
            WaSecXcaX4WpS`XXtfqSYWSs4SuWS
          WrS4aSYWS``s4ahS̀frWf
            bUdSSi`Si`WWpStc4WrS`fSYWS
          `uqSWfSf`e4p4`apS`SYWS`uSr4rr4ahS
          carSe`pY4ahSef`XWrtfWTSSlScSUpYSp4YS`y
          p4Y4`aS4pSa`YSWrStfptcaYSY`SVWXY4`aS
          bdS`SY4pSgfY4XWqSYWaSYWSi`WfS
          s4S` WfSYWS`p4Y4`aSY`ScaSWi`WWS
          XtffWaYSWf`fi4ahSYcYSf4icfScpy
          p4haiWaYS̀aSW4YWfSYWSwarS̀fStfrSp4YpS
          YcYSr`WpSa`YSXtffWaYSceWSu4rSf4hYpTS
          lSYWSwarS̀fStfrSp4YSWi`WWScXXWYpS
          YWS`p4Y4`aS` WfWrS`aSYWSUpYSp4YqSWS
          pcSa`YSceWSu4rSf4hYpS`fSYsWaYy`tfS
          bwdSi`aYpS4aScXX`frcaXWSs4YSYWS`uS
          r4rr4ahScarSe`pY4ahSef`XWrtfWSbVWXY4`aS
          bdS̀ SY4pSgfY4XWdTSSlScShWeWSS`p4Y4`aS
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          fWic4apStaWrqS`fS4SYWfWS4pScSecXcaYS
          warS̀fStfrSp4YShWeWSS`p4Y4`aScpScSfWy
          ptYS`ScaSWi`WWSi`e4ahSY`SYWSUpYS
          p4YSuS`WfcY4`aS`SY4pSVYWqSYWaS
          YWSecXcaYS`p4Y4`aSs4SuWS`pYWrS`fS
          `aWSbUdSXXWqScarSYWfWcYWfSWrSuS
          aWsSc4XcaYpSs`Ss4SuWSYfc4aWrSY`S
          Wf`fiSYWSs`fS`SYWS`uSbcarSpc4rS
          aWsSc4XcaYSs4Sa`YSuWSWaY4YWrSY`S
          caSp4YSr4 WfWaY4cS`fScaSY4iWSpWaYS
          Yfc4a4ahS̀aSYWSUpYSV4YdT
            bwdSSi`SfWcp`acuScec4cuWS`fiWfS
          ucfhc4a4ahSta4YSi`WWpSc4rS` SrtWS
          Y`SfWrtXY4`aS̀ S`fXWScarS̀aScScaWScarS
          `ppWpp4ahSYWSaWXWppcfStc4XcY4`apS
          Y`SpYWS4aScarSWf`fiSYWSs`fS`SYWS
          `uScYSYWSY4iWSYWS`uS4pScscfrWrT
            btdSSi`SaWsStc4WrSc4XcaYpSY`S
          uWS4fWrScarSYfc4aWrSY`SpYWS4aScarSWfy
           `fiSYWSs`fS`SYWS`uTSSlaSYWSWeWaYS
          YWfWScfWSecXcaYShWeWStS`p4Y4`apS`aS
          YWSwarS`fStfrSp4YpqSYWSs`icaSicS
          4fWScarSYfc4aSaWsSc4XcaYpSY`SpYWS4aS
          carSWf`fiSYWSs`fS̀ SYWSecXcaYShWey
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          tXYpS`ScaSYWSXtffWaYSicatcXy
          YtfWrSWpWsWfWSY`SYWScX44YqSgcachWy
          iWaYSfWpWfeWpSYWSf4hYSY`SWficaWaYS
          S`upScpp`X4cYWrSs4YSY`pWSf`rtXYpS
          s4Y`tYSfWhcfrSY`SYWSf`e4p4`apS̀ SgfY4y
          XWSlSpWXY4`aSbrdqS~44ahScXcaX4WpqScarS
          ptXScXWiWaYpSs4Sa`YSuWSptuWXYSY`S
          YWSf4WecaXWSef`XWrtfWStarWfSgfY4XWS
          SpWXY4`aSbudTSSgaS`Wa4ahpSYcYS`XXtfS
          cYWfSYWSfpYSWcfS`Sf`rtXY4`aSs4S
          uWSWrS4aScXX`frcaXWSs4YSYWSf`e4y
          p4`apS`SgfY4XWSlqSpWXY4`aSbrdTStf4ahS
          YWSfpYSWcfS`Sf`rtXY4`aqSWi`WWpS
          cXWrStarWfSY4pSf`e4p4`aSb`YWfSYcaS
          Wi`WWpSYfcapWffWrSf`iS`YWfScy
          X44Y4WpSsWfWSYWSf`rtXYpSsWfWSfWe4y
          `tpSicatcXYtfWrdSs4SuWSptuWXYSY`S
          r4pcXWiWaYStarWfSgfY4XWSlqSpWXY4`aS
          bWdqSvWrtXY4`aSvWc4haiWaYSef`XWrtfWS
          f`e4rWrTSS{`sWeWfqSrtf4ahSYWSfpYSWcfS
          `Sf`rtXY4`aqSWi`WWpScXWrStarWfS
          Y4pSf`e4p4`aSs4Sa`YSuWSptuWXYSY`Sr4py
          cXWiWaYStarWfSgfY4XWSlqSpWXY4`aSbdqS
          YWSiWi`fcfSvWrtXY4`aSvWc4haiWaYS
          ef`XWrtfWTSi4pSpWXY4`aSr`WpSa`YScS
          Y`Sf`rtXYSrWp4haWrScarSrWeW`WrSY`S
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          uWSf`rtXWrScYSYWScX44YT
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            laSYWSWeWaYSYWSgehmvSrWYWfy
          i4aWpSYcYSYWfWS4pScaS¯WdXWpp°S`S`upS
          s4Y4aScS`uSX`rWS4aSYWSucfhc4a4ahS
          ta4YqSfWfWpWaYcY4eWpS`SYWSgehmy
          vSpcSa`Y4SYWSh`XcSka4`aScarSYWS
          cfY4WpSs4S``sSYWSf`XWppSX`eWfWrS
          s4Y4aSY4pSpWXY4`aTSlaScSXcpWpSsWfWS
          YWSs`fS`fXWS4pSY`SuWSfWrtXWrqSi`y
          WWpSs4YSYWShfWcYWpYSpWa4`f4YScYSYWS
          ehgxiSpcSuWSfWYc4aWrSf`e4rWrSYcYS
          YWSceWSYWSfWt4fWrStc4XcY4`apS
          bcpSs`trSa`ficSuWS`pYWrdScarSYWS
          cu44YSY`SWf`fiSYWScec4cuWSs`fTSlS
          cYScaSY4iWSYWfWS4pScaSWdXWppSs4Y4aScS
          Yfc4a4ahSf`hfWpp4`aqSY`pWSi`WWpS
          4aSWeWSotS`SYWSYfc4a4ahSf`hfWpp4`aS
          s4SuWScrrWrSY`SYWSWdXWppS4pYScarSiy
          `WWpS`aSYWi`fcfScpp4haiWaYpSs4S
          uWSfWYtfaWrSY`SYW4fSf4icfScpp4hay
          iWaYpS`fStf`pWpS`SfWhfWpp4`aTSWaS
          caSWdXWppS`XXtfpS4aSa`ficSf`hfWpp4`aS
          `p4Y4`apqSYWSWcpYSpWa4`fSWfp`aS4aS
          YWSf`hfWpp4`aSs4SuWSWdXWppWrTSef4y
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          `fSY`ScaSWdXWppSf`XWppqScS`WaS`upS
          s4SuWS`pYWrS`aWSXXWTSi`WWpS
          X`ap4rWfWrSWdXWppSs4SuWSh4eWaSYsWaYS
           `tfSbwdS`tfSbWdXtr4ahSfWX`ha4¤WrS
          {`4rcpScarSsWWWarpdSsf4YYWaSa`Y4XWS
          f4`fSY`S`pY4ahqS4SYWSutp4aWppSX`ar4y
          Y4`apS4ar4XcYWSYcYSYWSWdXWppSX`ar4Y4`aS
          X`trSfWeWfpWSs4Y4aSYWSaWdYSp4dSbdS
          i`aYpqSs4XSicSc`sSp`iWS`fScS`S
          YWS`WfcY`fpSY`SfWYtfaSY`SYW4fSf4icy
          fScpp4haiWaYqSicachWiWaYSicScXWS
          YWShf`tS`SWi`WWpS`aSiWi`fcfS
          gpp4haiWaYpSrtf4ahSYcYSWf4`rTSSgSWdy
          XWppWrSWi`WWpSs4SuWSp4YSfWc4haWrS
          Y`SrcpScYSYWSY4iWSYWSWdXWppSa`Y4XWS4pS
          h4eWaS``s4ahSYWSf`e4p4`apS̀ SgfY4XWS
          lllqSVWXY4`aSbudTSdXWppSa`Y4XcY4`apSs4S
          `aSuWSh4eWaS`aSYWSfpYSs`f4ahSrcS
          `SYWSXcWarcfSsWWStaWppScf`eWrS
          uSYWSecaYSgcachWfSs4YSchfWWiWaYS
           f`iSYWSka4`aSm XWfpTS4YSWdXWY4`aS
          `SiWfhWaXScXcY4`aqSa`SecXcY4`aSs4S
          uWSctY`f4¤WrSrtf4ahSYWSWdXWppSf`XWppS
           `fSc WXYWrSWi`WWpTSSvWc4haiWaYpS
          `fSfWrtXY4`apS`SYWSs`fS`fXWSpcSuWS
          4aScXX`frcaXWSs4YSYWS``s4ahSht4rWy
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            bUdSSmaXWSWdXWppScpp4haiWaYpScfWS
          rWYWfi4aWrqS4SYWSi`WWpS4aSY`pWS
          cpp4haiWaYpScfWSa`YSYWS`sWpYSpWa4`fS
          i`WWpqSYWSs4SfWcXWSYWS`sWpYS
          pWa4`fSi`WWpSs4Y4aSYWSWcfYy
          iWaYqSWeWqS`uSX`rWScarSp4YT
            bwdSSdXWppWrSWi`WWpSs4SuWSh4ey
          WaSYWS̀Y4`aSY`SpWWXYS̀aWSbUdS̀ SYWS`y
          `s4ahS̀Y4`apqSuSpWa4`f4Y
                bgdSgXXWYScaS`WaS`p4Y4`aS4aS
                caSWt4ecWaYS`fS`sWfScSWeWS
                carSfWYc4aSXtffWaYSu4rSf4hYpScarS
                fWYc4aSfWWfWaY4cSYfWcYiWaYTS
                brdSgXXWYScaS`WaS`p4Y4`aS4aScS
                4hWfScSWeWSf`e4rWrSYWSWiy
                `WWScpSYWSfWt4fWrStc4Xcy
                Y4`apScarSYWScu44YSY`SWf`fiS
                YWScec4cuWSs`fTSSlSY4pS`Y4`aS
                4pSWWXYWrqS4YSpcSuWSYfWcYWrScpScS
                `uSu4rScarSYWSi`WWSs4Sa`YS
                uWSW4h4uWSY`Su4rS`fSYsWaYS`tfS
                bwdSXcWarcfSi`aYpScarSs4Sa`YS
                fWXW4eWSfWWfWaY4cSYfWcYiWaYSY`S
                fWYtfaSucXSY`SYWSf4icfScpp4hay
                iWaYSYcYSYWSi`WWSscpSWdy
                XWppWrSf`iTSS
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                bsdSrtiSYWS`sWpYSpWa4`f4YSWfy
                p`aS4aSYWSehgxiS4aSYWSpciWScS
                WeWScarSp4YTS
                bdSlSi`WWbpdSXcaa`YSfWy
                pWfeWScSWeWScarSp4Y
                    b4dS rtiSYWS`sWpYSpWa4`fy
                    4YSWfp`aS4aSYWSehgxiS`aS
                    YW4fSf4icfScpp4haiWaYSfWy
                    hcfrWppS̀ Sp4YTS
            btdSSWaSi`WWbpdSceWSa`S`y
          Y4`apS4aSYW4fScSWeWqSYWSs4Srf`S
          `aWSbUdScSWeWScYScSY4iWStaY4SYW4fSpWy
          a4`f4YSWaY4YWpSYWiSY`SutiSYWS`sWpYS
          pWa4`f4YSWfp`aS4aSYWSecaYS4aSYWScS
          WeWS`aSYW4fSp4YTSSlSYW4fSpWa4`f4YS4pS
          4aptX4WaYSY`SutiSca`YWfSWi`WWqS
          YWaSYWSWi`WWSpcSuWScXWrS`aS
          YWSecaWStfptcaYSY`SVWXY4`aSbhdS̀ SY4pS
          gfY4XWTS
            bdSSr4rr4ahSfWpYf4XY4`apSs4SuWSfWy
          i`eWrS`fSWdXWppWrSi`WWpS`aTSlS
          caSWdXWppWrSWi`WWS4pSptXXWpptS4aS
          u4rr4ahSYWSs4SfWXW4eWSu4rSf4hYpScy
          YWfSYsWeWSbUwdSi`aYpScarSfWYc4aSfWy
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          WfWaY4cSYfWcYiWaYT
            bdSSlaScSuti4ahSp4YtcY4`aS4Sp4YS
          carSWeWScfWSfWpWfeWrqSYWSi`y
          WWSs4Sa`YSceWSu4rSf4hYpSfWpY`fWrS`fS
          YsWeWSbUwi`aYpS``s4ahSYWSrcYWScaS
          WdXWppS̀ Wf4ahSscpScscfrWrT
            bdSS~`fStf`pWpS`SfWhfWpp4`aqScS
          i`WWpSs4Y4aSX`rWSwSbWcfYy
          iWaYSVWX4c4pYdSs4SfWYtfaSY`SX`rWSUS
          bgcX4aWSh4aWSmWfcY`fdScarScSiy
          `WWpSs4Y4aSX`rWSSÝShWeWSSbVtuS
          gppWiuSVWX4c4pYdSs4SfWYtfaSY`SX`rWS
          SÝShWeWStSbVtuSgppWiudT
            bfdSSi`WWpSYfcapWff4ahS`fScaS
          fWcp`aSuWYsWWaSf`rtXY4`aScarSpty
          `fYSrWcfYiWaYpSs4SfWXW4eWSYWSpWXy
          `arSpYWS`SYWScSWeWScarSs4Sf`hy
          fWppSrWWar4ahS`aSWf`ficaXWTSSlSYWS
          i`WWSWYSYWSpt`fYSrWcfYiWaYS
          s4Y4aSYsWaYy`tfSbwdSi`aYpScarScYS
          YWSY`S̀ SYWSfcYWS̀ ScqSYWSi`WWS
          s4SfWYtfaSY`SYWSpt`fYSrWcfYiWaYScYS
          YWSY`SfcYWS̀ SYWS`uT
            bjdSStf4ahScaSWdXWppSfWptY4ahS4aScS
          c` qSYWS`taYWWfShWceWS`SgupWaXWS
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          bmhgdSf`XWrtfWSs4SuWS``sWrScpS
          WfSXtffWaYSfcXY4XWT
            VWXY4`aSbdSiWi`fcfSvWrtXY4`aSvWy
          c4haiWaYSef`XWrtfWS
            laSXcpWpSsWfWSYWSi`WfSrWYWfy
          i4aWpSYcYS4YS4pSaWXWppcfSY`SYWi`fcfy
          4SXWcpWS`fSfWrtXWSf`rtXY4`aS4aSXWfy
          Yc4aSs`fSXWaYWfpS`fShf`tpS`SXWaYWfpS
          ptXSYcYSYWfWS4pScS̄YWi`fcfSWdXWpp°S
          `S`upSs4Y4aScScfY4XtcfScfWcSicachy
          WfnpScfWcSa`YSY`SWdXWWrS`tfSbdSXcWarcfS
          sWWpqSfWfWpWaYcY4eWpS`SYWSi`y
          WfSpcSa`Y4SYWSh`XcSka4`aScarSYWS
          cfY4WpSs4S``sSYWSf`XWppSrWYc4WrS
          4aSgWar4dS̄°TSS
          A978FBIBGFA@
            i`WWpSs4YSpWa4`f4YSs`ScfWSc4rS
          ` SuWXctpWS`ScSfWrtXY4`aS4aSYWSs`fS
           `fXWSpcSuWScXWrS`aScScaWSf`iS
          s4XSYWSpcSuWSfWYtfaWrSY`SWi`y
          iWaYS`aSYWSucp4pS`SpWa4`f4YScpS`tYy
          4aWrS4aSVWXY4`apSbrdbwdScarSbdS`SY4pS
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            gSrWp4hacYWrSfWfWpWaYcY4eWS`SYWS
          gehmvScarSYWSvWX`fr4ahSVWXy
          fWYcfS`SYWSh`XcSka4`aSpcSfWYc4aS
          caWSfWX`frpTSlYSpcSuWSYWS`u4hcY4`aS
          `Sc4rS` Si`WWpqSs4YSpWa4`f4YqS
          Y`SWWSYWSXtpY`r4capS`SYWScaWS4ay
           `fiWrS`ScaSXcahWS`ScrrfWppScarÙ̀fS
          `aWSatiuWfSsWfWSYWSicSuWSfWhty
          cfSfWcXWrTSx`Y4XWSY`SYWScpYSa`saS
          crrfWppS̀ SYWSc4rỳ Si`WWSuSXWfy
          Y4WrSic4SpcSuWSptX4WaYSa`Y4XWS`S
          fWXcTSiWSi`WWSp`Sa`Y4WrSicS
          W4YWfScXXWYS`fSfWWXYSYWS`uSs4XS4pS
          cec4cuW¥SutYS4SYWSi`WWSfWWXYpScS
          `uSs4XSWScpSYWScu44YSY`SWf`fiqS
          `fSc4pSY`SfWp`arSs4Y4aSeWSbdSs`fy
          4ahSrcpScYWfSfWXW4YS`SptXSa`Y4XWqS`fS
          cXXWYpSutYSc4pSY`SfW`fYS`fSs`fS4aS
          cSfWcp`acuWSci`taYS`SY4iWqS4pSaciWS
          pcSuWSfWi`eWrSf`iSYWScaWScarSWS
          pcSpcXf4XWS4pSpWa4`f4YSf4hYpScYSYWS
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            i`WWpSs`ScfWScXWrS̀aSYWScay
          WSpcSfWYc4aSYWSpWa4`f4YSWcfaWrSf4`fS
          Y`SYW4fSc` qScarqS4aS`frWfSY`Sf`YWXYS
          YW4fSfWcY4eWSpWa4`f4YSpYcar4ahqSs4S
          X`aY4atWSY`ScXXftWSpWa4`f4YSs4WS`aS
          YWScaWT
          A978FBB8I7B7BHABA9G@@A
            bUdSSi`WWpqSs4YSpWa4`f4YqSc4rS
          ` S`fScXS`Ss`fSpcSfWYc4aSYW4fS
          pWa4`f4YS`fSeWSbdSWcfpTSi`WWpS
          c4rỳ S`fScXS`Ss`fSicSWdWfX4pWS
          YW4fSpWa4`f4YS4aScXX`frcaXWSs4YSYWS
          f`e4p4`apS̀ SY4pSgfY4XWT
            bwdSSgaSWfp`aS`aSYWScaWS4pYS
          s`SpWXtfWpS`YWfSWi`iWaYSrtf4ahS
          YWSWf4`rSsWaSa`Ss`fS4pScec4cuWS
           `fS4iScYSYWSehgxiSpcS4aSa`SscS
          W`cfr4¤WS4pSpWa4`f4YSf4hYpSs4WSWay
          hchWrS4aSptXS`YWfSWi`iWaYTS{`sy
          WeWfqScaSWfp`aS`aSYWScaWS4pYSs`S
          pWXtfWpS̀YWfSWi`iWaYScarSr`WpSa`YS
          fWYtfaSY`Ss`fSsWaSYWfWS4pScec4cuWS
          Wi`iWaYScYSYWSehgxiqSpcSpcXf4y
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          XWS4pSpWa4`f4YSf4hYpScYSYWSehgxiS
          carSpcSceWS4pSaciWSfWi`eWrSf`iS
          YWScaWS4pYT
          A978FBBA9G@@BvBA6RFRBFBG}vvB
          7G7QR
            WaScS`uScYSYWSehgxiSWd4pYpSYcYS
          4pSa`YSWrSuSi`WWpSs4Y4aSYWScXy
          Y4eWSs`f4ahS`fXWqSYWScaWSXtpY`r4capS
          s4SfWe4WsSYWS4pYScarSYWSgehmvS
          pcSfWXcSYWScf`f4cYWSWfp`aSf`iS
          YWScaWS4pYSY`SYWS`uSY`SuWSWrT
          A978FB@BHB88FIBGFBR78FIB6D
          9AQ6A
            bUdS 4h4u44YSXtffWaYSi`WWpS
          s4YS̀aWSWcfSbcarS`fSi`WWpS4fWrS
          cYWfSYWS WXY4eWScYWS`SY4pSghfWWy
          iWaYqSYs`SbwdSWcfpdS`fSi`fWS`SpWfe4XWS
          s4SuWSW4h4uWSY`Su4rS`WaS`upStaWppS
          YWSWi`WWS4pSa`YScec4cuWSY`SfWYtfaS
          Y`Ss`fSs4Y4aStoSs`fSrcpSf`iSY4iWS
          `Su4rTSgS`WaS`upSs4SuWS`pYWrScYS
          YWScf`f4cYWScSWeWS`fSYWS`uSY4y
          YWScpS4pYWrS4aSgWar4dSrTSiWSpWa4`fS
          i`WWqSci`ahSY`pWSW4h4uWSu4rrWfpqS
          s4YSYWSfWt4fWrS`pYWrStc4XcY4`apS
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          carScu44YSY`SWf`fiSYWS`uSs4SuWS
          cscfrWrSYWS`uTSlScaSWdXWppSp4YtcY4`aS
          Wd4pYpqScSa`aSf`ucY4`acSWi`WWSs4S
          uWSc`sWrSY`Su4rTSlScSa`aSf`ucY4`acS
          Wi`WWScpSuWWaSp4YSfWc4haWrqSYWS
          s4SuWScuWSY`Su4rS`fSp4YT
            bwdSS`uSef`hfWpp4`apSgS`WaS`upS
          s4SuWS`pYWrScYSYWSWeWS`SYWS`Way
          4ahTSlSYWfWS4pSa`SptXXWpptSu4rrWfSs`S
          iWWYpSfWt4fWiWaYpSpY4tcYWrqScSYfc4ay
          4ahSu4rSbsWaScf`f4cYWdSs4SYWaS
          uWS` WfWrScYSYWSYfc4a4ahSu4rSWeWSbYWS
          Yfc4a4ahSu4rSWeWS4pS`aWSpYWSuW`sSYWS
          a`ficSWaYfSWeWS`fSYWS`p4Y4`adTSlaS
          YWSWeWaYS`ScSYfc4a4ahSu4rqSp`iWSi4ay
          4icSWpYcu4pWrSfWt4fWiWaYpSs4SuWS
          aWXWppcfSY`SSYWS`Wa4ahTSiWSptXy
          XWpptSu4rrWfS̀ ScSYfc4a4ahSu4rSs4SYWaS
          YcWSYWSfWp`ap4u44YSY`ShWYSWrtXcY4`aqS
          WYXTScarSrWi`apYfcYWS4if`eWiWaYS4aS
          `frWfSY`Sf`hfWppT
            btdSSe`pY4ahSef`XWrtfWSmWaS`upS
          s4SuWS`pYWrSehgxiSs4rWS`fSYfWWSbtdS
          s`f4ahSrcpTSmWaS`upSs4Y4aScSf`y
          hfWpp4`aSs4SuWSWrSuStc4WrSW`y
          WS4aSYWSf`hfWpp4`aSf4`fSY`S`pY4ahTS
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               aWWrWr
            SrWhfWWSfWt4fWrTSSlScSrWhfWWS4pSfWy
               t4fWrqSWt4ecWaYSWdWf4WaXWSbcpS
               rWYWfi4aWrSuSYWSi`WfdSicS
               uWSrWWiWrSpcY4pcXY`fSY`SpcY4pS
               Y4pSXf4YWf4cT
          bdSr4rr4ahSef`XWrtfW
                bgdSmWaS`upqSa`YSWrSuSa`fy
                icSf`hfWpp4`apqSs4SuWS`pYWrS
                ehgxiSs4rWTSSgaSi`WWS4ay
                YWfWpYWrS4aSYWS`p4Y4`aSitpYSu4rS
                rtf4ahSYWS`pY4ahSWf4`rTSV4WrS
                `upSs4SuWScscfrWrSuSpWa4`f4YS
                 ``s4ahSptXXWpptS4aYWfe4WspS
                carSrWi`apYfcY4`apS`Sp4pSbcpS
                rWYWfi4aWrSuSYWSi`WfdScarS
                cu44Y4WpTS4YSYWSWdXWY4`aS`S
                p4WrS`upqSa`S`uSs4SuWSfW`pYy
                WrSsc4e4ahSfWpYf4XY4`apTSV4WrS
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                `upSicSuWSfW`pYWrSY`Sf`e4rWS
                 `fSYfc4a4ahSu4rpSsWaScf`f4y
                cYWTSifc4a4ahSu4rpSs4SuWScscfry
                WrSuSpWa4`f4YSt`aSptXXWpptS
                rWi`apYfcY4`apS̀ Scu44Y4WpScarS4ay
                YWfe4WspTSgaSi`WWSfWpYf4XYy
                WrSf`iSu4rr4ahS`YWfs4pWSpcS
                uWSc`sWrSY`Su4rS`aSYfc4a4ahSu4rS
                `p4Y4`apTSmaXWSYWS`pY4ahScpS
                uWWaSfWi`eWrSf`iSYWSu`cfrpSYWS
                `uS`pYWrSXcaa`YSuWSs4YrfcsaS
                s4Y`tYSchfWWiWaYSuWYsWWaSYWS
                kxlmxScarSYWSgehmvT
                iWciÙhf`tÙ4aWSWcrWfpSicSuWS
                cscfrWrScYSYWSi`WfnpSr4pXfWy
                Y4`aTSSiWSi`WfSicSX`ap4rWfS
                WdYWfacSXcar4rcYWpS`fSpc4rS`p4y
                Y4`apT
                brdSVtXXWpptSu4rrWfpSs4SuWSa`y
                Y4WrS4aSsf4Y4ahTSSlSYWSi`y
                WWS4pSYWSpWa4`fStc4WrSu4rrWfqS
                iWWYpStc4XcY4`aScarSiWr4XcS
                fWt4fWiWaYpSY`Si`fWSYcaS`aWS
                `uScYScSh4eWaSY4iWqSYWSi`WWS
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                  WXYSs4XSu4rSY`ScXXWYTSlScaSWiy
                  `WWSWWXYpSY`Su4rS`aScS`p4Y4`aqS
                  cSptXXWpptSu4rrWfSs4Sa`YSceWS
                  YWS`Y4`aS`SfWWXY4ahScSptXXWppy
                   tSu4rTSSlaSYWSWeWaYScaSWi`WWS
                  u4rpS`aSitY4WS`p4Y4`apqSWS4pS
                  fWt4fWrSY`ScXXWYS̀aWS̀ SYWS`p4y
                  Y4`apS`fSs4XSWS4pSYWSptXXWpptS
                  u4rrWfT
                  bsdSVtXXWpptSu4rrWfpScYWfSYWS
                   WXY4eWScYWS`SY4pSghfWWiWaYS
                  s4SuWSi`eWrSY`SYWSaWsScpp4hay
                  iWaYSs4Y4aSY4fYSbtodSXcWarcfS
                  rcpS``s4ahSYWScscfrS`SYWS
                  u4rScarSYWScXXWYcaXWS`SYWS
                  u4rSuSYWSWi`WWqStaWppScaS
                  WdYWap4`aS`SY4iWS4pSchfWWrSt`aS
                  uSu`YScfY4WpTSlSYWSaWsS`uS4ay
                  e`eWpSYfcapWff4ahSY`ScS4hWfSWey
                  WS̀ ScqScarScaSWdYWap4`aSuW`arS
                  Y4fYSbtodSXcWarcfSrcpS4pSfWy
                  t4fWrqSYWSi`WWSs4SfWXW4eWS
                  YWS4hWfSWeWS̀ ScqScYS̀aWSpYWS
                  cu`eWSXf`pp`eWfqSuWh4aa4ahS`aSYWS
                  Y4fYyfpYSbtUpYdSrcTS
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                rWfS4pSa`YSi`eWrSY`SYWSaWsScpp4hay
                iWaYSs4Y4aSYWSc`fWyiWaY4`aWrS
                Y4iWSWf4`rpqSYWSWi`WWnpSYWaS
                XtffWaYSmWfcY4`apSgcachWfqS`fS
                4pSrWp4haWWqSpcSf`e4rWSYWS
                ptXXWpptSu4rrWfScarSYWSka4`aS
                s4YScSi`eWSrcYWS4aSsf4Y4ahSs4Yy
                4aSY4fYSbtodScrr4Y4`acSXcWarcfS
                rcpqStaWppScaSWdYWap4`aS`SY4iWS
                4pSchfWWrSt`aSuSu`YScfY4WpT
                i`WWpSYfcapWff4ahqS`fScaS
                fWcp`aqSuWYsWWaSef`rtXY4`aScarS
                Vt`fYSWcfYiWaYpSs4SfWXW4eWS
                YWSpWX`arSpYWS`SYWScSWeWS
                carSs4Sf`hfWppSrWWar4ahS`aS
                Wf`ficaXWT
                bdSefWWfWaY4cSYfWcYiWaYSpcS
                uWScscfrWrSY`Si`WWpSs`S
                sWfWS¯WdXWppWr°Sf`iScS`uSucXS
                Y`SYWSpciWSf4icfScpp4hay
                iWaYSWÙpWSscpS¯WdXWppWr°S`fS
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                i`aYpSf`iSYWSrcYWS`SYWS¯Wdy
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                a`YSptXXWpptSu4rSY`Sca`YWfS`uS
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                  bdSlSYWfWScfWSa`Stc4WrSu4ry
                  rWfpSb4aXtr4ahSi`WWpSWaY4y
                  YWrSY`SfWWfWaY4cSYfWcYiWaYdS`fS
                  `YWfSucfhc4a4ahSta4YSWfp`aaWS4aS
                  aWWrS`ScSWficaWaYScpp4haiWaYS
                  `fSYWS`p4Y4`aS4pSa`YS`YWfs4pWS
                  WrStfptcaYSY`SVWXY4`aSbrdbUdS̀ S
                  Y4pSgfY4XWqSYWS`uSicSuWSWrS
                  uS`pY4ahScSYfc4a4ahSu4rSb4Scy
                  4XcuWdS`fSuScStc4WrSWfp`aS
                   f`iSYWSc` ScaWTSlSYWfWScfWS
                  a`Stc4WrSWfp`apS`aSYWScaWS
                  4pYqSYWS`uSicSuWSWrSuS4f4ahS
                  cSaWsSi`WWT
                  b~dSi`WWpSs4SuWSfWpYf4XYWrS
                  Y`S̀aWSbUdSu4rSWfSwSi`aYSWf4`rS
                  Yf`th`tYSYWSYWfiS̀ SY4pSghfWWy
                  iWaYT
                  bdSifc4a4ahS`Si`WWpSpcS
                  YcWScXWS`aSYW4fSa`ficSp4YqS
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                cuScec4cuWS̀aSYcYSp4YT
          bdSifc4a4ahSgf`f4cYWSYfc4a4ahSWy
          f4`rpS`fSptXXWpptSu4rrWfpqSWdXWppWrS
          cXWiWaYpqSaWsS4fWpqScarScS`YWfS
          YfcapWfpSp`trSa`YSWdXWWrSYWS``sy
          4ah
             SifWWSbtdSsWWpS`fSWeWSYfWWSbtdS
               `upT
             ShWeWS`tfSbdqSWeWSeWSbdScarSWey
               WSp4dSbdS`upSs4Sc`sS`fSfWcp`ay
               cuWSci`taYpS`SYfc4a4ahScf`f4y
               cYWS`fSYWSpWX4XScpp4haiWaYT
             Sifc4a4ahSY4iWS`fS`uSi`eWpSs4SuWS
               rWYWfi4aWrSuSicachWiWaYSucpWrS
               `aSYWSX`iWd4YS`SYWScpp4hay
               iWaYScarSYWSYfc4a4ahSfWt4fWrSY`S
               `WfcYWSYWS`uSpcWT
            i`WWpSs`ScfWStacuWSY`SpcY4py
           cXY`f4SWf`fiS`upScYWfSYWScf`y
          f4cYWSci`taYS`SYfc4a4ahSs4qScYSYWS
          r4pXfWY4`aS`SicachWiWaYqSuWSrWXcfWrS
          a`ayWf`fiWfpScarSs4SuWScXWrScXy
          X`fr4ahSY`SYWSx`ayeWf`ficaXWSpWXY4`aS
          `SY4pSghfWWiWaYT
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          a`YSXccuWS`SWf`fi4ahScSYWSfWy
          t4fWiWaYpScarSrtY4WpS`ScS`uqSs4SuWS
          cXWrSuSYWSi`iWaYSm XWSY`ScaS
          `WaS`uTSgaSWi`WWSs4SuWS` WfWrS
          YWS``fYta4YSY`SceWScSka4`aSfWfWy
          pWaYcY4eWSfWpWaYSrtf4ahSY4pSf`XWppTS
          i4pSf`XWrtfWSs4SuWScec4cuWSYs`SbwdS
          Y4iWpSWfSc WXYWrSi`WWSrtf4ahSYWS
          rtfcY4`aS`SY4pSghfWWiWaYSt`aSYWS
          Y4frSY4iWSYWSWi`WWS4pSa`YSXccuWS
          `SWf`fi4ahScSYWSfWt4fWiWaYpScarS
          rtY4WpS̀ ScS`uqSYWSWi`WWSs4SuWSr4py
          XcfhWrT
            bdSgWr4XcSecXWiWaYSef`XWrtfWS
          i`WWpSs4YSWficaWaYSiWr4XcS4iy
          c4fiWaYpSs4SuWScXWrS`aS`upSuWpYS
          pt4YWrS`fSYW4fSWficaWaYSs`fSfWpYf4Xy
          Y4`apScarSs4XScfWSWtcSY`S̀fSWppSYcaS
          YW4fSWd4pY4ahSfcYWS`ScS4aScXX`frcaXWS
          s4YSYWS``s4ahSf`XWrtfW
                bgdSeWficaWaYSiWr4XcS4ic4fy
                iWaYScarSs`fSfWpYf4XY4`apSs4S
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                s4YSYWSgWr4XcSWcfYiWaYT

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                aWaYSiWr4XcS4ic4fiWaYSs4SuWS
                cXWrS4aSYWSfpYS`uS`fSs4XS
                YWSceWSYWSfWt4fWrSp4ScarS
                s4XSiWWYpSYW4fSs`fSfWpYf4XY4`aS
                 ``s4ahSYWSpWtWaXWS`tY4aWrS
                4aSgfY4XWSlqSVWXY4`aSbWd
                bwdSSgSka4`aSfWfWpWaYcY4eWSs4S
                uWSfWpWaYSrtf4ahSYWSf`XWppS`S
                rWYWfi4a4ahScXWiWaYSs4YSYWS
                i`WWSvWcY4`apSm XWT
                i`WWpSr4pcXWrSuSY4pSf`y
                XWppSs4Scp`SuWScarWrS4aScXX`fy
                rcaXWSs4YSYWSpciWSf`e4p4`apScpS
                `tY4aWrS4aSgfY4XWSlqSVWXY4`aSbWd
                bwdT
                bsdSi4pSf`XWrtfWSr`WpSa`YScS
                Y`Si`WWpSs`ScfWSYWi`fcf4S
                4ic4fWrT
                bdSmaXWSWi`WrqScaSi`WWS
                Xcaa`YSuWSYWfi4acYWrS`fSfWtpWrS
                fWXcSf`iSYWScaWS`fSiWr4XcS
                fWcp`apS̀eWfS4pS̀uWXY4`aSs4Y`tYS
                YWSX`aXtffWaXWS̀ ScSic`f4YS̀ ScS
                hf`tSX`i`pWrS`ScaSgehmy
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                 `WWycf`eWrSp4X4caqScarS
                 cSaWtYfcStc4WrSY4frScfYSb4S
                 aWXWppcfdqSYcYSYWfWS4pScSWficy
                 aWaYSiWr4XcSX`ar4Y4`aS̀fSp4XcS
                 fWpYf4XY4`aSs4XSfWeWaYpSYWSiy
                 `WWSf`iSWf`fi4ahScaSWpYcuy
                 4pWrS`uqSs4Y4aSYWSucfhc4a4ahS
                 ta4YqSs4XSYW4fSpWa4`f4YSs`trS
                 WaY4YWSYWiSY`S`rTScXScfYS
                 pcSuWcfSYWSX`pYS̀ SWdci4acY4`aS
                 uSYWSp4X4caS4YSrWp4hacYWpScarS
                 pcSpcfWSWtcSYWSX`pYS`SWdy
                 ci4acY4`aSuSYWStc4WrSY4frS
                 cfYTSWfWSYWSgehmvS
                 XcWahWpSYWSp4XcScu44YS`S
                 caSi`WWS`fScaWSiWiuWfSY`S
                 Wf`fiS4pSfWhtcfSs`fScarS4pS
                 ptupWtWaYSf`eWaSsf`ahqSYWS
                 i`WWSpcSuWSX`iWapcYWrS
                  `fSY4iWS`pYSrtWSY`SYWSgehmy
                 vnpSXcWahWT
          A978FBBuA6G6}B5RR8IFAF7R
            lYS4pStarWfpY``rSYcYSY`SiWWYSf`rtXy
          Y4`aSaWWrpSWi`WWpSicSuWSi`eWrSY`S
          `YWfScpp4haiWaYpSs4Y4aSYW4fSVtWfe4y
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          p`fnpSrWcfYiWaYbpdT
            gSf4icfScpp4haiWaYpS4aScSVtWfy
          e4p`fnpSrWcfYiWaYbpdSicSa`YSceWStS
          Y4iWSWi`WWbpdScpp4haWrTSSgpp4hay
          iWaYpSfWt4f4ahSWppSYcaScStSY4iWS
          Wi`WWSWeWfSrcS`fS4pSa`YS`WfcYWrS
          `aScStSY4iWSucp4pSs4SuWSX`eWfWrSuS
          YWS±Wd4u44YS`SYWSWi`WWpS4aSYWS
          VtWfe4p`fnpSrWcfYiWaYbpdT
            grr4Y4`acS±Wd4u44YS4aSYWSVtWfe4y
          p`fnpSrWcfYiWaYbpdSs4SuWStpWrSY`SX`ey
          WfS`fScupWaXWpqSp`fYSYWfiSu`YYWaWXpqS
          p`fYSYWfiS±tXYtcY4`apS4aSYWSpXWrtWS
          carSucXS4ahS`fSXf`ppSYfc4a4ahTSSSiWS
          cfY4WpSfWX`ha4¤WSYcYSYWfWScfWS4apYcaXy
          WpSsWfWSptXScpp4haiWaYpScfWSaWXWpy
          pcfqScarSchfWWSYcYSYWi`fcfScpp4hay
          iWaYpSicSuWSicrWStarWfSYWS``s4ahS
          ht4rW4aWp
            maS4SYWSfWcpp4haiWaYS4pS`tYp4rWS
          YWSVtWfe4p`fnpSrWcfYiWaYbpdSs4S4YS
          uWSX`ap4rWfWrScSYWi`fcfScpp4haiWaYT
            bUdSSiWSYWi`fcfScpp4ha4ahS`ScaS
          4ar4e4rtcSWi`WWSpcSa`YSWdXWWrS
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          `aS̀eWfY4iWS̀aSsWWrcpdS4aScSf`4ahSUwS
          i`aYSWf4`rScYWfSYWS WXY4eWScYWS
          `SY4pSghfWWiWaYTSS
            bwdSSi`WWpS4ahSYWi`fcfScpy
          p4haiWaYpSpcSuWSX`iWapcYWrScYSYWS
          4hWfS`SYWSYs`SfcYWpS4ae`eWrSbYWS
          fWhtcfSfcYWS̀ S4pSa`ficS`uS̀fSYWSfWhy
          tcfSfcYWS̀ S4pSYWi`fcfScpp4haiWaYdT
            btdSSgSfWhtcfStSY4iWS`uS`Way
          4ahpSYcYScfWSrWYWfi4aWrSY`SuWShfWcYWfS
          YcaSp4dSbdSi`aYpS4aSrtfcY4`aSs4SuWS
          `pYWrScXX`fr4ahSY`SYWSf`e4p4`apS`S
          YWS`uSr4rr4ahScarSe`pY4ahSef`XWrtfWS
          taWppSitYtcSchfWWrSY`SuSYWSgy
          ehmvScarSYWSkxlmxT
            bdSSsVlqSY4iWSXcfrpS`fSYW4fSfWy
          cXWiWaYSs4SuWSYWS`X4cSfWX`frS
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          fcfScpp4haiWaYpTSi`WWpSs4SuWS
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          fcfScpp4haiWaYSe4cSsVlqSY4iWSXcfrpS̀fS
          YW4fSfWcXWiWaYTSSiWSf4WecaXWSs`iy
          i4YYWWSsc4ficaSs4SceWScXXWppSY`SY4pS
          4a`ficY4`aT
            bdS laSYWSWeWaYSYcYSbddScaSi`y
          WWSXcaa`YSuWScpp4haWrSY`ScSYWi`fcfScpy
          p4haiWaYSbuS̀WfcY4`aS̀ SY4pSgfY4XWSlS
          VWXY4`aSbidbUddqSbdSYWfWS4pSa`Scec4cuWS
          s`fS4aSYWSVtWfe4p`fnpSrWcfYiWaYS`fS
          s4XSYWSWi`WWS4pStc4WrqScarSb¤dS
          YWSWi`WWSrWX4aWpSY`Se`taYcf4ScXy
          XWYScaSYWi`fcfScpp4haiWaYS` WfWrS
          YWSWi`WWqSYWaSYWSi`WfSicS
          rWXcfWScaSWdXWppS`fStf`pWpS`SgfY4y
          XWSlSVWXY4`aSbWdSbvWrtXY4`aSvWc4hay
          iWaYSef`XWrtfWdS`fScSYWi`fcfSWdXWppS
           `fStf`pWpS`SgfY4XWSlSVWXY4`aSbdS
          biWi`fcfSvWrtXY4`aSvWc4haiWaYS
          ef`XWrtfWdT
          A978FBFBÅ78@87}BA98G@8R7
            bUdS iWScfY4WpSchfWWSY`SWpYcu4pScS
          aWsS̄kY44YSVWX4c4pY°SYWS`p4Y4`aT
            bwdS `uSrtY4WpSyySgSkY44YSVWX4c4pYS
          icSuWScpp4haWrSY`ScaScpp4haiWaYSb4ay
          r4fWXYScarÙ̀fSr4fWXYdS`fSs4XSYWScfWS
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          tc4WrSs4Y4aSYWSecaYSbs4Y`tYS4iy
          4YcY4`aScpSpWYS`fYS4aSiWi`fcfSgpp4hay
          iWaYpqSgfY4XWSlSVWXY4`aSbiddTSSgSkY44y
          YSVWX4c4pYSs4Sa`YSuWScpp4haWrSY`ScaS
          f4icfScpp4haiWaY¥SfcYWfqScSkY44YS
          VWX4c4pYSs4SuWSWdWXYWrSY`SuWStc4y
          WrSY`SWf`fiScSecf4WYS̀ Scpp4haiWaYpS
          cYSYWSi`WfnpSr4pXfWY4`aT
            btdS s`iWapcY4`aSyySkY44YSVWy
          X4c4pYpSs4SuWSXcpp4WrScpScShWeWSS
          `p4Y4`a¥SkY44YSVWX4c4pYpS4ahScaS
          cpp4haiWaYSpcSuWSX`iWapcYWrScYS
          YWS4hWfS`SYWSYs`SfcYWpS4ae`eWrS`fS
          YWSrtfcY4`aS̀ SYWScpp4haiWaYSb4TWTqSYWS
          fWhtcfShWeWSSfcYWS`fSYWSkY44YSVWy
          X4c4pYS`p4Y4`aS̀fSYWSfWhtcfSfcYWS̀ SYWS
          cpp4haiWaYqSs4XWeWfS4pS4hWfdT
            bdS gcarcY`fS`eWfY4iWSÝS`fStfy
          `pWpS`SgfY4XWSlllqSVWXY4`aSbdbgdqScS
          kY44YSVWX4c4pYSicSuWSicarcYWrS`fS
          `eWfY4iWSucpWrS̀aSYW4fSpWa4`f4YSY`ScaS
          `p4Y4`aSY`Ss4XSYWScfWStc4WrSY`S
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                `SYWSWi`WWpSbf`tarWrStSY`S
                YWSaWdYSs`WSatiuWfdSWi`WrS
                4aSYWSecaYScYSYWSY4iWSYWSkY44YS
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                kY44YSVWX4c4pYS`p4Y4`apSWpYcuy
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                WaScfWcSbcarSrWcfYiWaYS4Scf`y
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                s4YSrtWSX`ap4rWfcY4`aSY`SpWa4`f4y
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                bsdS iWfWcYWfqScaSecXcay
                X4WpS4aSYWSkY44YSVWX4c4pYS`p4y
                Y4`apSs4SuWSWrStfptcaYSY`SYWS
                `uSr4rr4ahScarSe`pY4ahSef`XWy
                rtfWSbgfY4XWSlqSVWXY4`aSbddTSSiWS
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                kY44YSVWX4c4pYS`p4Y4`aT
            bdS dXWppSÝSlaSYWSWeWaYS`ScaSWdy
          XWppSbtfptcaYSY`SgfY4XWSlqSVWXY4`aSbWddS
          `fScSYWi`fcfSWdXWppSbtfptcaYSY`SgfY4y
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          `p4Y4`aSs4SuWSX`ap4rWfWrScS`uSX`rWS4aS
          YWSucfhc4a4ahSta4YSb4TWTqScSf4icfScpy
          p4haiWaYdS4aSYWS`iWSrWcfYiWaYScpy
          p4haWrSY`SYWSWi`WWTSS
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            bUdSSiWSfWXW4YS`SpWcfcY4`aS`ScS
          f`e4rWrStarWfSY4pSgfY4XWS4pSX`ar4y
          Y4`aWrSt`aSYWSpWcfcY4`aS`ScaSiy
          `WWSf`iSYWScXY4eWSs`f`fXWSWiy
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          s`fSrtf4ahSYWSYWfiS̀ SY4pSghfWWiWaYT
            bwdSSgaSi`WWSs`ScpS`aWSbUdS
          WcfS`fSi`fWS`SpWfe4XWSpcSuWSc4rS
          pWcfcY4`aScSWcXSY4iWSWS4pSYWfi4acYy
          WrSuWXctpWS`ScXS`Ss`fqSWdXWYSYcYS
          ptXScSs4Sa`YSuWSc4rSsWa
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                    tfWqSYfcap`fYcY4`aSr4XtY4WpqS
                    icYWf4cSp`fYchWpqScarSYWS
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                    Y4`aSuW`arSYWSr4fWXYSX`aYf`S
                    `SYWSgehmvTSSWaScaS
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                     `fSptXSfWcp`aS`fScSrWa4YWS
                    `fS4arWa4YWSYWi`fcfSWf4`rqS
                    WSpcSa`YSuWSX`ap4rWfWrScpS
                    YWfi4acYWrS`fSYWStf`pWS`S
                    Y4pSgfY4XW¥S̀f
                bdSgSutWfS`fSfWX44WaYS`SvWiy
                4ahY`aScppWYpS` WfpScaSi`WWS
                X`aY4atWrSWi`iWaYT
            btdSSiWSehgxiSicSWWXYSY`ScS
          pWcfcY4`aScS4aScStiSptiS̀fSsWWS
          4apYciWaYpT
            bdSSVWcfcY4`aScqS4SuW4ahSc4rS4aS
          sWWS4apYciWaYpqSpcSuWSr4pX`aY4ay
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          `WrScYScaSvglximxSgvgVS
          smgegxqShhsScaYqS̀fS4pS̀ WfWrScarS
          fWtpWpSfWyWi`iWaYScYSYWSecaYT
            bdSSiWSci`taYS`ScaSi`WWnpS
          pWcfcY4`aScqSptuWXYSY`SYWS`fWh`4ahS
          f`e4p4`apS4aSY4pSgfY4XWqSpcSuW
                bgdSmaWSbUdSsWWnpScS`fSWcXS̀ S
                YWSfpYS`tfSbdSWcfpS`SpWfe4XWqS
                tpq
                brdSmaWSbUdSsWWnpScS`fSWcXS
                WcfS`SpWfe4XWS`eWfS`tfSbdSfWy
                rtXWrSuSYWSci`taYS`ScaSpWy
                cfcY4`aScSfWe4`tpSc4rScYScaS
                vglximxSgvgVSsmgegxqS
                hhsnpS`XcY4`aS`fSpWfe4XWScYWfSWy
                XWiuWfSUqSUjjtS̀eWfS`tfSbdSWcfpTS
                {`sWeWfqSY4pSfWrtXY4`aSpcSuWS
                fWrtXWrS4aSi`aYS4aXfWiWaYpSY`S
                ¤Wf`S`eWfScS`fYyW4hYSbfdSi`aYS
                Wf4`rS̀ SfWyWi`iWaYSf`iScpYS
                YWfi4acY4`aS`fScXS̀ Ss`fT
                gSfcXY4`acScfYS`ScSWcfqScy
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                uWSX`itYWrScYSYWSfcYWS`S`aWy
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                cS`fSWcXSi`aYS`SpWfe4XWTSSlaS
                ptXSX`itYcY4`aqS4qS4aScrr4Y4`aS
                Y`StSi`aYpS`SpWfe4XWScaSiy
                `WWScpScXXftWrSYWWaSbUdS`fS
                i`fWSrcpS̀aSYWSrcYWSWS4pSYWfi4y
                acYWrqSWSpcSuWSXfWr4YWrSs4YScS
                 tSi`aYT
                ~`fSpWcfcY4`aScStf`pWpqScS
                sWWnpScSpcSuWSYWSi`y
                WWnpSXtffWaYS¯pYfc4hYyY4iW°SfcYWS
                WfS`tfSitY44WrSuSYWSatiy
                uWfS`S`tfpqSa`YSY`SWdXWWrS`fYS
                bodS`tfpqSX`apY4YtY4ahS4pSa`ficS
                sWWS`tfpS`Ss`fScYSYWSY4iWS
                `S4pSYWfi4acY4`aT
                bsdSgaS̀YWfSf`e4p4`apS̀ SYWSgfy
                Y4XWSY`SYWSX`aYfcfSa`Ys4YpYcary
                4ahqSpWcfcY4`aScSpcSaWeWfSWdy
                XWWrSYsWaYSbwodSsWWpTSS
            bdS SgaSWi`WWSs`ScpSfWXW4eWrS
          pWcfcY4`aScSpcSa`YSuWSfWt4fWrSY`S
          fWYtfaScaS`fY4`aS`SptXScSY`SYWS
          ehgxiS4aSYWSWeWaYSWS4pSfWWi`WrT

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          Y4`aSY`ScaSecXcY4`aSc`scaXWScarScaS
          Wi`iWaYSX`iWapcY4`aSuWaWYpSY`S
          s4XSYWSi`WWSicSuWSWaY4YWrT
            bfdSSx`Y4ahSX`aYc4aWrS4aSYWSgfY4XWS
          pcSuWSrWWiWrSY`Stc4qS4i4YS̀fScYWfS
          4aScaSscSYWSehgxinpSf4hYpSY`SfWrtXWS
          `tfpS`Ss`fSY`Sce`4rSYWfi4acY4`apSuWy
          XctpWS̀ ScXS̀ Ss`fT
            bjdSSWfWeWfSYWSYWfiS¯pWfe4XW°S4pS
          tpWrS4aSY4pSgfY4XWqS4YSpcSiWcaSYWSY`y
          YcSWahYS̀ SY4iWScaSi`WWScpSuWWaS
          cXY4eWSWi`WrSuSYWSehgxiT
             56789@ABBBA77@AAF7BvB8RQ7AR
          A978FBGB68AGF9ABP877AA
            bUdSSgSf4WecaXWSs`ii4YYWWSX`ay
          p4pY4ahS`SYWWaSbUdSiWiuWfpSpcSuWS
          WWXYWrSuSYWSiWiuWfpS`SYWSkxlmxS
          Wi`WrScYSYWSehgxiTSSiWSka4`aS
          pcSuWSWaY4YWrSY`S`aWSbUdScrr4Y4`acS
          iWiuWfS`SYWSf4WecaXWSs`ii4YYWWS
           `fSWeWfS`aWStarfWrSbUoodSWi`WWpS
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          `SYWSs`ii4YYWWSpcSuWScaSi`WWS
          cYSYWSehgxiScarSpcSuWSW4h4uWSY`S
          pWfeWScpScSs`ii4YYWWSiWiuWfS`aSp`S
          `ahScpSWSX`aY4atWpSY`SuWScaSi`y
          WWS`SYWSehgxiSs`S4pSa`YS`aSc` TS
          iWSrtY4WpS`SYWSf4WecaXWSs`ii4YYWWS
          pcSuWSX`aaWrSY`SYWScrtpYiWaYS`S
          r4ptYWpScf4p4ahS`tYS`SY4pSghfWWiWaYS
          YcYSYWSehgxiScarSYWSi`WWS`fS
          i`WWpqSs4YSYWScpp4pYcaXWS`SYWS
          f4WecaXWSs`ii4YYWWqS c4SY`ScrtpYTS
          iWSf4WecaXWSs`ii4YYWWSpcSceWS
          YWSctY`f4YS`aSuWcS`SYWShf4Wey
          caYbpdSY`SpWYYWS`fSs4YrfcsScaShf4Wey
          caXWScYSpYWSwS̀fSf`XWWrSY`SpYWStS̀ SYWS
          hf4WecaXWSf`XWrtfWT
            bwdSSiWSf4WecaXWSs`ii4YYWWSpcS
          ceWSa`S`YWfSctY`f4YS`fSWdWfX4pWScaS
          `YWfSX`aYf`qSWdXWYScpS`tY4aWrS4aSY4pS
          ghfWWiWaYqSa`fSpcSYWSs`ii4YYWWS4aS
          caSscS4aYWfWfWSs4YSYWS`WfcY4`aS`S
          YWSehgxiTSS
            gSf4WecaXWSs`ii4YYWWSiWiuWfSs`S
          e4`cYWpSY4pSf`e4p4`aSpcSa`YSuWSptpy
          WarWrS`fSr4pXcfhWrS`fS`X4cScXy
          Y4`apScpScSs`ii4YYWWSiWiuWfqSutYSicS
                                    ff
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                                            defg
          uWSfWi`eWrSf`iSYWSs`ii4YYWWSuSYWS
          ehgxiTSSlSYWSehgxiSpWWpSY`SfWi`eWS
          cSs`ii4YYWWSiWiuWfS`fSe4`cY4`aS`S
          Y4pSpWXY4`aqS4YSpcSp`Sa`Y4SYWScy
           WXYWrSs`ii4YYWWSiWiuWfScarSYWS`Yy
          WfSiWiuWfpS`SYWSs`ii4YYWWTSSlSYWS
          s`ii4YYWWS̀uWXYpSY`SptXSfWi`ecqSYWS
          icYYWfSpcSuWSptui4YYWrSr4fWXYSY`Scfy
          u4YfcY4`aTSSlSYWS`YWfSiWiuWfpS`SYWS
          s`ii4YYWWSp`SrWYWfi4aWqSYWSc WXYWrS
          iWiuWfSpcSfWic4aS̀aSYWSs`ii4YYWWS
          taY4SYWSXcpWS4pSpWYYWrS̀fSrWX4rWrSuScaS
          cfu4YfcY`fT
            btdSSiWSf4WecaXWSs`ii4YYWWSpcS
          pWWXYScSsc4ficaSf`iSci`ahS4YpSiWiy
          uWfpSY`SX``fr4acYWS4YpScXY4e4Y4WpScarSY`S
          p4YScpSYW4fSfWfWpWaYcY4eWS`aSYWS`4aYS
          hcu`fygcachWiWaYS s`iita4XcY4`aS
          s`ii4YYWWT
          A978FBHB68AGF9AB69AQ6A
            V`trSr4 WfWaXWpScf4pWSuWYsWWaSYWS
          kxlmxScarSYWSehgxiScpSY`SYWSiWcay
          4ahScarSc4XcY4`aS`SYWSf`e4p4`apS`S
          Y4pSghfWWiWaYqScaSWcfaWpYSW `fYSpcS
          uWSicrWSY`SpWYYWSptXSr4 WfWaXWpScYS
          YWSWcf4WpYSfcXY4XcuWSY4iWTSSlSr4y
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           WfWaXWpScf4pWScu`tYSicYYWfpSa`YSpWy
          X4XcSiWaY4`aWrS4aSY4pSghfWWiWaYqS
          Y`pWSicYYWfpScfWSY`SuWSfWWffWrSY`SYWS
          `4aYShcu`fygcachWiWaYSs`iita4Xcy
          Y4`aSs`ii4YYWWSpWYS`fYS4aSgfY4XWSllS
          carScfWSa`YSptuWXYSY`Shf4WecaXWÙcfu4y
          YfcY4`aSf`e4p4`apS`tarS4aSgfY4XWSS
          `SY4pSghfWWiWaYTSSgYScSpYWpS`SYWS
          X`ic4aYScarShf4WecaXWSf`XWrtfWqSYWS
          hf4WecaYScarSYWSkxlmxSfWfWpWaYcy
          Y4eWpSpcSr4pX`pWSY`SYWSehgxiSfWfWy
          pWaYcY4eWpScStSpYcYWiWaYS`SYWScXYpS
          carSf`e4p4`apS`SYWSghfWWiWaYSfW4WrS
          t`aSuSYWiTSSlaSYWSpciWSicaaWfqSYWS
          ehgxiSfWfWpWaYcY4eWpSpcSr4pX`pWS
          cSYWScXYpSfW4WrSt`aSuS4YTSSiWShf4Wey
          caYSpcSceWSYWSf4hYSY`SuWSfWpWaYScYS
          WcXSpYWS`SYWShf4WecaXWSf`XWrtfWS
          taY4SptXSY4iWScpScSWe4rWaXWS4pSYcy
          WaTSS4ptYWpSYcYSfWic4aStafWp`eWrS
          rWp4YWSptXSW `fYSpcSuWSfWp`eWrScpS
           ``sp
            bUdSSVYWSUSÝSiWSi`WWSs4S
          icWS4pSX`ic4aYSY`S4pS4iiWr4cYWS
          VtWfe4p`fSs`SpcSceWSYWSctY`fy
          4YSY`SpWYYWSYWSr4ptYWTSSiWSi`y
          WWSpcSicWSYWSX`ic4aYSs4Y4aSYWaS
                              jo
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                                          defg
          bUodSs`f4ahSrcpS̀ SsWaSWSfpYSaWsS
          `fSp`trSceWSa`saS`SYWSX`ic4aYTS
          WfWScaSi`WWSicWpScSX`ic4aYS
          rtf4ahSs`fSY4iWqSYWSVtWfe4p`fSpcqS
          4S`pp4uWSs4Y`tYS4aYWfftY4ahSf`rtXy
          Y4`aqSr4pXtppSYWSicYYWfSuf4W±S`aSYWS
          p`YTSSiWSi`WWSpcSuWSWaY4YWrqS
          cYS4pSfWtWpYqSY`SceWScSiWiuWfS`SYWS
          f4WecaXWSs`ii4YYWWSfWpWaYSY`Scpp4pYS
          4iScYScaSr4pXtpp4`aSs4YS4pSptWfe4y
          p`fTSSlSYWSehgxiSp`SX``pWpqSYWSptWfy
          e4p`fSpcSuWSWaY4YWrSY`SceWSca`YWfS
          fWfWpWaYcY4eWS`SYWSehgxiS4aScYYWay
          rcaXWTSSiWSi`WWnpS4iiWr4cYWSpty
          Wfe4p`fSs4Sa`Y4SYWSi`WWS̀ S4pS
          rWX4p4`aSuSYWSWarS`SYWSi`WWnpS
          pWX`arSfWhtcfSpXWrtWrSp4YS``sy
          4ahSYWSX`ic4aYTSSVWYYWiWaYpS̀fSs4Yy
          rfcscpScYSY4pSpYWSpcSa`YSX`apY4YtYWS
          cSfWXWrWaYS4aSYWScar4ahS`S`YWfS
          hf4WecaXWpT
            bwdSSVYWSwSÝSlSa`SchfWWiWaYS4pS
          fWcXWrSuWYsWWaSYWSi`WWScarS
          4pSptWfe4p`fqSYWSX`ic4aYSs4SuWSfWy
          rtXWrSY`Ssf4Y4ahScarSpcSuWSptui4YYWrS
          `aSYWSVYcarcfrSf4WecaXWS`fiScarS
          pcSuWSYcWaStSs4Y4aSeWSbdSs`f4ahS
                              jU
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          rcpS`SYWSptWfe4p`fnpSrWX4p4`aSuSa`S
          i`fWSYcaSYs`SbwdSiWiuWfpS̀ SYWSf4Wey
          caXWSs`ii4YYWWScarSYWSefWp4rWaYS`S
          YWSh`XcSka4`aScarSYWSehgxinpSVYWS
          wSfWfWpWaYcY4eWbpdTSSgYSYWSpYWSwSiWWYy
          4ahSYWSf4WecaXWSs`ii4YYWWScarSYWS
          ehgxiSfWfWpWaYcY4eWbpdSs4SX`iWYWS
          YWSpYcarcfrShf4WecaXWS`fiScarqS4SYWS
          X`ic4aYS4pSa`YSpWYYWrqSYWShf4WecaXWS
          pcSuWSfWWffWrSY`ScSfWfWpWaYcY4eWS`S
          YWSkggS4pYf4XYScarSYWSehgxinpS
          fWfWpWaYcY4eWbpdS`fSpYWStT
            btdS SVYWStSÝS4Y4aSpWeWaSs`f4ahS
          rcpS`SYWSY4iWSYWShf4WecaXWS4pSfWy
           WffWrSY`SYWiqSYWS4pYf4XYSfWfWpWay
          YcY4eWScarSYWSfWfWpWaYcY4eWbpdS`SYWS
          ehgxiqSs`SpcSuWSr4 WfWaYSf`iSYWS
          ehgxinpSpYWSwSfWfWpWaYcY4eWbpdSpcS
          iWWYScarSfWe4WsSYWScXYpScarSWfY4aWaYS
          X`aYfcXYSf`e4p4`apS4aScaSW `fYSY`SfWy
          p`eWSYWShf4WecaXWTSSx`Si`fWSYcaSYfWWS
          btdSiWiuWfpS`SYWSf4WecaXWSs`ii4Yy
          YWWScarSYWSefWp4rWaYS̀ SYWSh`XcSka4`aS
          carSYWSehgxinpSpYWSwSfWfWpWaYcy
          Y4eWbpdSpcSceWSYWSf4hYSY`SuWSfWpWaYTS
          x`SeWfucY4iSYfcapXf4YS̀ SYWSYWpY4i`aS
          pcSuWSYcWaSa`fSpcSW4YWfScfYSuWS
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          fWfWpWaYWrSuScaScYY`faWS4XWapWrSY`S
          fcXY4XWScsS4aScaStf4pr4XY4`aS4aSpYWpS
          USYf`thStS`SYWShf4WecaXWSf`XWrtfWS
          WdXWYSuSitYtcSchfWWiWaYSc4XcuWS
          Y`ScScfY4XtcfSXcpWT
            bdSSVYWSSÝSlaSXcpWpSsWfWSYWS4py
          Yf4XYSfWfWpWaYcY4eWScarSYWSfWfWpWaYcy
          Y4eWbpdS`SYWSehgxiSc4SY`SfWp`eWSYWS
          hf4WecaXWScYSpYWStqSYWSicYYWfSpcqS
          s4Y4aSUoSs`f4ahSrcpScYWfSfWWffcSY`S
          YWiqSuWSfWWffWrSY`SYWScf`f4cYWScfy
          u4YfcY`fSs`SpcSrWX4rWSYWSXcpWSs4Yy
          `tYSrWcTSSscpWpSpcSuWScpp4haWrSY`S
          cfu4YfcY`fpS4aSYWS``s4ahSicaaWf
                 bgdSlfcSh`uWSpcSpWfeWScpSYWScfy
                 u4YfcY`fTSSlSlfcSh`uWS4pStacuWS`fS
                 tas44ahSY`SpWfeWScpSYWScfu4Yfcy
                 Y`fqS̀fS4SlfcSh`uWS4pStacXXWYcuWS
                 Y`SW4YWfSYWSka4`aS`fSYWSiy
                 `WfqSYWaSYWS4pYf4XYSfWfWpWay
                 YcY4eWScarSYWSs`icaSfWfWpWay
                 YcY4eWSpcScYYWiYSY`SpWWXYScaS
                 cfu4YfcY`fTSSlaSYWSWeWaYSYWScfy
                 Y4WpSr`Sa`YSchfWWS`aSYWSpWWXY4`aS
                 `ScaScfu4YfcY`fqScaS4icfY4cScfu4y
                 YfcY`fSpcSuWSpWWXYWrSf`iScS4pYS
                                    jt
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          hijklmnop
                `SpWeWaSbdScfu4YfcY`fpSptui4YYWrS
                uSYWSgiWf4XcaSgfu4YfcY4`aSgpp`y
                X4cY4`aSb¯ggg°dTSiWSka4`aSpcS
                pWX4SYWS4pptWpSY`SuWScfu4YfcYWrS
                carSYWSXctpWpS̀ SY4pSghfWWiWaYS
                t`aSs4XS4YSucpWpS4YpSXc4iTSSlaS
                YWSWYYWfSY`SYWSgggqSYWSka4`aS
                pcSfWtWpYSYWSgggSY`Stfa4pS
                4YScarSYWSi`WfS4rWaY4XcS4pYpS
                `SWfp`apSW4h4uWSY`SpWfeWScpSgfy
                u4YfcY`fpTSSdXWYScpS`YWfs4pWS
                f`e4rWrSWfW4aqSYWScfY4WpSchfWWS
                YcYScScfu4YfcY4`aSf`XWWr4ahpS
                pcSuWS4aScXX`frcaXWSs4YSYWS
                hcu`fSgfu4YfcY4`aSvtWpS`SYWS
                gggqSs4XSftWpScfWS4aX`f`fcYy
                WrSWfW4aSuSfWWfWaXWT
                brdSr`YSYWSehgxiScarSYWS
                kxlmxSpcSceWSYWSf4hYSY`S
                Xf`ppyWdci4aWScSs4YaWppWpT
                bsdSiWScfu4YfcY`fSpcSfWarWfS4pS
                rWX4p4`aScpSWdWr4Y4`tpScpS`pp4y
                uWTSS~c4tfWSY`Sr`Sp`Ss4Y4aSp4dYS
                bodSrcpScYWfSYWSfWX`frS4pSX`pWrS
                pcSuWSfW`fYWrSY`SYWSgggTS

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                                             defg
                  bdS iWScfu4YfcY`fSpcSceWS
                  a`SctY`f4YSY`SXcahWqScrrSY`S`fS
                  ptuYfcXYSf`iqS`fSY`Si`r4ScaS
                  f`e4p4`apS̀ SY4pSghfWWiWaYTSSiWS
                  cfu4YfcY`fSpcSicWS4pSrWX4p4`aS
                  ucpWrS`aSYWSf`e4p4`apS`SYWS
                  X`aYfcXYScarSYWSWe4rWaXWSuW`fWS
                  4iT
                  bdSiWSrWX4p4`aScarS`fScscfrS`S
                  YWScfu4YfcY`fSpcSuWSacScarS
                  u4ar4ahS`aSu`YScfY4WpScarSWay
                   `fXWcuWS4aScSX`tfYS̀ ScsT
                  b~dSs`iWapcY4`aScarSWdWapWpS
                  `SYWScfu4YfcY`fScarShWaWfcSWdy
                  WapWpS`SYWScfu4YfcY4`aSpcSuWS
                  pcfWrSWtcSuSYWScfY4WpqSWdy
                  XWYSYcYSWcXScfYSpcSuWcfSYWS
                  WdWapWpS`S4YpSfWfWpWaYcY4eWpS
                  carSs4YaWppWpT
                  bdS{Wcf4ahpSpcSYcWScXWScYScS
                  `XcY4`aSitYtcSchfWWrSt`aSuS
                  YWScfY4WpT
                  b{dSlaSXcpWpS4aSs4XSYWScfY4WpS
                  ceWSchfWWrSYcYSYWfWS4pSa`StWpy
                  Y4`aS`ScXYS4ae`eWrS4aSYWShf4Wey
                               j
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          hijklmnop
                caXWqSYWScfu4YfcY`fSicSrWX4rWS
                YWSXcpWSt`aSYWSucp4pS`ScS`4aYS
                pYcYWiWaYS`SYWScfY4WpScarSptXS
                Wd4u4YpScpSYWSpcSptui4YTSS
                bldSiWSWcf4ahSpcSuWSfWX`fry
                WrSuSYWScfu4YfcY`fScarSpcSuWS
                X`pWrSt`aSYWSX`iWY4`aS̀ SYWpy
                Y4i`aqSWdXWYS`fSYWStf`pWS`S
                4ahS`pYyWcf4ahSuf4WpSbX`4WpS
                `Ss4XSs4SuWSf`e4rWrSY`ScS
                cfY4WpdTSSiWScfu4YfcY`fSpcSfWay
                rWfS4pSrWX4p4`aScpSp``aScYWfSYWS
                X`pWS̀ SYWSWcf4ahScpSicSuWSWcy
                p4uWTSSlSYWScfu4YfcY`fS4pStacuWSY`S
                icWS4pSrWX4p4`aSs4Y4aSoSrcpS
                `SYWSX`pWS`SYWSWcf4ahqSWS
                pcSf`iYScre4pWSYWScfY4WpS
                `SYWSfWcp`apS`fSYWSrWcScarS
                YWSrcYWSsWaS4pSrWX4p4`aSs4S
                uWSptui4YYWrTSS4YWfScfYSicS
                icWScaS`X4cSYfcapXf4YS`SYWS
                Wcf4ahTSSgSX`S̀ SptXSYfcapXf4YS
                pcSuWSf`e4rWrSY`SYWS̀YWfScfy
                YScYSa`SXcfhWT
                bdSlaSXcpWpS4ae`e4ahSX`iWapcy
                Y4`aqS4aSa`SWeWaYSicSYWScfu4Yfcy
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                                         defg
                Y`fScscfrSX`iWapcY4`aS`fSi`fWS
                YcaSYWaSbUodSs`f4ahSrcpSf4`fS
                Y`SYWSrcYWSYWShf4WecaYbpdSaWsS
                `fSp`trSceWSa`saS`SYWSX`iy
                c4aYTS
          A978FB9Bö8FG@87}BvBA98R8FB6BA7D
          7@AAF7
            VWYYWiWaYpSfWcXWrScYScaSpYWS̀ SYWS
          hf4WecaXWSf`XWrtfWSpcSuWSacScarS
          u4ar4ahS`aSu`YScfY4WpScarSpcSa`YS
          uWSptuWXYSY`StfYWfSf`XWWr4ahpStay
          rWfSY4pSgfY4XWSWdXWYSuSitYtcSchfWWy
          iWaYTSSVWYYWiWaYpSfWcXWrScYSpYWpS
          wScarStSpcSuWS4aSsf4Y4ahScarSp4haWrS
          uScf`f4cYWSfWfWpWaYcY4eWpS`SYWS
          kxlmxScarSYWSehgxiT
          A978FBBpG8A6BvBu8AB887R
            rSchfWWiWaYSYWScfY4WpSicSsc4eWS
          YWSY4iWS4i4YpSpWYS`fYS4aSWcXSpYWS`S
          YWShf4WecaXWSf`XWrtfWTSSgupWaYScSity
          YtcSchfWWiWaYqS4SYWSehgxinpScapsWfS
          4pSa`YScWcWrSb4dSs4Y4aSYWWaSbUdS
          XcWarcfSrcpS`SYWSgehmvnpSfWy
          p`apWS4aSVYWSwqS`fSb44dSs4Y4aSYsWaYS
          bwodSXcWarcfSrcpS`SYWSgehmvnpS
                                    j
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          qrstuvwxyz
          fWp`apWS4aSVYWStqSYWaSYWScapsWfS
          icrWSuSYWSehgxiScYSYcYSpYWSpcS
          uWSacT
           56789@ABCBB8R98@8FABGFB8R9G6IA
          A978FBGBQR7BPGQRABA{Q86A
            x`Si`WWSX`eWfWrSuSY4pSghfWWy
          iWaYSicSuWSr4pX44aWrS`fSr4pXcfhWrS
          WdXWYS`fStpYSXctpWTSSiWSutfrWaSpcS
          uWS`aSYWSgehmvSY`SWpYcu4pS
          hf`tarpS`fSr4pX44aWS`fSr4pXcfhWS4aS
          cSf`XWWr4ahpStarWfSY4pSgfY4XWTSSlaS
          a`SWeWaYqSs4SYWSgehmvS4a4Y4cYWS
          caS`fiS`Sr4pX44aWqSuW`arSYWaSbUodS
          s`f4ahSrcpS`SYWSY4iWS4YSaWsqS`fS
          p`trSceWSa`saS`SYWS4afcXY4`aqS`fS
          chc4apYScaSi`WWSs4Y`tYScSiWiuWfS
          `SYWSf4WecaXWSs`ii4YYWWSfWpWaYqS4S
          YWSi`WWSfWtWpYpSkxlmxSfWfWy
          pWaYcY4`aT
          A978FBHB69AQ6A
            WfWSYWSgehmvSX`aXtrWpS
          YcYSYWSX`artXYS`ScaSi`WWStpY4y
          WpSr4pXcfhWqSYWSi`WWSpcSuWS
          ptpWarWrSs4YSYWS4aYWaYSY`Sr4pXcfhWS
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          carSpcSuWSh4eWaSsf4YYWaSa`Y4XWSpYcY4ahS
          YWSfWcp`aqSs4YScSX`SY`SuWStfa4pWrS
          Y`SYWSf4WecaXWSs`ii4YYWWTSSg YWfSwS
          `tfpqSutYSs4Y4aSfS`tfpqSYWSi`WWS
          pcSuWSc `frWrSYWSf4hYSY`SiWWYSs4YS
          YWSehgxinpSVYWStSfWfWpWaYcY4eWbpdTS
          gYSptXSiWWY4ahqSa`Si`fWSYcaSYfWWSbtdS
          iWiuWfpS`SYWSf4WecaXWSs`ii4YYWWS
          carSYWSefWp4rWaYS`SYWSh`XcSka4`aS
          pcSuWSfWpWaYScarqS4SfWtWpYWrSuS
          YWSi`WWS`fSYWSf4WecaXWSs`iy
          i4YYWWqScSfWfWpWaYcY4eWS`SYWS4pYf4XYS
          pcScp`SuWSfWpWaYTSSk`aSfWtWpYSuS
          YWSi`WWqSYWSf4WecaXWSs`ii4Yy
          YWWqS`fSYWS4pYf4XYSfWfWpWaYcY4eWqSYWS
           `fYyW4hYS`tfSY4iWS4i4YSs4SuWSWdy
          YWarWrSuScaScrr4Y4`acSfS`tfpTSSiWS
          gehmvSpcSuWSWaY4YWrSY`SceWScaS
          WtcSatiuWfS`SfWfWpWaYcY4eWpScYSYWS
          iWWY4ahTSS~tSr4pX`ptfWS`ScS4a`ficy
          Y4`aSfW4WrSt`aSuSYWScfY4WpSpcSuWS
          f`e4rWrScYSYWSwÙfS`tfSiWWY4ahT
          A978FB9BQRAFR8F
            lSs4Y4aSwS`tfpScYWfSYWSX`aXty
          p4`aS`SYWSwÙfS`tfSiWWY4ahqSYWSgy
          ehmvS4a`fipSYWSi`WWScarSYWS
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          f4WecaXWSs`ii4YYWWSYcYS4YSpY4S4ay
          YWarpSY`Sr4pXcfhWSYWSi`WWSb`fS4S
          a`SiWWY4ahSscpSfWtWpYWrdSYWSi`y
          WWSpcSceWSeWSbdSs`f4ahSrcpSY`SWS
          YWShf4WecaXWTSSlSYWSi`WWSr`WpSa`YS
          WScShf4WecaXWSs4Y4aSeWSbdSs`f4ahS
          rcpS̀ SYWSa`Y4XWS̀ SptpWap4`aSs4YS4ay
          YWaYSY`Sr4pXcfhWqSYWSr4pXcfhWSpcSuWy
          X`iWSW WXY4eWS4iiWr4cYWTSSf4WecaXWpS
          4ae`e4ahSr4pXcfhWSpcSucppSpYWpSUS
          Yf`thStScarSpcSf`XWWrSr4fWXYSY`S
          pYWSS̀ SYWShf4WecaXWSf`XWrtfWT
          A978FBBPAFRG78FBv6BR7BEG6FD
          8FIRB
            laScScfu4YfcY4`aSXcpWpSsWfWS4YS4pSrWy
          YWfi4aWrSYcYStpYSXctpWS`fSr4pXcfhWS
          cpSa`YSuWWaSWpYcu4pWrqSYWSi`WWS
          pcSuWSfW4apYcYWrScarSX`iWapcYWrS`fS
          `pYSWcfa4ahpSWppSi`a4WpSWcfaWrSrtf4ahS
          YWSucXScSWf4`rTSSx`Y4ahS4aSY4pS
          pWXY4`aSpcSuWSX`apYftWrSY`qS4aScaSscqS
          4i4YSYWScfu4YfcY`fnpSf4hYSY`Si`r4S`fS
          i4Y4hcYWSYWSWacYS̀ Sr4pXcfhWT


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            gSfWX`frpS`Si`WWSr4pX44aWS4py
          ptWrSrtf4ahSYWSYWfiS̀ SY4pSghfWWiWaYS
          icSuWStpWrScpSYWSucp4pS`fSptupWtWaYS
          f`hfWpp4eWSr4pX44acfScXY4`aSa`ScYWfS
          YcaSYsWeWSbUwdSi`aYpS`ScXY4eWSX`ay
          Y4at`tpSWi`iWaYS``s4ahSYWSrcYWS
          `S4pptcaXWScarSpcSa`YSuWStpWrS4aSptuy
          pWtWaYSr4pX44acfScXY4`aSchc4apYSYWS
          i`WWTSSrSscS`SXcf4XcY4`aqSYWS
          i`pYSXtffWaYSpYWS4aSYWSf`hfWpp4eWSr4py
          X44acfScXY4`aSf`XWppSpcSfWic4aScXy
          Y4eWS`fSYsWeWSbUwdSi`aYS`fStf`pWpS
          `SrWYWfi4a4ahSptupWtWaYSf`hfWpp4eWS
          r4pX44acfScXY4`aTSS{`sWeWfqScSfWy
          X`frpS`Si`WWSr4pX44aWS`aSpcS
          fWic4aS4aScaSi`WWnpSWS4aS{ticaS
          vWp`tfXWpT
             56789@ABCCBDBAFA7RBGFB6G9789AR
          A978FBGBE@8I8H8@87}
            i`WWpqSWdXWYScpSpWYS`fYSuW`sqS
          pcSuWSWaY4YWrSY`ScfY4X4cYWS4aSYWS
           ``s4ahSuWaWYScapScarSfcXY4XWpS`S
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            SvWi4ahY`aSgfipSs`icaqShhsS
               eWap4`aScarSvWY4fWiWaYSecaS
            SvWi4ahY`aSVce4ahpScarSlaeWpYiWaYS
               eca
            SvWi4ahY`aSgfipSs`icaSWcfWS
               ecaS
            SiWSvWi4ahY`aSgWr4XcSeca
            SiWSvWi4ahY`aSWaYcSecaS
            S4p4`aSscfWS
            Si`WWSh4WSlaptfcaXWS
            SmY4`acSh4WSlaptfcaXWS
            SWWarWaYSmY4`acSh4WSlaptfy
               caXW
            Sh`ahSiWfiS4pcu44YSlaptfcaXWS
            SgXX4rWaYcSWcYSS4piWiuWfy
               iWaY
            S~Wd4uWSVWar4ahSgXX`taYpS
            Si`WWSgpp4pYcaXWSef`hfciS
            SV`fYSiWfiS4pcu44YSecSeca
            iWSpWX4XcY4`apS`fSYWSpYftXYtfWS̀ S
          YWSuWaWYScffcahWiWaYpScfWSpWYS`tYS4aS
          gWar4dSsScarScfWS4aX`f`fcYWrSWfWy
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            4YSYWSWdXWY4`aS`SYWSvWi4ahy
          Y`aSgfipSs`icaqShhsSeWap4`aScarS
          vWY4fWiWaYSecaScpSf`e4rWrSuW`sqScS
          stffWaYSi`WWS`aSYWS`rSvWi4ahy
          Y`aScf`S`aSx`eWiuWfStoqSUjjtScarS
          4fWrS`aSYWSaWsSvWi4ahY`aScf`S`aS
          WXWiuWfSUqSUjjtSpcSceWS4pSWahYS
          `SpWfe4XWScYSte`aYSfWX`ha4¤WrS`fSX`ay
          p4rWfcY4`aS`SYWSuWaWYpScarSfcXY4XWpS
          pWYS`fYS4aSVWXY4`apSbudScarSbrdSWfW4aT
          A978FBB6G9789AR
            VWfe4XWSvWX`ha4Y4`aSeca
          A978FBAB58F8R76G78ABGFBAR8IFB
          G77A6RBGFBÅF8v687}
            iWSgehmvSb`fScf`f4cYWSrty
          X4cfS`SYWSc4XcuWScadS4aS4YpSp`WS
          carSWdXtp4eWSr4pXfWY4`aqSicSi`r4S
          YWSuWaWYpSbX`ap4pYWaYSs4YSYWSYWfipS
          pWYS`fYS4aSgWar4dSsdqSXcahWSYWS
          cri4a4pYfcY`fqScrrS̀fSrWWYWS4aeWpYiWaYS
          `Y4`apS̀ WfWrSY`ScfY4X4caYpScarSuWay
          WX4cf4WpqSXcahWStar4ahSeW4XWpqS4ay
          eWpYiWaYScre4pWfpScarSicachWfpqScarS
          pWfe4XWSf`e4rWfpScarÙ̀fSbs4Y`tYScaS
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          4i4YcY4`aScf4p4ahSf`iSYWS`fWh`4ahS
          WatiWfcY4`adqSXcahWSfcYWpÙfWi4tipS
          bWdXWYScpS`YWfs4pWSpWX4WrS4aSgy
          War4dSsdqScarSicWScaS`YWfSXcahWpS
          cpS4YSrWYWfi4aWpS4aS4YpSp`WScarSWdXty
          p4eWSr4pXfWY4`aSf`e4rWrSYcYScaSptXS
          ciWariWaYqSi`r4XcY4`aqSXcahWS`fS
          YWfi4acY4`aSpcScSWtcSY`SWiy
          `WWpScarSa`ayta4YSWi`WWpStaWppS
          `YWfs4pWSchfWWrSY`SuSYWSkxlmxScarS
          YWSgehmvTS
                56789@ABCCCBB8R9A@@GFAQR
          A978FBGBG}BG}B
            gSi`WWpSs4SuWSc4rS̀aScSsWWy
          Sucp4pTSSeciWaYSpcSuWSicrWSuS
          XWXqS̀fSuS4fWXYSW`p4YS4SWWXYWrSuS
          YWSWi`WWqSs4YSfWX`ha4Y4`aS`fSWh4Yy
          4icYWSrWrtXY4`apTSSiWSi`WWSpcS
          fWXW4eWqSs4YS4pScqScSc4aSpYcYWiWaYS
          4YWi4¤4ahSYWSatiuWfS`S`tfpSs`fWrS
          rtf4ahSYWScSWf4`rScarSpWYY4ahS`fYS
          pYfc4hYSY4iWqS`eWfY4iWScarSfWi4tiS
          Y4iWS`tfpSs`fWrSrtf4ahSYWScSWf4y
          `rTSSiWSpYcYWiWaYSpcScp`S4YWi4¤WScS
          cf`SrWrtXY4`apT
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            iWSehgxiSs4Sf`e4rWScarSic4ay
          Yc4aSutWY4aSu`cfrpScYSitYtcSchfWWy
          cuWS`XcY4`apS`fSWdXtp4eWStpWSuSYWS
          kxlmxS`aSs4XSYWSkxlmxSicS`pYS
          a`Y4XWpTSSVtXSa`Y4XWpSpcSa`YSuWS̀ Way
          p4eWS4aSacYtfWSY`ScaS4ar4e4rtcS̀fShf`tS
          `SWfp`apTSSVtXSa`Y4XWpSpcSp`sScS
          fWi`ecSrcYWScarSpcSuWSrW4eWfWrSY`S
          YWS{ticaSvWp`tfXWpSgcachWfS̀fSYW4fS
          rWp4haWWSf4`fSY`S`pY4ahTSSgaSi`y
          WWSrWp4hacYWrSuSYWSefWp4rWaYS`SYWS
          h`XcSka4`aSY`S`pYSa`Y4XWpS`aSs4S
          uWSX`iWapcYWrSuSYWSgehmvS
           `fSY4iWSpWaYS`pY4ahSa`Y4XWpS`aSutWy
          Y4aSu`cfrpS`fStSY`SYs`SbwdS`tfpSWfS
          `pY4ahSa`Si`fWSYcaSYsWeWSbUwdS`pYy
          4ahpSWfSi`aYS̀aSYWSfpYSbUpYdSp4YS̀fS
          cpS`YWfs4pWSchfWWrSt`aSuSYWSh`XcS
          ka4`aScarSYWS{ticaSvWp`tfXWpSgcay
          chWfT
          A978FB9BGvA7}BARB
            cXSXcWarcfSWcfS`SY4pSghfWWy
          iWaYnpSYWfiqSYWSehgxiSs4Sf`e4rWS
          WcXSi`WWSYWS`Y4`aS`SWWXY4ahS
          W4YWfSb4dScaSc`scaXWSWfSXtffWaYSfcXy
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          Y4XWStSY`SÞUwTooS`fSYWStfXcpWS`S
          pcWYSp`WpqS`fSb44dScSXcpSc`scaXWS`S
          pWeWaYSeWSr`cfpSbÞToodSY`SuWSc4rS
          uSgf4StoYS`SWcXSXcWarcfSWcfS`S
          Y4pSghfWWiWaYT
            i`WWpSicStfXcpWSp`WpSf`iS
          YWS¯V`WSiftX°Sef`hfciS`fSf`iScaS
          ctY`f4¤WrSrWcWfbpdS4aSY4pScfWcT
          A978FBBE}ABE»G8FG78FR
            cXSi`WWSfWt4f4ahScaSWWS
          Wdci4acY4`aSs4Y4aScaSW4hYWWaSbUfdS
          i`aYSY4iWSWf4`rqSt`aSfWpWaY4ahScS
          c4rSfWXW4YSY`SYWSecaYSgWr4XcSWy
          cfYiWaYqSs4SuWSfW4iutfpWrS`fSYWS
          WdWapWS`SptXSWdci4acY4`aStSY`ScS
          icd4itiS`SÞoqSutYS4aSa`SXcpWS4pSYWS
          fW4iutfpWiWaYSY`SWdXWWrSYWSX`pYS̀ SYWS
          Wdci4acY4`aTSSi4pSpWXY4`aSpcSa`YScy
          SY`ScaSWi`WWScfY4X4cY4ahS4aSYWS
          gehmvnpSe4p4`aSXcfWSuWaWYScaT
          A978FBAB8RGH8@87}B599G78F
            i4pSghfWWiWaYSpcSa`YSfWeWaYS
          YWSehgxiSf`iSic4ahScSfWcp`acuWS
          cXX`ii`rcY4`aS`Sr4pcuWrSWfp`apScpS
          fWt4fWrSuSpYcYWScarÙ̀fSWrWfcScsqS4ay
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          Xtr4ahSYWSgiWf4XcapS4YS4pcu44Y4WpS
          gXYTSSlaSYWSWeWaYScSf``pWrScXX`ii`y
          rcY4`aSs`trSX`a±4XYSs4YScaSWdfWppS
          f`e4p4`aS`SY4pSghfWWiWaYqSYWScfy
          Y4WpqScYSW4YWfnpSfWtWpYqSpcSiWWYSY`S
          r4pXtppSYWSf``pWrScXX`ii`rcY4`aTS
          x`Y4ahS4aSY4pSpWXY4`aSpcSfWt4fWSYWS
          kxlmxSY`SchfWWSY`Si`r4SYWfipS̀ SY4pS
          ghfWWiWaYS`fSY`Ssc4eWSpWa4`f4YSf4hYpS
          tarWfSY4pSghfWWiWaYTSSlaSYWSWeWaYSYWS
          ehgxiScarSYWSkxlmxqS4aSpWYY4ahScS
          hf4WecaXWS`fS4Y4hcY4`aSs`trSchfWWqS`fS
          cSX`tfYS`fScfu4YfcY`fSs`trS`frWfSYcYS
          YWSehgxiSicWScaScXX`ii`rcY4`aS
          YcYS`YWfs4pWSX`a±4XYpSs4YSYWSYWfipS
          `SY4pSghfWWiWaYqSYcYScXX`ii`rcY4`aS
          pcSptWfpWrWSptXSX`a±4XY4ahSYWfipS
          `SY4pSghfWWiWaYTSSiWScfY4WpSchfWWS
          YcYScaScXX`ii`rcY4`aSicrWSuSYWS
          ehgxiSs4YSfWpWXYSY`S`uSrtY4WpS`fS
          caS`YWfSYWfiS`fSX`ar4Y4`aS`SWi`y
          iWaYSicrWStfptcaYSY`SpWYYWiWaYS`ScS
          hf4WecaXWS`fS4Y4hcY4`aSbsWYWfS`ficS
          `fS4a`ficdqS`fScfu4YfcS`fSX`tfYS`frWfqS
          pcSa`YqS4aScaSscqSuWX`iWSc4XcuWS
          Y`ScaS`YWfS4ar4e4rtcqSXcppqS`fShf`tS
          `Si`WWpSutYSpcScS̀aSY`SYWS
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          Wfp`aS̀fSWfp`apScXX`ii`rcYWrS4aSYWS
          cfY4XtcfSp4YtcY4`aTSSiWScXYSYcYSptXS
          Wfp`abpdSscpScXX`ii`rcYWrqSYWSicay
          aWfScarSiWY`rS̀ SptXScXX`ii`rcY4`aS
          pcSuWSs4Y`tYSfWXWrWaYScarSYWfWy
           `fWSicSa`YSuWStpWrS`fSfW4WrSt`aSuS
          caSWfp`aS`fSYcYStf`pWScYScaSY4iWS
          4aSYWStYtfWT
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            i`WWpSpcSicWSWeWfScYYWiYS
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          rtf4ahSa`ays`f4ahSY4iWTSS4YSf4`fScy
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          s`fScarSc4rS`fStSY`S`tfSbdS`tfpStS
          Y`SYsWeWSbUwdSY4iWpSWfSXcWarcfSWcfS
           `fSYWSi`WWSY`SfW`fYS`fScSiWry
          4XcSc`4aYiWaYSrtf4ahSs`fS`tfpTS
          VtXSiWr4XcSc`4aYiWaYpSitpYSuWS`fS
          r4cha`p4pqS``sytSY`ScSfWXWaYSf`uWiS
          `fSr4cha`pY4XSYWpY4ahTSWaYcSc`4aYy
          iWaYpSs4SuWSX`eWfWrS`aS`fSY``YSWdy
          YfcXY4`apScarSf``YSXcacpTSv`tY4aWSe4p4YpS
          cfWSa`YSX`eWfWrSuSY4pSf`XWrtfWScarS
          itpYSuWSpXWrtWrSrtf4ahSa`ays`f4ahS
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          WWpScfWSfWt4fWrSY`Sf`e4rWSeWf4XcY4`aS
           f`iScS4XWapWrSWcYXcfWSf`e4rWfS`S
          YWSiWr4XcSc`4aYiWaYqS4aXtr4ahSYWS
          Y4iWS`SYWSc`4aYiWaYScarSYWSY4iWS
          YWSWi`WWScff4eWrScarSWYSYWScy
          `4aYiWaYTSSiWS4XWapWrSWcYXcfWS
          f`e4rWfS`SYWSiWr4XcSc`4aYiWaYS
          pcS4ar4XcYWSsWYWfSYWSc`4aYiWaYS
          4pS`fScSr4cha`p4pqScS``sytSY`ScSfWXWaYS
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          kxlmxS`fSi`WWpScfY4X4cYWS4aqS4ay
          pY4hcYWqSXctpWqS`fSWaX`tfchWqScaSpYf4WS
          rtf4ahSYWSYWfiS`SY4pSghfWWiWaYqS4ay
          Xtr4ahSWX`a`i4XqStac4fScu`fSfcXY4XWS
          pYf4WpqSpicYSpYf4WpqStf4pr4XY4`acS
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            laSYWSWeWaYS̀ ScSufWcXS̀ SVWXY4`aSbcdqS
          YWSkxlmxSpcStpWSfWcp`acuWSiWcapS
          Y`SWarSYWSufWcXqS4aXtr4ahScre4p4ahSYWS
          4ae`eWrSi`WWpSYcYSYW4fSX`artXYS
          icSuWS4aSe4`cY4`aS`SYWSghfWWiWaYqS
          carS4S4YS4pSYWSicSuWSr4pX44aWrStSY`S
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          carSptXSr4pX44aWSpcSuWSrWWiWrSY`S
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          WrSWfW4aqSYWSs4Sic4aYc4aSYWS4aYWhy
          f4YS̀ SY4pSX`aYfcXYScarSYcYScSr4ptYWpS
          s4XScfWSa`YSpWYYWrSuSchfWWiWaYSpcS
          uWSpWYYWrSuSYWSicX4aWfSf`e4rWrS4aS
          YWS̄VWYYWiWaYS`S4ptYWp°SgfY4XWS`S
          Y4pSghfWWiWaYTSSx`Y4ahS4aSY4pSf`y
          e4p4`aqS`sWeWfqS4pS4aYWarWrSY`Sr4i4ay
          4pScaS4ar4e4rtcSf4hYpScaSi`WWS
          i4hYSWa`SuScsTSSlaScrr4Y4`aqSYWS
          gehmvSWdfWppSctY`f4¤WpSYWS
          kxlmxSY`SpWWStr4X4cSfW4WqSs4Y`tYS
          WdctpY4ahSYWShf4WecaXWSicX4aWfqS4aS
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          rtfWqS`fS`frWfS4pptWrSuS`eWfaiWaYcS
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          ctY`f4YqSs4XSpcSuWS4aX`ap4pYWaYS
          s4YScaSf`e4p4`aS`SY4pSghfWWiWaYqS
          YWScfY4WpSs4SiWWYSY`Si`r4SptXS
          f`e4p4`aSY`SYWSWdYWaYSaWXWppcfSY`S
          X`iSs4YSptXScsqSftWqSfWhtcY4`aqS
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          YWScfY4WpSfWX`ha4¤WSYcYSYWSi`WfS
          pcSceWSYWSf4hYSY`S4apY4YtYWS`4X4WpS
          carÙ̀fSf`XWrtfWpSp`ScpSY`SX`iSs4YS
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            laSYWSWeWaYSYcYScaSf`e4p4`aS`S
          Y4pSghfWWiWaYSpcScYScaSY4iWSuWS
          rWXcfWrS4aec4rSuScaSX`tfYS`SX`iy
          WYWaYStf4pr4XY4`aqSptXSrWX4p4`aSpcS
          a`YS4aec4rcYWSYWSWaY4fWSghfWWiWaYqS4YS
          uW4ahSYWSWdfWppS4aYWaY4`aS`SYWScfy
          Y4WpSWfWY`SYcYScS`YWfSf`e4p4`apSa`YS
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          Y4eWScYSUwoUSciS`aSYWSrcS``s4ahS
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          s`TqShhsqSuSYWSlaYWfacY4`acSka4`aqS
          ka4YWrSg4aWS`fWfpS`SgiWf4XcqSYcYS
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          cf`eWrSuSYWSiWiuWfp4SX`eWfWrS
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          Y4eWScYWSpcSuWSWXWiuWfSUqSwoUT
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          Y`SYWfi4acY4`aSuSW4YWfScfYSp4hacY`y
          fSWfWY`Sf4`fSY`SUwoUScTiTSmXY`uWfSwjqS
          wowwqSf`e4rWrqS`sWeWfqSYcYSW4YWfSYWS
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          pWX`arScfYSicSYWfi4acYWSY4pSghfWWy
          iWaYS`aS`fScYWfSUwoUScTiTSmXY`uWfSwjqS
          wowwqSuSh4e4ahScYSWcpYSp4dYSrcpSsf4Yy
          YWaSa`Y4XWSY`SYWS̀YWfScfYS̀ SptXSrWy
          p4fWrSYWfi4acY4`aSrcYWT
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          kxliSglxSmvvVSm~SS
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          Y4X4cYWS4aSYWSs`icanpSV`fYSiWfiS
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          carSWcfWSVtiicfSecaSWpXf4Y4`aqS
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            gSi`WWpSs4SuWSWdWXYWrSY`SpWWS
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          `S4aWppScarSitpYSfW`fYSY`SYWSecaYS
          gWr4XcSWcfYiWaYS`aScaScupWaXWS
          s4XSWdYWarpSY`SYWSY4frSrcT
            i`SfWXW4eWSr4pcu44YScqScaSi`y
          WWSitpYSptui4YSiWr4XcSr`XtiWaYcY4`aS
          Wdc4a4ahScarSX`afi4ahSbUdSYWSrcYWS
          YWSi`WWSuWXciWSr4pcuWrqSbwdSYWS
          iWr4XcSfWcp`apSsSYWSi`WWS4pS
          tacuWSY`Ss`fqSbtdSYWSXctpWS̀ SYWSr4py
          cu44YqS4Sa`saqScarSbdSYWSacYtfWqSpWy
          eWf4YScarSWdWXYWrSrtfcY4`aS̀ SYWSr4py
          cu44YTSSiWSgehmvqScYS4YpSWdWapWqS
          icSfWt4fWScaSWdci4acY4`aSuScSpWX`arS
          WcYSXcfWSf`e4rWfSrWp4hacYWrSuSYWS
          gehmvTSSlSYWSpWX`arSWcYSXcfWS
          f`e4rWfnpS`4a4`aSX`a±4XYpSs4YSYWS
          iWr4XcSr`XtiWaYcY4`aSptui4YYWrSuS
          YWSi`WWqSYWSgehmvqScYS4YpS
          WdWapWqSicSfWt4fWScSaWtYfcStcy
          4WrSY4frScfYSY`SX`artXYScaSWdciy
          4acY4`aScarSf`e4rWScSacScarSu4ar4ahS
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          tarWfSY4pSf`e4p4`aqS`fSc4pSY`Sptui4YS
          Y`SYWSWdci4acY4`apSpWX4WrSWfW4aqS
          YWSi`WWnpSXc4iS`fSr4pcu44YScS
          icSuWSrWa4WrT
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          cu44YSecSecaqSYWS̄fpYStSXcWarcfS
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          rcfSrcSYcYScaSWi`WWS4pSr4pcuWrScarS
          r`WpSa`YSfWXW4eWScaSX`iWapcY4`aSf`iS
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            E$ q8Br8A$$$            q8Gr@E$ q8GrIA$ q8Ir7E$ q@ArGA$ q@8r7E$
            F$ q@ArGA$ q@8r7E$ q@8rB7$ q@@r@F$ q@@rII$$$           $$
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       C'1'D$ h)i6)$ BQ4p$ 8@Q4p$ @EQ4p$ 7BQ4p$ EIQ4p$ F8Q4p$
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            F$ q@8r7@$ q@8rHI$ q@@r@I$ q@@rH@$ q@7rFG$$$           $$
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            F$ q@8rHB$ q@@rBE$ q@@rHF$ q@7rB8$ q@Er@G$$$           $$
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                   caatcS4i4YS`aS~Wd4uWSVWar4ahSgXy
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                   p4eWSr4pXfWY4`aTS
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                   4h4uWSY`ScfY4X4cYWS4aSYWSrWaWYpS`S
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          s`4XWSpWYS`fYS4aSgfY4XWSllqSVWXY4`aS
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          lTSgupWaXWSvW`fY4ahS
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          cXcY4`aSeWf4`rpS                           UÙUÙjoS
          vW`fY4ahSgWr4XcScarSS
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          lllTS`uSscpp4XcY4`apS
          vWyWectcY4`aS̀ S`upSSSSSSSSSSSSSSSSkarcYWr
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          sfWcY4`aS̀ SSVtuSS
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          VWWXY4`aS̀ SgcX4aWSVWYYWfpS SSSSjÙfÙjS
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          x`ficSV4YSVXWrtWpSSSSSSSSSSSSkarcYWrS
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          meWfY4iWSX`iu4aWrSs4YSS
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          r4fYrcSVXWrt4ahSgWi`SS
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          gWr4XcSg`4aYiWaYpSSSSSSSSSSSSSSSSSÙwUÙof
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          eWap4`aSVWfe4XWSsfWr4YSS                    ÙUÙotS
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          gcachWiWaYSv4hYpSSSSSSSSSSSSSSSSSSSUUÙUÙUw
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          X`aYfcXYSuWYsWWaSYWSl4`aSecaYScarS
          YWSka4`aqSicSuWSc`sWrSY`SfWpXWry
          tWSYWSecXcY4`aSrcpSYcYScfWSc WXYWrS
          uSYWpWSWfp`acSf`uWipT
          iWSWi`WWSitpYSXcSYWScaYSs4Y4aS
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          fWhtcfSpXWrtWrSp4YS4pSooSgTgTS
          Y`SttoSeTgTqSYWSWi`WWSitpYSXcSYWS
          caYSuW`fWStoSgTgTSSscpSY`SfW`fYS
          cSrWcYS4aSYWSci4SitpYSuWSicrWScpS
          p``aScpSYWSWi`WWS4pScscfWS`SYWS
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          WrScarSecXcY4`aSY4iWSfWpXWrtWrSucpWrS
          `aSYWSY4i4ahS`SYWSXcqStpSYWSftWpS
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          Wf4`rSYcYS4pSa`YScSecXcY4`aSptYr`saqS
          YWSitpYSpWcSY`SYW4fSptWfe4p4`aS
          `fS4pÙWfSptWfe4p4`aTSStf4ahScSfWXy
          `ha4¤WrSecaYSptYr`saqSYWSWi`WWS
          W4YWfSp`trScpS`fSYWSX`eWfchWSpty
          Wfe4p`fS`fSYWSWi`WWSfWcY4`apSpWXy
          Y4`aTSShWce4ahScSiWppchWSs4YSVWXtf4YS
          Wfp`aaWS`fScaYSvWXWY4`a4pYS4pSa`YS
          cXXWYcuWTSSi`WWpSicSX`aYcXYSVWy
          Xtf4YSY`SceWSYWSptWfe4p`fSchWrS4S
          YWSXcaa`YSfWcXSYWiSuS`aWTSSS
          WaSYWSWi`WWSfWYtfapSY`Ss`fScy
          YWfSYWSecXcY4`aSWf4`rqSYWSWi`WWS
          itpYSptScSa`YWSf`iSYW4fS`XY`fS
          s4XSpWX4XcSWdc4apSYWS4aWppS
          carSpWX4XcSa`YWpSYWSrcpSYWSWiy
          `WWpSscpS4Srtf4ahSYWSecXcY4`aSWy
          f4`rTSSi4pSa`YWSitpYSuWSrW4eWfWrSY`SYWS
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          smxsvlxSvemvilxSglsghS
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          f`XWrtfWpSX`aXWfa4ahSWi`WWScuy
          pWaXWpS`fSiWr4XcqSrWaYcS`fS`YWfScy
          `4aYiWaYp
          SSi`WWpScfWSfWt4fWrSY`S`uYc4aScS
             rcXSY`S`fSecppS4SYWScfWS̀tYS̀ S
             s`fS`fSYs`S`fSi`fWSrcpS`fSiWry
             4XcSfWcp`apTSSgp`qScS`XY`fnpSp4S
             itpYSuWStfa4pWrS`fScaSWf4`rS
             `SiWr4XcScupWaXWS`fSYs`S`fSi`fWS
             rcpTSSgpS`tSa`sqS`tfS4pcu44YS
             ecaSXcpS`fScaSWi`WWSY`SpWWS
             cS`XY`fSa`ScYWfSYcaSYWSpWX`arS
             XcWarcfSrcS̀ S4aWppqScarSYWS`Xy
             Y`fnpSp4Sf`e4rWpSf``SYcYSYWSWiy
             `WWScpSX`i4WrSs4YSY4pSf`e4y
             p4`aT
          SSlScaSWi`WWSr`WpSa`YSfWYtfaSY`S
             s`fScYWfSYs`SrcpS`SiWr4XcScuy
             pWaXWSb4aWppdqSptWfe4p4`aSitpYS
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             Y`SfW`fYSY4pScXYTSSiWS`aSscS
             ecaYSgWr4XcS4pScscfWSYcYScSWfp`aS
             4pS`tYSi`fWSYcaSYs`SrcpS4pS4S`tS
             XcSY`SfW`fYSY4pScXYTSSi4pSfW`fYy
             4ahS4pS4i`fYcaYS4aS`frWfS`fSecaYS
             gWr4XcSY`SWWSYfcXS`SWi`WWpS
             s`ScfWS`tYS`aSr4pcu44YScarSYWaS
             WSYWSWi`WWS4aSi`a4Y`f4ahS
             r4pcu44YScupWaXWpT
          SSlScaSWi`WWSWceWpSs`fSrtf4ahS
             `aWSp4YqSs4YSW4YWfScSecaYSgWry
             4XcSm y`fSecppS`fScSiWr4XcS
             c`4aYiWaYqSYWaSr`WpSa`YSfWYtfaS
             Y`Ss`fS`fSYWSaWdYSp4YS`Ss`fqS
             cSrcXSY`S`fSecppScarScS`XY`fnpS
             V4S4pSfWt4fWrSs4XSWdc4apSYWS
             fWcp`aS`fSYWSWi`WWnpSiWr4XcS
             cupWaXWTSSiWScXYSYcYScaSWi`y
             WWSfWpWaYpScS`XY`fnpSp4S4pSa`YScS
             htcfcaYWWSYcYSYWSWi`WWSs4SuWS
             c4rS`fSYWSY4iWS` qSutYSYWSp4S4pS
             fWt4fWrScarSs4Sh4eWSaWXWppcfS4ay
              `ficY4`aSs4XSs4SWS4aSYWSWiy
             `WWnpScSrWYWfi4acY4`aT

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          vemvilxSmkvSgrVxsSimS
          ehgxiSglsghSeiS S
          gthtpYSUqSUjj
          laScrr4Y4`aSY`ScaSWi`WWnpS`u4hcY4`aS
          Y`SfW`fYSYW4fScupWaXWSf`iSs`fSY`S
          YW4fS4iiWr4cYWSptWfe4p`fqSYWScp`S
          cfWSfWt4fWrSY`SfW`fYSYWScupWaXWSY`S
          YWScaYSgWr4XcSWcfYiWaYS4SYWScuy
          pWaXWS4pSWdWXYWrSY`SuWS`ahWfSYcaSYs`S
          bwdSrcpS4aSWahYTSSlSYWScupWaXWSs4S
          uWS`fScaSWdYWarWrSWf4`rS`SY4iWqSWiy
          `WWpScfWScp`SfWt4fWrSY`SX`aYcXYSYWS
          caYSiWr4XcSrWcfYiWaYS`aXWSWcXS
          sWWStaWppSYWSiWr4XcSrWcfYiWaYS
          4apYftXYpSYWSWi`WWSY`Sr`S`YWfs4pWTS
          i`WWpScp`SitpYSpWWSYW4fS̀saSy
          p4X4caS`aScaScupWaXWSWdYWar4ahSY`SYWS
          warSXcWarcfSrcS̀ S4aWppTS
          i`WWpSp`trSWWS4aSi4arSYcYS
          rtf4ahSYW4fScupWaXWqS4SYWScfWSfWXW4ey
          4ahScSf`iSvWi4ahY`aSY`S̄hWYSsWq°S4YS
          4pSp`SYWSXcaSfWYtfaSY`Ss`fScpSp``aScpS
          `pp4uWTSrW`fWScaSWi`WWSs4SuWSfWy
          YtfaWrSY`Ss`fqSYWSaWWrSY`ShWYScS̄ucXS
          Y`Ss`fScpp°Sf`iSYWSiWr4XcSrWcfYy
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          s``WfcY4`aSs4YSY4pScaSs4ScpptfWS
          YcYSYWSWi`WWnpSr4pcu44YScSs4S
          a`YSuWSrWcWrS̀fSWrStT
          CCBBCPC CESSSSSSSSSSSSSSSSSSSSSSSSSSSSSSSSSSSSSSSSSSSSS
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          tSUtqSUjfj
          VtWfe4p4`aSitpYSa`Y4SYWSgfWcSVYWsy
          cfrSsWaWeWfScSWfucScfa4ahS4pSh4eWaS
          `aScaSY`4XTSSx`Y4XcY4`aSY`SYWSgfWcS
          VYWscfrSicSuWScYWfyYWycXYS4aSYWS
          XcpWSsWfWScaSWi`WWSr`WpSa`YSfWy
          tWpYSka4`aSfWfWpWaYcY4`aSrtf4ahSYWS
          eWfucSscfa4ahSiWWY4ahTSS{`sWeWfqSYWS
          a`Y4XcY4`aSitpYSuWSicrWSuW`fWSYWS
          eWfucSscfa4ahS4pSfWX`frWrS`aSYWSguy
          pWaYWWSvWX`frT
          vsmvVSm~SlxivlSbvmlnpdSS
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          gcSUtqSUjjo
          s`4WpS`SvmlnpSs4Sa`YSuWSWYS4aScaS
          Wi`WWnpS¯±``f°SWTSSmf4h4acSX`4WpS
          `SvmlnpScfWSfWYc4aWrS4aSYWSWi`WWnpS
          ¯eWfp`aaW°SWqSsWfWuSYWScfWSpWaYS
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          `tYS`fSfWe4WsS̀aScSWf4`r4XSucp4pTSSgSfWy
          X`frS`ScSr4pX44acfScXY4`aSitpYSuWS
          `hhWrS`aScaSWi`WWnpS¯i`iWaYS
          {4pY`f°SY`hWYWfSs4YScScupWaXWpTSS
          m~~vlxSkxlmxSvevVxilmxS
          gthtpYSUUqSUjj
          maWS̀ SYWSf`e4p4`apS̀ SYWSxcY4`acShcy
          u`fSvWcY4`apSgXYS4pSYWS̀u4hcY4`aS̀ SYWS
          Wi`WfSY`Sc`sSWi`WWpSYWSf4hYS
          Y`Sta4`aSfWfWpWaYcY4`aSrtf4ahScaSr4py
          Xtpp4`aSs4XScpSYWS`YWaY4cS`SWcry
          4ahSY`SWi`WWSr4pX44aWTSkptcqSYWS
          Wi`WWS¯Yf4hhWfp°SY4pSuSfWtWpY4ahS
          fWfWpWaYcY4`aScarSgcachWiWaYS`a`fpS
          ptXSfWtWpYTSSgcachWiWaYSs4S̄` Wf°S
          caSWi`WWSYWSf4hYSY`SfWfWpWaYcY4`aS
          sWaWeWfSr4pXtpp4`apSX`trSWcrSY`Sr4py
          X44aWScarSptWfe4p`fpScfWSWaX`tfchWrS
          Y`Sr`Sp`T




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          vmlpSvvilxSimS
          vrghSgvxlxVS
          ySevmrgilmxgvSgehmVS
          mXY`uWfSqSwooScpSi`r4WrSS
          x`eWiuWfSUqSwoUwS
          ~`fStf`pWpS`SgfY4XWSlSbWdS`SYWS
          às`WXY4eWSrcfhc4a4aháSghfWWiWaYqScaS
          r4pX44aWS4pptWrSrtf4ahSYWSfpYS`aWS
          tarfWrSW4hYSbUfodSXcWarcfSrcpS`S
          Wi`iWaYSs4SuWScYSYWSvmlSef`ucY4`aS
          VYWScarSs4SfWic4aS̀aSYWSi`WWnpS
          fWX`frScarSuWStpWrS4aSrWYWfi4a4ahSptuy
          pWtWaYSr4pX44aWStaY4SYWSi`WWS
          cpSX`iWYWrS̀aWStarfWrSW4hYSbUfodS
          XcWarcfSrcpS`SWi`iWaYTSSiWSiy
          `WWSs4Sa`YSuWSfWt4fWrSY`SpWfeWScaS
          ptpWap4`aS4S4pptWrScaSvmlSef`ucY4`aTS
          maXWSYWSWi`WWScpShc4aWrSpWa4`f4YS
          b4TWTqSt`aSX`iWY4`aS`S`aWStarfWrS
          W4hYSbUfodSXcWarcfSrcpS`SWi`y
          iWaYdScaSptupWtWaYSr4pX44aWSpcS
          uWS`fStpYSXctpWS4aScXX`frcaXWSs4YSYWS
          YWfipS`SYWSghfWWiWaYTSSk`aSYWS`aWS
          tarfWrSW4hYSfpYSbUfUpYdSXcWarcfS
          rcS`SWi`iWaYqScaSr4pX44aWS`aS
          YWSi`WWnpSfWX`frSs4SfWeWfYSY`ScS
          eWfucSscfa4ahTS
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          lVslehlxS
          WXWiuWfSUqSwoU
          ~`fSYWSp`WScarS4i4YWrStf`pWS`ScYy
          YWarcaXWSfWcYWrSr4pX44aWqS4aSYWSWeWaYS
          YcYScaSi`WWSs`ScpSfWXW4eWrScS
          x`YWSY`S~4WSrtWSY`ScaScYYWarcaXWSfWcYy
          WrS4pptWSfWXW4eWpScSptupWtWaYSvWX`frS
          `SlaYWfe4WsS`fScaScYYWarcaXWSfWcYWrS
          4pptWSb¯vml°dqSpc4rSvmlSpcSfWeWfYSY`S
          cSx`YWSY`S~4WSf`e4rWrSYWSi`WWS
          r`WpSa`YSfWXW4eWScaScYYWarcaXWSfWcYy
          WrSr4pX44aWS`fSYWSp4dSbdSXcWarcfS
          i`aYpS`ScXY4eWSX`aY4at`tpSWi`y
          iWaYS``s4ahSYWSrcYWS`S4pptcaXWTSSlaS
          YcYSWeWaYqSYWaSYWSvmlSYcYS4pSX`aeWfYy
          WrSY`ScSx`YWSY`S~4WSicSuWStpWrScpSYWS
          ucp4pS`fSptupWtWaYSf`hfWpp4eWSr4pX4y
          4acfScXY4`aSa`YScYWfSYcaSYsWeWSbUwdS
          i`aYpS`ScXY4eWSX`aY4at`tpSWi`y
          iWaYS``s4ahSYWSrcYWS`SYWS4pptcaXWS
          `SYWSvmlSYcYSscpSX`aeWfYWrSY`ScSx`YWS
          Y`S~4WTSSlaSYWSWeWaYSYcYScaSi`WWnpS
          vmlS4pSX`aeWfYWrSY`ScSx`YWSY`S~4WqScSptuy
          pWtWaYSvmlS4pSa`YSptuWXYSY`SX`aeWfp4`aS
          Y`ScSx`YWSY`S~4WS`fS`aWSWcfS``s4ahS
          YWS4pptcaXWS`SYWS`f4h4acSvmlSYcYS
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          scpSX`aeWfYWrSY`ScSx`YWSY`S~4WTSS
          rSscS`SWdciWqS4ScaSi`WWScpS
          caScYYWarcaXWSfWcYWrSx`YWSY`S~4WS4py
          ptWrS`aScatcfSUqSwoUfqScarSYWaSfWy
          XW4eWpScaScYYWarcaXWSfWcYWrSvmlS`aS
          ~WuftcfSUqSwoUfqSYWaSf`e4rWrSYWSiy
          `WWSr`WpSa`YSfWXW4eWScaScYYWarcaXWS
          fWcYWrSr4pX44aWSuW`fWSgthtpYSUqSwoUfqS
          YWaSYWSvmlS4pptWrS̀aS~WuftcfSUqSwoUfS
          pcSfWeWfYSY`ScSx`YWSY`S~4WSYcYSicS
          uWStpWrScpSYWSucp4pS`fSptupWtWaYSf`y
          hfWpp4eWSr4pX44acfScXY4`aStaY4S~Wufty
          cfSUqSwoUjTSS
          x`Ys4YpYcar4ahSYWS`fWh`4ahqScSfWy
          X`frpS`Si`WWSr4pX44aWS`aSpcS
          fWic4aS4aScaSi`WWnpSWS4aS{ticaS
          vWp`tfXWpT
          CCCBBP 5CöCP5uC
          vyghkgilmxSm~SmrVSrgVSmxS
          Vlxl~lsgxiSs{gxS
          karcYWrScpSi`r4WrSx`eWiuWfSUqSwoUwS
          iWSX`icaScarSYWSka4`aSchfWWSYcYS
          YWSWf4`r4XSfWyWectcY4`aS̀ S`upSucpWrS
          `aScSp4ha4XcaYSXcahWS4aS`uSfWp`ap4y
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          u44Y4WpS4pSaWXWppcfTSSlaS̀frWfSY`SW WXYty
          cYWSY4pS`4XqSYWScfY4WpSchfWWSY`SYWS
           ``s4ah
          UTS`upSs4S`aSuWSfWyWectcYWrSsWaS
              YWSfWp`ap4u44Y4WpS`fSYWSp4pS
              fWt4fWrSY`SWf`fiSYWS`uSceWS
              XcahWrSp4ha4XcaYqSptXScpSsWaS
              YWfWS4pSYWScrr4Y4`aS`fSrWWY4`aS`S
              `aWS`fSi`fWSicX4aWS`WfcY4`apqS`fS
              sWaSYWSs`fSf`XWppSXcahWpSY`S
              ptXScSp4ha4XcaYSWdYWaYSYcYS4YS4pS
              4WSY`SXcahWSYWSWectcY4`aSuS
              `aWS̀fSi`fWScu`fShfcrWpTSSi4pS4pSa`YS
              iWcaYSY`SuWScS4aXtp4eWT
          wTSWaScS`uS4pSthfcrWrScpScSfWptYS
              `SYWSfWyWectcY4`aqSYWfWSpcSuWS
              a`SucXScS4cu44YS4pptWpStaY4S
              W4hYSbfdSsWWpScYWfSYWSX`icaS
              cpSuWWaSa`Y4WrS`SYWSaWWrS`fS
              fWyWectcY4`aT
          tTSWaScS`uS4pSr`sahfcrWrqSYWS4ay
              XtiuWaYpS̀ SYWS`uSpcSceWSYW4fS
              Wd4pY4ahScShfcarcYWfWrS`fScSWy
              f4`rS`S`aWSbUdSWcfSf`iSYWSrcYWS
              YWSaWsSWectcY4`aSYcWpSW WXYqS
              taWppSYWSWi`WWSX``pWpSY`SuWS
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             WWpSs`SX``pWSY`SuWSWdXWppWrSpcS
             `aSceWSf4hYpSY`SS̄`Wa°SfWt4y
             p4Y4`apSYcYSfWpWfeWSYW4fSWeWScarS
             p4YTSSiWSaWsSWectcY4`aScarSfcYWqS
             pcSYcWSW WXYS4iiWr4cYWS`fScS
             Wi`WWpSs`Su4rSY`SYWS`uqS̀fScfWS
             cXWrS`aSYWS`uScpScSfWptYS`ScaS
             WdXWppqSiWr4XcScXWiWaYqS`uSr4py
             tc4XcY4`aqS`fScaS`YWfSfWcp`aTS
             g YWfS̀aWSbUdSWcfqScS4aXtiuWaYpS4aS
             YWS`uSpcSuWSc4rScYSYWSaWsSfcYWT
          TSgaSWi`WWSs`S4pSr`sahfcrWrS
             cpScSfWptYS`ScaSWectcY4`aSpcS
             ceWSYW4fSu4rSf4hYpSfWpY`fWrS4SYWS
             `pYSptXSf4hYpS`fScaSfWcp`aT
          TSx`SUSgcX4aWSmWfcY`fSs4SuWS
             WectcYWrScYSWppSYcaScShcu`fSfcrWS
             ifWWSbtdS`fSYWSrtfcY4`aS̀ SYWSXtfy
             fWaYSchfWWiWaYT
          TSef4`fSY`Sthfcr4ahS̀fSr`sahfcr4ahScS
             `uScpScSfWptYS̀ ScSfWyWectcY4`aqSYWS
             ka4`aSpcSuWSa`Y4WrTSSgaSr4ptYWS
             cpSY`SYWSthfcr4ahS`fSr`sahfcr4ahS
             `ScS`uSs4SuWSptuWXYSY`SYWSVWYy
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              YWiWaYS`S4ptYWpSf`XWrtfWSpWYS
               `fYS4aSgfY4XWSS`SYWSs`WXY4eWS
              rcfhc4a4ahSghfWWiWaYT
          wShhSSegvigxighS
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          S gtpYSuWScuWSY`StSWf`fiSfSY`S
              UoS`upTSSbiWfWSicSuWSWdXWY4`apS
              YcYSscffcaYSX`ap4rWfcY4`ad
          S gtpYSiWWYScXXWYcuWSpcWYSpYcay
              rcfrpT
          S gtpYSiWWYScSf`rtXY4`aSpYcarcfrpS
              `aScS`upSY`SuWSWf`fiWrT
          S gtpYSceWScXXWYcuWStc4YSpYcay
              rcfrpT
          S gtpYSceWScXXWYcuWScYYWarcaXWS
              fWX`frTSSrSscS`SWdciWqScSXcay
              r4rcYWSs`trSuWSr4ptc4WrS4SWÙ
              pWScpScSa`YWS4aSWS̀fS4hWfSWeWS
              `Sr4pX44aWSYcYScpSa`YSuWWaSfWy
              i`eWrStfptcaYSY`SgfY4XWSlSVWXy
              Y4`aSbWdS̀ SYWSs`WXY4eWSrcfhc4a4ahS
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              `eWfY4iWT
          w#)$)&")%(
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          XcahWS`ScSpYcYtpSs4YSYWS4aXtp4`aS
          `Sr4pXtpp4ahSXcahWSs4YS{ticaSvWy
          p`tfXWpSY`SWaptfWSX`ap4pYWaXS4aScScfy
          WcpT
          w#)y#x$(
          h4i4YWrSY`SUSgcX4aWSh4aWSmWfcy
          Y`fp0Sef`hfWppSY`SoywSWcfYiWaYcS
          VWX4c4pY
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          i`WWpSf`i`YWrSY`SwSitpYSX`ay
          Y4at`tpSiWWYScSfWt4fWiWaYpS`fSicS
          `pWS4YS4S̀YWfs4pWT
          laSWeWaYSwSWceWpSWcfYiWaYS`fScaS
          fWcp`aqSWceWpScpSotÙUT
          laSWeWaYS̀ SvWrtXY4`aÙvWc4haiWaYqSwS
          Wi`WWpSX`ap4rWfWrSotÙUT


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          svgilmxSm~SSVkrSgVVgrhS
          VeslghlViSS                     S
          mXY`uWfStUqSwoUo
          iWScfY4WpSchfWWSY`SYWS``s4ah
          UTSStyUS`p4Y4`apScYYcXWrSY`SYWSooS
              4aWSs4SuWSXcpp4WrScpSSWeWStS
              VtuSgppWiu
          wTSsfWcY4`aScarSef`hfWpp4`aSf`iSVtuS
              gppWiuSbs`rWSSyWeWtdSY`SVtuS
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          S bs`rWSSyWeWSdSucpWrS`aScYy
              YcXWrSvWt4fWiWaYpScarSt4rWy
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          tTSSef`hfciS4pS4i4YWrSY`SSVtuSgpy
              pWiuS`upSs4Y4aSYWSXWaYWfSfWS
              cppWiuScfWcT
          i4pSchfWWiWaYS4pSicrWSs4Y`tYSpWYY4ahS
          fWXWrWaYScarSs4Sa`YSuWS`4aYWrSY`S4aS
          caS4WS`fSp4i4cfSp4YtcY4`apSa`sS`fS4aS
          YWStYtfWTSi4pSpWYYWiWaYS4pScp`Sptuy
          WXYSY`ScSX`aY4ahWaX4WpS`tY4aWrS`aScYy
          YcXWrSvWt4fWiWaYpScarSt4rW4aWpT

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          ShhSSVkrgVVgrhS
          VeslghlViSS                     S
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          SgtpYSuWScuWSY`StSWf`fiSfyUoS
             VtuygppWiuS`upS4aSooSh4aWSÙSxWsS
             WaSÙwwSh4aWS̀WfcY4`apTSbiWfWSicS
             uWSWdXWY4`apSYcYSscffcaYSX`ap4ry
             WfcY4`ad
          SgtpYSiWWYScXXWYcuWSpcWYSpYcay
             rcfrpT
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             cS`upSY`SuWSWf`fiWrT
          SgtpYSceWScXXWYcuWStc4YSpYcay
             rcfrpT
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             r4rcYWSs`trSuWSr4ptc4WrS4SWÙ
             pWScpScSa`YWS4aSWS̀fS4hWfSWeWS
             `Sr4pX44aWSYcYScpSa`YSuWWaSfWy
             i`eWrStfptcaYSY`SgfY4XWSlSVWXy
             Y4`aSbWdS̀ SYWSs`WXY4eWSrcfhc4a4ahS
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          4aWScpp4haiWaYpSf`i`Y4`aSs4S``sS
          a`ficSf`XWrtfWScpS4aScaSXcahWS`S
          cSpYcYtpSs4YSYWS4aXtp4`aS̀ Sr4pXtppy
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          WaptfWSX`ap4pYWaXS4aScScfWcpT
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          i`WWpSf`i`YWrSY`SSitpYSX`ay
          Y4at`tpSiWWYScSfWt4fWiWaYpS`fSicS
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          laSWeWaYSSWceWpSWcfYiWaYS`fScaS
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          laSWeWaYS̀ SvWrtXY4`aÙvWc4haiWaYqSS
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          ggs{lxSViivSvehgsgxiS
          evmskvS                        S
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          s4SuWStpWrSY`SSpciW
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              pciWSWcfYiWaYScpS̀Wa4ahT
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              WWpqSpWWXYS f`iSgfWcSgcachWfnpS
              cfWcScpS̀Wa4ahTSSSS
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              WWpqSYWS`p4Y4`aSs4SuWS`pYWrS
              caYys4rWScXX`fr4ahSY`SYWS`uSr4ry
              r4ahScarSe`pY4ahSef`XWrtfWT
          S lSYWS`p4Y4`aS4pSa`YSWrSYf`thS
              YWScu`eWSf`XWrtfWqSYWS`p4Y4`aS
              s4SuWS`pYWrScpScSYfc4a4ahSu4rScXy
              X`fr4ahSY`SYWS`uSr4rr4ahScarSe`pYy
              4ahSef`XWrtfWTSSifc4a4ahSs4SuWSh4ey
              WaSuSrWcfYiWaYqSs4YScpp4pYcaXWS
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              fWc4fpÙrtY4WpS4aSYcYScfWcTS

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          r4dSrS`S`tfSghfWWiWaYSbYWS¯stffWaYS
          gWar4dSr°dqSY4pSXcfYS4ar4XcYWpSYWS
          c4XcuWScSWeWScarSYWSX`ffWy
          p`ar4ahS`uSX`rWpSf`iSgWar4dSrS̀ S
          YWSf4`fSX`WXY4eWSucfhc4a4ahSchfWWy
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          `uSrWpXf4Y4`apSc4XcuWSY`SWcXS`S
          YWS`uSX`rWpSX`aYc4aWrS4aSYWSef4`fS
          gWar4dSrSs4SX`aY4atWSY`ScSY`S
          WcXS`SYWSX`ffWp`ar4ahS`uSX`rWpS4aS
          YWSstffWaYSgWar4dSgTSSS~`fStf`pWpS
          `SgfY4XWSlqSVWXY4`aSbWdqSYWS`uSs`rWS
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       UVW3 XVp3                     qb`h3rcb`hbc3                   W3              q
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       UVW3 XpU3 e`     stfgb3ufgb3vwbcix3ytbba`bcx3vwbc`hb3
                     `g3e`fgh̀fg3y`tbcx3fw`hst3vwbc`hc3         W3              q
       UVW3 XXU3                         `sbc3                     W3              q
       UVW3 XVV3                    c 33ab`g3                    W3              q
       UVW3 X3                    bad3                     W3              q
       UVp3 V3              cb`3ebh̀a3 wi3bw`fc3               p3              q
       UVp3 X3               fg`a3ix3hf3fabc3             p3              q
       UVp3 V3                 fgft3y 3bw`fc3                  p3              q
       UVp3 XVd3                 qb`h3rcb`h3egwbshc3                p3              q
       UVp3 XV3           qb`h3rcb`hbc3wbsix3r cst3c`f3           p3              q
       UVp3 XW3                        egw`s3                     p3              q
       UVp3 XV3                        egwbsh3                     p3              q
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       UVp3 VV3                      e`jg`ak3                     p3              u
       UVp3 VW3                    ebh̀a3fgftbc3                  p3              u
       UVp3 XV3                        aftbc3                     p3              u
       UVp3 X3 thjg3u3`ixegwbshxbw`fc3                 p3              u
       UVp3 XU3                    rbh33r`cjbh3                   p3              u
       UVp3 XVX3                    rcfji3ai3i3                 p3              v
       UV3 WhX3               li3cb`3e`sti3bhhbc3               3              v
       UV3 Uh3                    Y`aabcd3ub`bc3                  3              v
       UV3 WdU3                    ci3e3wbsi3                   3              v
       UV3 V3                  ci3ebh̀a3fgftbc3                3              v
       UV3 Ud3              cshfg3Ycw3ub`bc3                  3              v
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       dVW3 dd3 Yb    gmai3e`fghi3ebstir a33e ba3e`bcx3
                      fwbfhhbcx3ybabc333e`sti3bw`fcrc`fgbb3      W3              v
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       dVp3 ddp3             hhbc3Ycfg3wbsi3egwbshc3            p3              v
       dVp3 UUW3                      nabshcfsf̀g3                   p3              v
       dVp3 Ud3                 Ybgmai3e`fghi3ebsti33               p3
       dVp3 U3             q`oi3e`hbcf̀a3q`gabc3wbsi3            p3              s
       dVp3 UhU3                  e`sti3bw`fc`g333                 p3              s
       dVp3 Ud3                       fwbfhhbc33                  p3              s
       dVp3 UWU3            r a33e ba`bc3Wc3à3              p3              s
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  W3           qrsp wvqp            yppzypzpwpp           sp
  p3           qrsp wup        yppzyzpq pyp             sp
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                             Y`Ss`fS`aScStScpp4haiWaYS4aS
                             YWSaWcfStYtfWT
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                              `fSWfp`acSfWcp`apSptXScpSY`S
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          tf4ahSYWSY4iWS̀ Sc` qSYWfWS4pScaS̀y
          Y4`aSW`WSicSfWtWpYSs4XS4pSXcWrS
          `taYcfShWceWSm SgupWaXWSbhmgdTSSgS
          Wfp`aSs`S4pSa`YS̀aSYWScS̀ S4pYSicS
          fWtWpYScShmgS4SYWSWceWSiWcapSYcYS
          p`iW`aWS`aSYWSc` S4pYSs4SuWSpceWrS
           f`iSc` TS
          iWShmgSitpYSuWS`fSp4dSi`aYpScarS
          YWSWfp`aSs`SYcWpSYWShmgSXcaa`YS
          fWYtfaSY`Ss`fS4aSWppSYcaSp4dSi`aYpS
          taWppSYWfWS4pScSfWXcSrtf4ahSYcYSWf4y
          `rTSSgYSYWSWarS̀ Sp4dSi`aYpqSYWSWfp`aS
          itpYSicWScSrWX4p4`aSÝSfWYtfaSY`Ss`fqS
          fWp4haS`fSYcWScSWap4`aqS4SW4h4uWTS
          gp`qSrtf4ahSYWSWf4`rSYWSWfp`aS4pS̀tYS
          `Ss`fS`aShmgqSYWSXcaa`YSX`WXYS
          kaWi`iWaYSlaptfcaXWSuWaWYpScarS
          YWfWS4pSa`ScSf`iSvWi4ahY`aT
          lScSWfp`aSYcWpScShmgqSYWSY`SpWy
          a4`f4YSWfp`aS`aSYWSc` S4pYSs4SuWS
          pceWrS`fSp4dSi`aYpTSSlScYSYWSWarS̀ Sp4dS
          i`aYpSYWShmgSWfp`aSX``pWpSY`SfWy
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          YtfaSY`Ss`fqSYWSWfp`aSs`SscpSpceWrS
          s4SuWSc4rS` SbrWWar4ahS`aSutp4aWppS
          X`ar4Y4`apScYSYWSY4iWdTSSlSYWShmgS
          Wfp`aSr`WpSa`YSfWYtfaSY`Ss`fScYWfSp4dS
          i`aYpqSYWSWfp`aSs`SscpSfWYc4aWrS
          s4SX`aY4atWSWi`iWaYT
          gSWfp`aSs`SYcWpShmgSs4Sa`YSaWXy
          Wppcf4SfWYtfaSY`Ss`fS`aSYW4fSfWpWaYS
          cpp4haiWaYScYWfSYWSp4dSi`aYpSWf4y
          `rTSlSYW4fSXtffWaYScpp4haiWaYS4pSWrS
          s4WSYWScfWSh`aWqSYWSs4SuWSYfWcYWrS
          cpScaSWdXWppSWfp`aSsWaSYWSfWYtfaSY`S
          s`fTSS
          rW`sS4pScaSWdcacY4`aS`SYWSuWaWYpS
          c `frWrSY`SWi`WWpSs`SfWtWpYScS
          hmgT
          rx~liSsmvgS~mvS
          gehmVS{mSgvSvgxiSS
          gShmg
          egSySiWfWS4pSa`Ss`icaScSrtf4ahS
          YWSp4dSi`aYpS̀ ScShmg¥
          kxgehmgxiS lxVkvgxsS yS
          iWfWS4pSa`SkaWi`iWaYSlaptfcaXWS
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          VvlsÙVxlmvliSySVWfe4XWScarS
          pWa4`f4YSX`aY4atWSY`ScXXftWSrtf4ahScS
          hmg¥
          exVlmxSsvliSySeWap4`aSXfWr4YSX`ay
          Y4atWpSY`ScXXftWSrtf4ahScShmg¥
          xmxysmxivlrkimvSvmkeShl~S
          lxVkvgxsSbsmgegxyegldSySs`ay
          Y4atWpSrtf4ahScShmg¥
          smxivlrkimvSvmkeShl~Slxy
          VkvgxsSbgehmyegldSySgcS
          X`aY4atWSrtf4ahScShmgqSutYSYWSWiy
          `WWSitpYSfWycSWcXSi`aYnpSfWy
          i4tip¥
          VglxVSgxSlxVigxiSehgxS
          bVledSySs`aY4atWpSrtf4ahScShmgqSutYSa`S
          X`aYf4utY4`apSicSuWSicrWT
          gsgilmxSsvliSyScXcY4`aSXfWr4YS
          X`aY4atWpSY`ScXXftWSrtf4ahScShmgqSutYS
          a`SecXcY4`aSicSuWSYcWa¥
          gsgeSglsghÙVkvlsghSsmy
          vgSySgsgeSX`aY4atWpSrtf4ahScS
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          xighSgVVlVigxsSehgxSySgeS
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          V{mviyivgSlVgrlhliSehgxSyS4py
          cu44YSciWaYpScfWSa`YSicrWSrtf4ahScS
          hmg¥
          iklilmxSv~kxSevmvggSySit4y
          Y4`aSfWtarSX`aY4atWpSrtf4ahScShmgT
          ~ghgSklhlxVS                S
          mXY`uWfqSwoo
          vWi4ahY`aSgfipSs`icaSSbYWSs`iy
          cadSs4ShfcaYStSY`SUwSsWWpS`S~ciy
          4ScarSgWr4XcSb~ghgdSWceWSY`SW4h4y
          uWSWi`WWpS4aScXX`frcaXWSs4YSYWS
          ~ci4ScarSgWr4XcShWceWSgXYS`SUjjtS
          b~ghgdTSSWWar4ahSt`aSYWSX4fXtiy
          pYcaXWpS`SYWSWceWqSYWSWceWSicSuWS
          c4rqStac4rqS`fScSX`iu4acY4`aS`Sc4rS
          carStac4rSWceWpT
          iWS~ghgSc`spSW4h4uWSWi`WWpSY`S
          YcWS`uyf`YWXYWrqStac4rSWceWqS`fScy
          f`f4cYWScXXftWrSc4rSWceWSb¯~ghgS
          WceW°dqS`fStSY`ScSY`YcS`SUwSs`fy
          sWWpS4aScaSwyi`aYSWf4`rSuWXctpWS
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          SSiWSu4fYS`ScaSWi`WWnpSX4rS`fS
              Y`SXcfWS`fSYWSaWsu`fa¥S
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          S iWScXWiWaYS`ScSX4rS`fScr`y
             Y4`aS̀fS`pYWfSXcfWSs4YScaSWi`WWS
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          S i`SXcfWS`fSYWSWi`WWnpSX4rqS
             p`tpWqS`fScfWaYSs`ScpScSpWf4`tpS
             WcYSX`ar4Y4`a¥S̀fS
          S rWXctpWS`ScSpWf4`tpSWcYSX`ar4y
              Y4`aSYcYSicWpSYWSWi`WWStay
              cuWSY`SWf`fiSYWStaXY4`apS̀ S4pÙ
              WfS`uTS
          V`tpWpSs`ScfWSu`YSWi`WrSuSYWS
          s`icaScfWSWaY4YWrSY`ScSX`iu4aWrS
          Y`YcS`SUwSsWWpnSWceWSbfcYWfSYcaSUwS
          sWWpSWcXdS4aScaSwyi`aYSWf4`rS`fS
          u`ar4ahSbYWSu4fYqScr`Y4`aS`fS`pYWfS
          XcfWScXWiWaYScarSptupWtWaYSXcfWS`S
          cSX4rdS`fS`fSYWSXcfWS`ScScfWaYSs4YS
          cSpWf4`tpSWcYSX`ar4Y4`aTS
          iWSUwyi`aYSWf4`rS4pScSf`4ahSUwS
          i`aYpSiWcptfWrSucXscfrSf`iSYWS
          rcYWSYWSWi`WWScpYStpWpScaS~ghgS
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          i`SuWSW4h4uWS`fS~ghgSWceWqScaSWiy
          `WWSitpYSceWSuWWaSWi`WrSuSYWS
          s`icaS`fScYSWcpYSUwSi`aYpScarS
          itpYSceWSs`fWrScYSWcpYSUwoS`tfpS
          rtf4ahSYWSwyi`aYSWf4`rSfWXWr4ahS
          YWSuWh4aa4ahS`SYWSWceWTSiWSWi`y
          WWSitpYScp`Sf`e4rWScf`f4cYWSiWr4y
          XcSXWfY4XcY4`aS`fS~ghgSWceWSrtWSY`S
          cSpWf4`tpSWcYSX`ar4Y4`aTS
          i`WWpSp`trSX`aYcXYSYWSgWr4XcS
          WcfYiWaYS `fS tfYWfS4a`ficY4`aS
          X`aXWfa4ahS~ghgT
          glhligvShgSemhlsS S
          mXY`uWfqSwoo
          vWi4ahY`aSgfipSs`icaSs4ShfcaYS
          i44YcfSWceWpScpSfWt4fWrSuSka4y
           `fiWrSVWfe4XWpSi`iWaYScarSvWy
          Wi`iWaYSv4hYpSgXYS̀ SUjjSbkVvy
          vgdTSSi`WfpScfWSf`4u4YWrSf`iS
          r4pXf4i4acY4ahSchc4apYSWi`WWpS4aSfWy
          hcfrSY`S4f4ahqSYWfi4acY4ahqSf`i`Y4`aqS
          Yfc4a4ahqS`fScaS`YWfSWi`iWaYSuWay
          WYpS`fScrecaYchWpS`fSYWSWi`WWpnS
          cpYqSfWpWaYqS`fStYtfWScfY4X4cY4`aS4aS
          YWSta4`fiWrSpWfe4XWpT
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          i`WWpSitpYSf`e4rWScrecaXWSa`y
          Y4XWS̀ Si44YcfSpWfe4XWSWceWSY`SvWi4ahy
          Y`aTSSgSsf4YYWaSa`Y4XWS`S`frWfpSp`trS
          uWSh4eWaSY`SYWSptWfe4p`fTSSi`WWpS
          s`ScfWSWa4pYWrS4aSxcY4`acStcfrqS
          vWpWfeWpqS`fStyY4iWSWa4pYiWaYS4aSYWS
          gfiWrS~`fXWpSp`trSuWSfWWffWrSY`S{ty
          icaSvWp`tfXWpS`fSf`WfScWfs`fS
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          `WWpSs`ScfWScu`tYSY`SWaYWfScXY4eWS
          i44YcfSYfc4a4ahScarSpWfe4XWS`fSYWS
          fpYSY4iWSbrfcYS̀fSWa4pYiWaYSÝShWaWfcy
          ScSi4a4itiS̀ S̀aWSbUdSWcfdT
          4h4u44YSgaSWi`WWSs`ScpS`aWS
                        bUdSWcfS̀fSi`fWS̀ SpWfe4XWT
          ecSSS iWSWi`WWSs4SuWShfcaYy
                        WrScSecXcY4`aSc`scaXWS`fS
                        caSecXcY4`aSY`Ss4XSYWS
                        icSuWSWaY4YWrScYSYWSY4iWS
                        `SYWfi4acY4`aTSS
          i4iWS̀ SSSlaSXcpWpSsWfWSfWh4pYfcY4`aS
                        `fSp4XcSWdci4acY4`aS`fS
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                           cXY4eWSi44YcfSpWfe4XWS4pS
                           a`YSWcp4uWScYS`YWfSYcaS
                           pXWrtWrSs`f4ahS`tfpqS
                           Wi`WWpSp`trSuWSh4eWaS
                           ptX4WaYSY4iWS` SY`SfWh4py
                           YWfS`fSuWSWdci4aWrSrtf4ahS
                           YW4fS fWhtcfS s`f4ahS
                           `tfpTSSef`WfSr`XtiWay
                           YcY4`aSp`trSuWSf`e4rWrS
                           Y`SptWfe4p4`aTSSvWh4pYfcy
                           Y4`aS`fSp4XcSWdciSs4S
                           uWSX`ap4rWfWrScS¯eWfp`acS
                           dXtpWr°Stac4rScupWaXWTS
                           ¯g44YcfSvWh4pYfcY4`a°S`fS
                           ¯g44YcfSep4Xc°Sp`trS
                           uWSa`YWrS4aSYWSX`iiWaYS
                           pWXY4`aS̀ SYWSY4iWSpWWYT
          VWfe4XWSSS iWSWi`WWSs4SuWSW4y
                      h4uWS`fSfWy4fWSt`aSX`iy
                      WY4`aS`Si44YcfS`u4hcy
                      Y4`aScpS`ahScpSWahYS`S
                      i44YcfSpWfe4XWSr`WpSa`YS
                      WdXWWrSeWSbdSWcfpTSSiWS
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                      Y`S4pÙWfS`fiWfS`p4Y4`aS
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                         rWXcfWrSWdXWppWrScarÙ̀fS
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          wzx2zãà"$zÜÝ"Þ"&x#ßÜà#x"%"%yÜäz'z#ÛzÜ
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          bi`WWSs`Se`taYcf4S`4apSYWS
          xcY4`acStcfryShWaWfcSYfWWSY`Sp4dS
          i`aYpSYfc4a4ahdTSS
          4h4u44YSSSgaSWi`WWSs`ScpSS
                         `aWSbUdSWcfS`fSi`fWS`SpWfy
                         e4XWTSS
          S              iWSWi`WWSp`trSptuy
                         i4YScSX`S̀ S4pÙWfS̀ X4cS
                         `frWfpyY`yfW`fYSY`SYfc4a4ahS
                         Y`S4pÙWfSptWfe4p4`aT
          ecS gXXftWrS ecXcY4`aS Y4iWS
                         icSuWSYcWaSf4`fSY`Si4y
                         4YcfSWceWS`fSsWaSYWS
                         Wi`WWSfWYtfapSY`Ss`fS
                          ``s4ahSfWWcpWSf`iSptXS
                         rtYScpS`ahScpS4YS4pSs4Yy
                         4aSYWSpciWSXcWarcfSWcfTS
                         cXcY4`aSY4iWSs4Sa`YSuWS
                         cXXftWrSrtf4ahSi44YcfS
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                           cupWaXWTSSecS4aS4WtS`Secy
                           XcY4`aSs4SuWScec4cuWS4S
                           YWSWi`WWS4pStacuWSY`S
                           YcWScXXftWrSecXcY4`aSf4`fS
                           Y`qS`fSt`aSfWYtfa4ahSf`iS
                           i44YcfSYfc4a4ahTSScXcY4`aS
                           fWt4fWrS `fSrWp4hacYWrS
                           ptYr`sapSitpYSuWSX`ap4ry
                           WfWrSf4`fSY`SfWXW4e4ahScS
                           4aS4WtS̀ SecXcY4`aT
          VWfe4XWS iWSWi`WWnpSpWa4`f4YS
                    pWfe4XWSs4SX`aY4atWTSiWS
                    Wi`WWSpcSuWSWdWXYy
                    WrSY`SfWYtfaSucXSY`Ss`fS
                    cYSYWSWcf4WpYSfcXY4XcS
                    rcS ``s4ahSX`iWY4`aS
                    `SYW4fSYfc4a4ahScarScpp`X4y
                    cYWrSYfceWTSSiWSWi`WWS
                    s4SuWSfWYtfaWrSY`S4pÙWfS
                     `fiWfS`p4Y4`aStaWppSYWS
                    `p4Y4`aScpSuWWaSrWXcfWrS
                    WdXWppWrScarÙ̀fSfWhfWppWrT


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          i4pSs`trS4aXtrWSWi`WWSiWiuWfpS
          `SYWSxcY4`acStcfrScarSvWpWfeWpS
          s`ScfWS`X4cS`frWfWrSY`SWf`fiS
          WiWfhWaXSrtYTSblTTSSlaSX`aaWXY4`aS
          s4YSacYtfcSr4pcpYWfpqSf4`YpqSX4e4Sr4pYtfy
          ucaXWpSWYXTd
          4h4u44YSSgaSWi`WWSs`ScpS`aWS
                        bUdSWcfS̀fSi`fWS̀ SpWfe4XWT
          S             gaSWi`WWSXcWrS `fS
                        WiWfhWaXS rtYS p`trS
                        ptui4YScSX`S`S4pÙWfS
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                        4pÙWfSptWfe4p4`aT
          ecSSSSSSS i`WWpSs4SuWSc4rScYS
                        YW4fSfWhtcfSfcYWS`ScS
                        boy`tfSsWWS̀fSpXWrtWrS
                        p4YS`fSX`aY4at`tpS`Wfcy
                        Y4`apdS4aXtr4ahSp4YSfWy
                        i4tiSrtf4ahSYW4fScupWaXWS
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          S             i4pScSs4SuWShfcaYWrS`fS
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          S              VXWrtWrSs`frcpS`aS
                         s4XScaSWi`WWS4pSWdy
                         XtpWrS`fSWiWfhWaXSrtYS
                         p`trSS            u WS
                         X`taYWrScpSrcpSs`fWrS4aS
                         X`itY4ahSp4dYScarSpWey
                         WaYSrcpSs`fWrS4aScSsWWS
                         blTTS s`aY4at`tpS `Wfcy
                         Y4`apdT
          VWfe4XWS i`WWSpcSuWSWdWXYy
                         WrSY`SfWYtfaSY`SpXWrtWrS
                         p4YScYSYWSWcf4WpYSfcXY4y
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                         Y4`aS`SYW4fSWiWfhWaXS
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          ka4YpSbdTSVtiiWfSaXciiWaYSYs`S
          sWWpScSWcfd
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                           X4cS`frWfpyY`yfW`fYSY`Scay
                           atcSWaXciiWaYSY`S4pÙ
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                           YWSr4 WfWaXWSbicWytS
                           cduWYsWWaSYWSh`eWfay
                           iWaYSucpWScSbWdXtrWpScS
                           `YWfSi44YcfSc`scaXWpdS
                           carSYWSWi`WWnpSfWhtcfS
                           fcYWS̀ SS             c S
                           boy`tfSsWWS`fSpXWry
                           tWrSp4YS `fSX`aY4at`tpS
                           `WfcY4`apdSs4XS4aXtrWpS
                           p4YSfWi4tiS f`iSYWS
                           s`icaS`fScSWf4`rSa`YS
                           Y`SWdXWWrSUSX`apWXtY4eWS
                           XcWarcfSrcpS4aScaSfWhty
                           cfScaatcSYfc4a4ahSWf4`rTS
                           laSXcpWpSsWfWSi44YcfS
                           WaXciiWaYSX`ap4pYpS`S
                           a`ayX`apWXtY4eWSrcpqScSY`y
                           YcS`SUwSrcpSWfSWcfS4pS
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                        WeWfqSWÙpWSs4Sa`YSfWXW4eWS
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                        WaYpS4pÙWfSi44YcfScS
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                        s4SuWSf`XWppWrS4aScSptuy
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          VWfe4XWS iWfWS4pSa`S4icXYS`aSYWS
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          b`taYcf4Sr`aWSuSWi`WWdSS
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          vWpWfeWSta4YpS`fSWdXtpWrScupWaXWSY`ScYy
          YWarSpWX4cSYfc4a4ahSb`YWfSYcaScaaty
          cSYfc4a4ahScarS4a4Y4cSvWpWfeWSYfc4a4ahdS
          ctY`f4¤WrSuSYWSg44YcfSVWWXY4eWS
          VWfe4XWSgXYScarSf`e4rWrSuSYWSecf4`tpS
          ufcaXWpS`SYWSgfiWrS~`fXWpS`fSYWS
          tf`pWS`S4if`e4ahSYW4fSi44YcfSpYcy
          YtpS`fSp4pTSSgaSWdciWS`SptXSYfc4ay
          4ahS4pSW4X`YWfS4`YSpX``TS
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          gaSWi`WWSfWtWpY4ahS¯`YWfSYfc4ay
          4ah°Sp`trSptui4YScSX`S`S4pÙWfS
          Yfc4a4ahSpXWrtWSY`S4pÙWfSptWfe4p4`aT
          iWSWi`WWS4pSa`ficSWdWXYWrSY`S
          fW`fYSucXS`fSs`fS̀aS4pÙWfSfpYSfWhy
          tcfSpXWrtWrSs`frcScYWfSfWWcpWS
           f`iSYfc4a4ahScarScpp`X4cYWrSYfceWTSS
          x`SX`icaScSc`scaXWpScfWSY`SuWS
          hfcaYWrS4aSX`aaWXY4`aSs4YSY4pSYWS`S
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                        `SYWSi44YcfSpWfe4XWTSSg y
                        YWfSYcYSY4iWSecXcY4`aSY4iWS
                        cXXftcSpY`pScarSs4Sa`YS
                        fWptiWStaY4SWi`WWSfWy
                        YtfapSY`Ss`fTSSgaStatpWrS
                        cXXftWrSecXcY4`aSs4SuWS
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          VWfe4XWS iWSWi`WWpnSpWa4`f4YS
                    pWfe4XWSs4SX`aY4atWqSf`y
                    e4r4ahSWi`WWSfWYtfapSY`S
                    s`fSs4Y4aStoSrcpScYWfS
                    YWSY`tfS̀ SrtYT
          S         iWSWi`WWpnSXtffWaYS`y
                    p4Y4`aSs4SuWSWrS`fS`aWS
                    bUdSWcfqStaWppSYWS`p4Y4`aS
                    cpSuWWaSrWXcfWrSWdXWppWrS
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          S         lSWi`WWS4pStacuWSY`S
                    fWYtfaSY`SYWS`uSs4Y4aS
                    `aWSbUdSWcfqSYWS`uSs4S
                    uWS`pYWrTSSk`aSfWYtfa4ahS
                    Y`Ss`fqSWi`WWSs4SuWS
                    cXWrS4aSca`YWfS`p4Y4`aS
                    s4YSX`icfcuWScT
          rWaWYpS iWSgfiWrSVWfe4XWpSs4S
                    f`e4rWS iWr4XcÙrWaYcS
                    X`eWfchWS`fSY`pWS`aScXy
                    Y4eWSrtYTSS{`sWeWfqStarWfS
                    YWSkVvvgSf`e4p4`aqS
                    vWi4ahY`aSs4S` WfSX`ay
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                           i`aYpSs4SuWSf`e4rWrScYS
                           YWSXtffWaYScXY4eWSfcYWScarS
                           YWSfWic4a4ahSSi`aYpS
                           s4SuWScYSYWSsmrvgSfcYWTS
                           iWSWi`WWS4pSfWp`ap4y
                           uWS`fSciWaYS̀ SY4pSX`ey
                           WfchWT
          S                h4WSlaptfcaXWSrWaWYpScfWS
                           a`YSc4rS4SrWcYS4pSYWSfWy
                           ptYS`ScXY4eWSi44YcfSpWfy
                           e4XWTSSrWaWYpSicSuWSc4rS
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                           YW4fSi44YcfSpWfe4XWTSSvWy
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                           f4`rSs4SuWSWdYWarWrSuS
                           YWSWahYSc`sWrSuScsTS
                           vWi4ahY`aSs4S`a`fScS
                           g44YcfSVWfe4XWScpSeWpY4ahS
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          gXYSb~ghgdSa`sSWaY4YWpSW4h4uWSWiy
          `WWpSY`SYcWSWceWS `fScSX`eWfWrS
           ci4SiWiuWfnpSpWfe4XWS4aSYWSgfiWrS
          ~`fXWpSb¯VWfe4XWiWiuWfS~ghg°dTSSi4pS
          `4XSptWiWaYpS`tfS~ghgSht4rWy
          4aWpScarSf`e4rWpShWaWfcSa`Y4XWS̀ SWiy
          `WWSf4hYpSY`SptXSWceWTSSdXWYScpS
          iWaY4`aWrSuW`sqScaSWi`WWnpSf4hYpS
          carS`u4hcY4`apSY`SVWfe4XWiWiuWfS
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          S gS¯tc44ahSWd4hWaX°Scf4p4ahS`tYS
              `ScSX`eWfWrSci4SiWiuWfnpScXY4eWS
              rtYS`fSXcSY`ScXY4eWSrtYS4aSYWS
              gfiWrS~`fXWpS4aSpt`fYS`ScSX`ay
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          S i`SXcfWS`fScSX`eWfWrSci4SiWiuWfS
             s`ScpS4aXtffWrScaS4atfS̀fS4aWppS
             4aSYWS4aWS`SrtYSs4WS`aScXY4eWS
             rtYS4aSYWSgfiWrS~`fXWpSf`e4rWrS
             YcYSptXS4atfS`fS4aWppSicSfWay
             rWfSYWSci4SiWiuWfSiWr4XcS
             taYSY`SWf`fiSrtY4WpS`SYWSiWiy
             uWfnpS̀ XWqShfcrWqSfcaS̀fSfcY4ahT
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             4ahSd4hWaX°SSgaSW4h4uWSWi`y
             WWSicSYcWStSY`SUwSs`fsWWpS`S
             WceWSrtf4ahScaSUwyi`aYSWf4`rT
          S WaShWceWSlpSi`SscfWS`fScaSlay
             tfWrS`fSlSVWfe4XWSgWiuWfTSSgaSWy
             4h4uWSWi`WWSicSYcWStSY`SwS
             s`fsWWpS`SWceWSrtf4ahScSp4ahWS
             Uwyi`aYSWf4`rSY`SXcfWS`fSYWSpWfy
             e4XWSiWiuWfTSShWceWSY`SXcfWS`fScaS
             4atfWrS`fS4SpWfe4XWSiWiuWfqSsWaS
             X`iu4aWrSs4YS̀YWfS~ghgytc4y
             4ahSWceWqSicSa`YSWdXWWrSwSsWWpS
             4aScSp4ahWSUwyi`aYSWf4`rT
          S VWfe4XWiWiuWfS~ghgSftapSX`aXtfy
             fWaYSs4YS`YWfSWceWSWaY4YWiWaYpS
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          gShf`s4ahSatiuWfS`SpYcYWpSf`e4rWS
          WceWS`fSci4SiWiuWfpS`SpWfe4XWS
          iWiuWfpTSSiWSWaY4YWiWaYpS`fSptXS
          WceWSr4 WfSf`iSpYcYWSY`SpYcYWTSSmtfS`y
          4XS4pSY`SX`iSs4YSptXScspS4aScaS
          X4fXtipYcaXWpSsWfWSYWScSY`SWiy
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          xmvgghSV{l~iSVs{khVSS
          karcYWrScpSi`r4WrSx`eWiuWfSUqS
          woUw
          dXWYScpSf`e4rWrS4aSgfY4XWSlllSVWXy
          Y4`aSbudqS̀fScpS̀YWfs4pWSchfWWr
          gc4aSm XWpSSSSSSSSySfooSgTgTSÝSStoSeTgT
          UpYSV4YSSSSSSSSSSSSSSSSySooSgTgTSÝSSttoSeTgT
          warSV4YSSSSSySttoSeTgTSÝSSUwooSg4ra4hY
          tfrSV4YSSSSSSSSSSSSSSySUotoSeTgTSÝSooSgTgT
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          cXSp4YS4aXtrWpScS`aWycS`tfStay
          c4rSiWcSWf4`rT
          glsghhSevVsvlrS
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          i`WWpSfWt4f4ahSpWX4cScYWfcY4`apS
          Y`S``YsWcfSfWpXf4uWrSuScSr`XY`fSs4S
          uWSfW4iutfpWrStSY`SÞTooStpSpcWpS
          YcdSWcXSWcfS`fScaSptXS``YsWcfStfy
          XcpWrS̀tYp4rWS̀ SecaYSVY`fWpTSSS
          i4pSfW4iutfpWiWaYS4pSX`ap4pYWaYSs4YS
          `tfSi`WWSVcWYSV`WSef`hfciTSSS
          i`WWpSitpYSp`sSiWr4XcSfWpXf4y
          Y4`aStpSu4S̀ SpcWSY`S{ticaSvWp`tfXy
          WpSf4`fSY`SfW4iutfpWiWaYTSS
          kvSkiSklhlxVS S
          gthtpYSUqSUjf
          iWS``s4ahSXcf4WpSp`iWS4pptWpS4aS
          fWhcfrSY`SYWStfStYSf`e4p4`apS̀ S
          YWSghfWWiWaY
          UTSi4iWScupWaYS`fStfStYSpWfe4XWS
              `fSfWcYWrScXY4e4YSs4Sa`YSuWStpWrS
              4aSYWSXcXtcY4`aS`S`eWfY4iWScy
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              iWaYpScarSpcSa`YSuWSX`taYWrScpS
              Y4iWSs`fWrS`fSYWStf`pWS`SrWy
              YWfi4a4ahSYWSp4dYScarSpWeWaYSrcS
              4aSYWSs`fSsWWT
          wTSi`WWpS̀aSYWSa4hYSp4YpSp`trS
              uWSYfcapWffWrSY`SYWSrcSp4YS`fS
              YWSWf4`rSYWScfWSWf`fi4ahStfS
              tYSpWfe4XWT
          tTSi`WWpSs`SceWSuWWaSpWWXYy
              WrSY`SWf`fiStfStYSpWfe4XWS
              itpYS X`iWYWS ~`fiS vywtjS
              bvWeTÙUÙjdS`fSWcXSsWWS`StfS
              tYTSSiWS`fiSitpYSuWSrW4eWfWrS
              Y`SYWSWi`WWnpSptWfe4p4`aS̀aSYWS
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              tYSpWfe4XWT
          {mhlgVSli{SvhllmkVS
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          i`WWpSicSfWtWpYSY4iWS` SY`S`uy
          pWfeWScS`4rcSYcYScpSfW4h4`tpSiWcay
          4ahSY`SYWSWi`WWqSutYS4pSa`YSfWX`hy
          a4¤WrScpScSecaYS`4rcTSSiWS``s4ahS
          ht4rW4aWpScSY`SptXSfWtWpYp

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          S V4aXWSYWpWS`4rcpScfWSa`saS4aS
              crecaXWSuSWi`WWpqSf`e4p4`apS
              p`trSuWSicrWSY`SpXWrtWSecXcy
              Y4`aSrcpS`fSYWpWS`4rcpT
          S laSXcpWpSsWfWSecXcY4`aSY4iWSXcaa`YS
              uWSpXWrtWrqSptWfe4p4`aSicShfcaYS
              caSWi`WWScaSWdXtpWrScupWaXWS
              s4Y`tYScSbtac4rSWfp`acSY4iWdT
          iWS4aYWaYS`SY4pSfcXY4XWS4pSa`YSY`SXfWy
          cYWScrr4Y4`acSecaYS`4rcpqSutYSY`S
          c `frSWi`WWpSY4iWS` SY`S`upWfeWS
          `4rcpS`ScSfW4h4`tpSacYtfWSs4Y`tYS
          pWf4`tpSc WXY4ahSecaYS̀WfcY4`apT
          mvilgSsmgrlxSli{SmxS
          {gh~SSgSgsgilmxS              S
          VWYWiuWfSUqSUjjj
          gcachWiWaYS4pSs44ahSY`Sc`sSWi`y
          WWpSs`ScfWSpXWrtWrSY`Ss`fS̀eWfY4iWqS
          carSceWSctY`f4¤WrSÚSrcSecXcY4`aqS
          s`fSp4dSbdS`tfpScarSYcWSYWSfWic4ay
          4ahS`tfSbdS`tfpS` ScpSecXcY4`aTSi4pS
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          WXWiuWfSqSwooo
          UTSSlSYWSWi`WWSscaYpSY`SpXWrtWS
              YWScXYtcSrcYWS̀ SYW4fSu4fYrcSb`fS
              YWS~f4rcSuW`fWqS`fSg`arcScYWfS
              4aSYWSWeWaYSYcYSYW4fScXYtcSu4fYy
              rcScpS`aScSsWWWarS`fSrtf4ahScS
              pXWrtWrScaYSptYSr`sadSYWaS
              YcYSrcYWSs4ShWYSf4`f4YT
          wTSlSYWSWi`WWSWWXYpSY`S¯±`cY°S
              YW4fSu4fYrcSY`Sca`YWfSrcYWqScarS
              YWScfWSfWcfWrSY`SrWXcfWSYcYS
              rcYWScYSYWSY4iWSYWSu4fYrcS`4y
              rcS4pSuW4ahSpXWrtWrqSYcYSrcYWS
              s4Scp`ShWYSf4`f4YStSY`SYWS`4aYS
              YcYSYWSX`icaS4i4YpSYWSatiuWfS
              `SWi`WWpSYcYSXcaSuWS̀tYS̀aScaS
              h4eWaSrcT
          tTSlSYWSWi`WWSscaYpSY`S¯±`cY°S
              YW4fSu4fYrcqSutYS4pSa`YScuWSY`S
              X`ii4YSY`ScSpWX4XSrcYWScYSYWSY4iWS
              u4fYrcpScfWSuW4ahSpXWrtWrqSYWaS
              YWS±`cY4ahSu4fYrcS`4rcSs4SuWS
              pXWrtWrScYSYWSpciWSY4iWSWi`y
              WWpScfWSpXWrt4ahSYW4fSY4frScarS
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               `tfYSsWWpS`SecXcY4`aqScarSYWS
              ±`cY4ahSu4fYrcS`4rcSs4SuWSh4ey
              WaSa`Si`fWSf4`f4YSYWaScaS`YWfS
              rcS̀ SecXcY4`aT
          glsghSgeemlxigxiVS S
          gcSwUqSwoof
          i`WWpSfWt4fWrSY`ScYYWarS`XY`fS
          c`4aYiWaYpSrtf4ahSpXWrtWrSs`fS
          `tfpSs4SuWSc`sWrScSicd4itiS`S
           `tfS`tfpSc4rSY4iWSY`ScYYWarTSeWfScYy
          YWiYSpcSuWSicrWSuSYWSWi`WWSY`S
          pXWrtWSptXSc`4aYiWaYpS`tYp4rWS`S
          pXWrtWrSs`fS`tfpT
          lSc`4aYiWaYpScfWSf`tY4aWScarS`fS`y
          XcScarSYWSWi`WWSXcaScYYWarSYWS
          c`4aYiWaYS4aSWppSYcaS`tfS`tfpSWÙ
          pWS4pSWdWXYWrSY`Sr`Sp`TSlaSYWSXcpWS`S
          caSc`4aYiWaYS`fScSa4hYSp4YSWiy
          `WWqSsWfWSfWcfcY4`apScfWSfWt4fWrS
          YcYSXctpWSYWSWi`WWSY`SuWStacuWSY`S
          s`fqScSp4YSXcahWSicSuWSfWtWpYWrS
          Yf`thSYWSgWr4XcSWcfYiWaYT
          x`ScSs4SuWShfcaYWrS`fSf`tY4aWSfWy
          eWaYcY4eWSc`4aYiWaYpS`fSf`XWrtfWpS
          ptXScpSp4XcpTSx`ScSs4SuWShfcaYy
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          WrS`fSrWaY4pYSc`4aYiWaYpS`YWfSYcaS
          Y``YSWdYfcXY4`apScarSf``YSXcacpTSiWS
          Wi`WWSs4SuWSfWt4fWrSY`SfWpWaYS
          f``S`SptXSf`XWrtfWpSY`S`tfSecaYS
          gWr4XcSWcfYiWaYT
          iWS``s4ahScp`SpcSc
          UTS~`fSiWr4XcSc`4aYiWaYpSbcdSrtWS
              Y`SX``a`pX`qSWar`pX`qSXcfr4cXS
              XcYWYWf4¤cY4`aqSY``YSWdYfcXY4`aS`fS
              f``YSXcacS̀fSbudSYWSr4pYcaYS`XcY4`aS
              `SYWSiWr4XcSc`4aYiWaYqScrr4y
              Y4`acScS`eWfScarScu`eWSYWS`tfS
              bdS`tfpSf`e4rWrS4aSgfY4XWSlllbdS
              `SYWSghfWWiWaYSicSuWSctY`y
              f4¤WrS4aScrecaXWSf`e4rWrSYWSWiy
              `WWSf`e4rWpSf``S̀ SYWSiWr4XcS
              c`4aYiWaYScarSf`XWrtfWSY`SYWS
              i`WfnpSecaYSgWr4XcSWcfYy
              iWaYScarSYWSWi`WWS4pSW4h4uWSY`S
              uWSWdXtpWrSf`iSs`fScarSc4rS`fS
              ptXSiWr4XcSc`4aYiWaYStfptcaYS
              Y`SgfY4XWSlllbdS`SYWSghfWWiWaYTS
              VtXScSpcSa`YSfWptYS4aSi`fWS
              YcaSW4hYSbfdS`tfpScScYSpYfc4hYS
              Y4iWS`fScSp4ahWSiWr4XcSc`4aYy
              iWaYTSgaS`pYSY4iWSuW`arSW4hYS
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             bfdS`tfpSs4Sa`YSuWSW4h4uWS`fScy
             iWaYScpScSiWr4XcSc`4aYiWaYT
          wTSlSptXScS4pSctY`f4¤WrqSYWSiWry
             4XcSc`4aYiWaYSs4SX`taYScpSYs`S
             bwdS̀ SYWSWi`WWnpSYsWeWSbUwdScay
             atcSiWr4XcSc`4aYiWaYpS`fStfy
             `pWpS̀ SgfY4XWSlllbdS̀ SYWSghfWWy
             iWaYT
          tTSi`WWpSp`trSa`Y4SYWSgWr4y
             XcSWcfYiWaYSf4`fSY`SptXSiWr4y
             XcSc`4aYiWaYpSY`SrWYWfi4aWSYW4fS
             W4h4u44YTSlaSYWSXcpWS`ScSiWr4XcS
             c`4aYiWaYS`fScSa4hYSp4YSWiy
             `WWqSsWfWSfWcfcY4`apScfWSfWy
             t4fWrSYcYSXctpWSYWSWi`WWSY`S
             uWStacuWSY`Ss`fqScSp4YSXcahWS
             icSuWSfWtWpYWrSYf`thSYWSgWry
             4XcSWcfYiWaYT
          TSi`WWpScfWSfWt4fWrSY`SfWpWaYS
             f``S`SY``YSWdYfcXY4`apScarSf``YS
             XcacpSY`SYWSgWr4XcSWcfYiWaYS
             Y`SuWSW4h4uWS`fSciWaYT
          TS~`fScSiWr4XcSc`4aYiWaYpqScry
             ecaXWSa`Y4XWS4pSfWt4fWrScupWaYSWdy
             YWatcY4ahSX4fXtipYcaXWpT
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          TS~`fStf`pWpS̀ SXcXtcY4ahSYWStSY`S
              `tfSbdS`tfpScScYSpYfc4hYSY4iW
             cTSlScaSWi`WWSWceWpSf`iSYWS
                 ecaYSY`SYfceWSY`ScSiWr4XcScy
                 `4aYiWaYScarSfWYtfapSY`SYWS
                 ecaYSY`SfWptiWSs`fqSYWSiy
                 `WfSs4ScSYWSWi`WWS
                  `f
                 4TS ifceWSY4iWSY`SYWSiWr4XcS
                      c`4aYiWaYqScpSrWYWfi4aWrS
                      uSgcótWpYSb`fSp`iWScYWfy
                      acY4eWSX`icfcuWSpWfe4XWdS
                       f`iSYWSecaYSY`SYWSiWry
                      4XcSc`4aYiWaYStpSYWaS
                      bUodSi4atYWp¥Scar
                 44TSi4iWSpWaYScYSYWSiWr4XcS
                      c`4aYiWaY¥Scar
                 444TSifceWSY4iWSf`iSYWSiWry
                      4XcSc`4aYiWaYSucXSY`S
                      YWSecaYqScpSrWYWfi4aWrSuS
                      gcótWpYSb`fSp`iWScYWfy
                      acY4eWSX`icfcuWSpWfe4XWdS
                       f`iSYWSecaYSY`SYWSiWry
                      4XcSc`4aYiWaYStpSYWaS
                      bUodSi4atYWpT
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             uTSlScaSWi`WWSWceWpSf`iSYWS
                 ecaYSY`SYfceWSY`ScSiWr4XcScy
                 `4aYiWaYScarSr`WpSa`YSfWYtfaS
                 Y`SYWSecaYSY`SfWptiWSs`fqSYWS
                 i`WfSs4ScSYWSWi`WWS
                  `f
                 4TS ifceWSY4iWSY`SYWSiWr4XcS
                     c`4aYiWaYqScpSrWYWfi4aWrS
                     uSgcótWpYSb`fSp`iWScYWfy
                     acY4eWSX`icfcuWSpWfe4XWdS
                      f`iSYWSecaYSY`SYWSiWry
                     4XcSc`4aYiWaYStpSYWaS
                     bUodSi4atYWp¥Scar
                 44TSi4iWSpWaYScYSYWSiWr4XcS
                     c`4aYiWaYT
             XTSlScaSWi`WWSYfceWpSY`ScSiWr4y
                 XcSc`4aYiWaYSf`iScasWfWS
                 `YWfSYcaSYWSecaYScarSfWYtfapS
                 Y`SYWSecaYSY`SfWptiWSs`fqSYWS
                 i`WfSs4ScSYWSWi`WWS
                  `f
                 4TS i4iWSpWaYScYSYWSiWr4XcS
                     c`4aYiWaY¥Scar
                 44TSifceWSY4iWSf`iSYWSiWry
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                      4XcSc`4aYiWaYSucXSY`S
                      YWSecaYqScpSrWYWfi4aWrSuS
                      gcótWpYSb`fSp`iWScYWfy
                      acY4eWSX`icfcuWSpWfe4XWdS
                       f`iSYWSiWr4XcSc`4aYy
                      iWaYSY`SYWScaYStpSYWaS
                      bUodSi4atYWpT
               rTSlScaSWi`WWSYfceWpSY`ScSiWr4y
                  XcSc`4aYiWaYSf`iScasWfWS
                  `YWfSYcaSYWSecaYScarSr`WpS
                  a`YSfWYtfaSY`SYWSecaYSY`SfWy
                  ptiWSs`fqSYWSi`WfS`aS
                  s4ScSYWSWi`WWS`fSY4iWS
                  pWaYScYSYWSiWr4XcSc`4aYy
                  iWaYTSiWSWdWXYcY4`aS`SYWS
                  cfY4WpS4pSYcYScaSSWi`WWS4pSY`S
                  fW`fYSY`Ss`fStaWppSfWe4`tpS
                  WdXtpWrSX`ap4pYWaYSs4YSYWSiy
                  `WfnpSgYYWarcaXWSe`4XT




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          glsghS~mvgS                   S
          x`eWiuWfSUqSwoUw
          i`SvWi4ahY`aSgfipSs`TShhs
          uqCBöBCBEõÅCEBuB
          EuECEBuqEBE EEÆB
          E CCC CuBöB5BÅCB
          uqCB5CuEu
          i4pS4pSY`SXWfY4SS
          YcYöööööööööööööööööööööööööööööööööS
          scpSpWWaS`fScaSc`4aYiWaYS`fS4iÙ
          WfpWSs4YSS
          fTSööööööööööööööööööööööööööööööS`f
          bXWXS̀aWd
          öööööSv`tY4aWS4p4YS
          öööööS4cha`p4pS
          öööööS~``sStSY`ScSfWXWaYSf`uWi
          öööööS4cha`pY4XSiWpY4ah

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          b~mvSxighSgeemlxigxiVS
          mxhSÝSsWXS̀aWd
          öööööSi``YSdYfcXY4`aS
          öööööSv``YSscac
          ef`e4rWfpScrrfWppSööööööööööööööööööö
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          VXWrtWrScYSbi4iWdSööööööööööööööööö
          `aSbcYWdöööööööööööööööööööööööööööö
          iWScY4WaYScff4eWrScYSbi4iWdSööööööööö
          carSWYSYWS̀ XWScYSbi4iWdSöööööööööö
          ep4X4caÙvWfWpWaYcY4eWß
          ööööööööööööööööööööööööööööööööööööö
          cYWSööööööööööööööööööööööööööööööööS

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          i`WWSY`Ss`iWYW
          lSXWfY4SYcYSlScYYWarWrSYWScu`eWScy
          `4aYiWaY
          i`WWSV4hacYtfW
          ööööööööööööööööööööööööööööööööööööö
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          vWi4ahY`aSgfipShhsSlaYWfacSkpWS
          ma
          gf`eWrS{`tfpSöööööööööööööööööööö
          gWr4XcSWcfYiWaYSöööööööööööööööööS
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          exVlmxSVvlsSsvliS S
          gf4SUqSwoot
          gXY4eWSWi`WWpSs`qScpSh`XcSka4`aS
          `XWfpS̀fSs`ii4YYWWSgWiuWfpqSWahchWS
          4aSutp4aWppS̀aSuWcS̀ SYWSkggqSs4S
          uWSXfWr4YWrSs4YSWap4`aSpWfe4XWStay
          rWfSYWSvWi4ahY`aSgfipSs`icaSlaXTS
          eWap4`aScarSvWY4fWiWaYSecaSbûneWap4`aS
          eca°dS`fS`tfpS4aSs4XSYWScYYWarSY`S
          kggSutp4aWppS4aS4WtS`S`tfpSYWS
          s`trS`YWfs4pWSuWScXY4eWSWi`WrS
          cYSYWSi`WfnpScX44YT
          s`ap4pYWaYSYWfWs4YqSvWi4ahY`aSgfipS
          laXTScarSYWSkggSchfWWSYcYSY4pS
          gWi`fcartiS`SkarWfpYcar4ahSpcS
          pWfeWScpScaSciWariWaYSY`SVWXY4`aSlllSgS
          bwdSb¯VWfe4XW°dS`SYWSeWap4`aSecaqSp`S
          YcYSYWSrWa4Y4`aS̀ ScaSi`WWnpSVWfy
          e4XWSpcS4aXtrWS`tfpScarS`pYSschWpS
          WcfaWrS4aSs4XSWSs`fpScpScSh`XcS
          ka4`aS`XWfS`fSs`ii4YYWWSgWiuWfS
          cYYWar4ahSY`SkggSutp4aWppS4aS4WtS`S
          `tfpSWSs`trS`YWfs4pWSuWScXY4eWS
          Wi`WrScYSYWSi`WfnpScX44YScarS
          pc4rS`pYSschWpSs4SuWStpWrSY`SrWYWfy
          i4aWSYWSci`taYS̀ S4pSWap4`aT
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          iWScfY4WpSWfWY`StfYWfSchfWWSYcYS
          4YSpcSuWSYWSfWp`ap4u44YS`SYWSh`y
          XcSka4`aSY`Sh4eWSYWSi`WfSa`Y4XWS
          `SYWS`tfpScupWaYSf`iSs`fSrtWSY`S
          ta4`aSutp4aWppSp`SYcYSYWSi`WfS
          s4SXctpWSYWSeWap4`aSecaSY`SXfWr4YS
          pc4rS`tfpScarSschWpScYSYWScf`f4cYWS
          `tfSfcYWqStarWfSgfY4XWSlllSgSbwdqScpS
          ciWarWrSWfW4aT
          {ghi{SgxSVg~iSivglxlxSS
          mXY`uWfSqSwoo
          x`Ys4YpYcar4ahSgfY4XWSlllbudbjdS`S
          YWSghfWWiWaYqSYWSka4`aScarSYWSiy
          `WfSchfWWSYcYSYWSi`WfnpSY`y
          YcS`u4hcY4`aSY`ScSiWiuWfpS`SYWS
          {WcYScarSVcWYSs`ii4YYWWScYYWar4ahS
          carScfY4X4cY4ahS4aScaatcS{WcYScarS
          VcWYSifc4a4ahScYSYW4fSfWhtcfSfcYWS`S
          cS`fS`pYSs`f4ahSY4iWSpcSuWS4i4Yy
          WrSY`ScSY`YcS`Sp4dStarfWrSboodS`tfpS
          rtf4ahSYWSYWfiS̀ SYWSghfWWiWaYS4aSYWS
          chhfWhcYWT
          i{SvglximxSmkimmvS
          smgegxS̄vms°SvkS~vS
          mvehgsSemhls
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          à WXY4eWScatcfSUqSwoUqScarS4aS4WtS
          `SYWS~fWWr`iSf`tSfthS~fWWS`fy
          cXWSe`4Xá
          QHR7GF9AB5HQRAB@89}B7G7AAF7
          vmsS4pSX`ii4YYWrSY`Sf`e4r4ahScSpcWS
          s`fSWae4f`aiWaYScarSY`S`pYWf4ahSYWS
          sWyuW4ahScarSWcYS`S4YpSWi`WWpTS
          icYSX`ii4YiWaYS4pSW`cfr4¤WrSsWaS
          caSvmsSWi`WWS4WhcStpWpSrfthpS
          `aS`fS` SYWS`uqSX`iWpSY`Ss`fStarWfS
          YW4fS4a±tWaXWqS`ppWppWpqSr4pYf4utYWpS̀fS
          pWpSrfthpS4aSYWSs`fcXW¥S`fScutpWpS
          cX``S`aSYWS`uTSlYS4pScSe4`cY4`aS`S
          X`icaS`4XS`fScaSWi`WWSY`
          S kpWqS`ppWppqSr4pYf4utYWqSicatcXy
              YtfWqSr4pWapWqSpWqSYfcrWqS` WfS`fS
              pcWqS`fS` WfSY`SutS4WhcSrfthpS`fS
              `YWfs4pWSWahchWS4aSYWS4WhcStpWS
              `SrfthpS̀aS̀fS̀ SYWS`uS̀fSs4WS̀aS
              `fS4aSYWSi`WfnpSf`WfYT
          S vW`fYSY`Ss`fStarWfSYWS4a±tWaXWS
              `S`fSs4WS`ppWpp4ahS4aS4pS`fSWfS
              u`rqSu``rqS̀fStf4aWqS4WhcSrfthpT
          S vW`fYSY`Ss`fStarWfSYWS4a±tWaXWS
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              `S̀fS4ic4fWrSuScX``TSSgSWfp`aS
              4pSX`ap4rWfWrSY`SuWS4ic4fWrSs4YScaS
              cX``SX`aXWaYfcY4`aS̀ SoToÜSrgsS
              `fShfWcYWfT
          S kpWSfWpXf4Y4`aSrfthpS4WhcqS4TWTqS
              Y`StpWSfWpXf4Y4`aSrfthpSYcYSceWS
              a`YSuWWaSWhcS`uYc4aWrS`fS4aScS
              icaaWfS`fS`fScStf`pWS`YWfSYcaS
              cpSfWpXf4uWrTS{`sWeWfqSa`Y4ahS4aS
              Y4pS`4XSfWXtrWpSYWScf`f4y
              cYWStpWS`SWhcSfWpXf4uWrSiWr4y
              XcY4`apScpS`ahScpSYcYStpWSr`WpSa`YS
              4icXYSYWSWi`WWnpScu44YSY`SWfy
               `fiS4pS̀fSWfS`uSrtY4WpSpcWT
          iWStpWqSX`aptiY4`aS`fS`ppWpp4`aS`S
          cX``4XSuWeWfchWpSs4WSs`f4ahS̀fS̀aS
          X`icaSfWi4pWpS4pSf`4u4YWrTSbs`iy
          caSp`ap`fWrScXY4e4Y4WpSs4XSicS4ay
          XtrWSYWSpWfe4ahS̀ ScX``4XSuWeWfchWpS
          cfWSa`YS4aXtrWrS4aSY4pSf`e4p4`adTSgaS
          Wi`WWSs`pWScXtY4WpScfWS4ic4fWrS
          rtWSY`ScX``4XSuWeWfchWpSs4WS`aS
          rtYÙX`icaSutp4aWppSpcSuWSht4YS
          `Si4pX`artXYqScarSpcSuWSptuWXYSY`S
          r4pX44aWStSY`ScarS4aXtr4ahSYWfi4acy
          Y4`aT
                             Uj
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          4`cY`fpS`SY4pS`4XScfWSptuWXYSY`S
          r4pX44acfScXY4`aStSY`ScarS4aXtr4ahS
          YWfi4acY4`aT
          iWSh`cS`SY4pS`4XS4pSY`SuccaXWS`tfS
          fWpWXYS`fS4ar4e4rtcpSs4YSYWSaWWrSY`S
          ic4aYc4aScSpcWqSf`rtXY4eWSyScarSrfthS
           fWWSWae4f`aiWaYTSiWS4aYWaYS̀ SY4pS`y
          4XS4pSY`S` WfScSW4ahScarSY`SY`pWS
          s`SaWWrS4YqSs4WSpWar4ahScSXWcfSiWpy
          pchWSYcYSYWS4WhcStpWS`SrfthpScarS
          YWScutpWS`ScX``ScfWS4aX`icY4uWS
          s4YSWi`iWaYScYSvmsT
          gpScSX`ar4Y4`aS`SWi`iWaYqSWi`y
          WWpSitpYScu4rWSuSYWSYWfipS`SY4pS`y
          4XScarSitpYSa`Y4SvmsqS4aSsf4Y4ahqS`S
          caSX`ae4XY4`aS`ScSe4`cY4`aS`ScSXf4i4y
          acSrfthSpYcYtYWS`XXtff4ahS4aSYWSs`fy
          cXWSa`ScYWfSYcaSeWSXcWarcfSrcpS
          cYWfSptXSX`ae4XY4`aT
          i`WWpSs`Spt WfSf`iScSptupYcaXWS
          cutpWSf`uWiScfWStfhWrSY`ScXa`sy
          WrhWSYWSf`uWiScarSpWWSWSuW`fWS
          YWSWahchWS4aSX`artXYSYcYSicSptuy
          WXYSYWiSY`SYWSr4pX44acfSf`e4p4`apS
          `SY4pSef`hfciT
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          vmsS̀ WfpScaSi`WWSgpp4pYcaXWSef`y
          hfciSbgedSuWaWYS`fSWi`WWpScarS
          YW4fSrWWarWaYpTSiWSgeSf`e4rWpS
          X`arWaY4cScppWppiWaYqSfWWffcqScarS
          p`fYyYWfiSX`tapW4ahS `fSWi`WWpS
          s`SaWWrS̀fSfWtWpYS4YTSlScaSgeSfWWfy
          fcSY`ScSYfWcYiWaYSf`e4rWfS`tYp4rWSYWS
          geS4pSaWXWppcfqSX`pYpSicSuWSX`eWfWrS
          uSYWSWi`WWnpSiWr4XcS4aptfcaXW¥S
          utYSYWSX`pYS`SptXS`tYp4rWSpWfe4XWpS4pS
          YWSWi`WWnpSfWp`ap4u44YTSS
          s`arWaY4c4YS̀ SgeStpWSs4SuWSic4ay
          Yc4aWrSY`SYWSuWpYS`SvmsnpScu44YTSx`S
          4a`ficY4`aSfWhcfr4ahSYWSacYtfWS̀ SYWS
          Wfp`acSf`uWiSs4SuWSicrWScec4y
          cuWSY`SptWfe4p`fpqSa`fSs4S4YSuWS4aXtry
          WrS4aSYWSWficaWaYSWfp`aaWSWTSecfy
          Y4X4cY4`aS4aSYWSgeSs4Sa`YSc WXYScaS
          Wi`WWnpSXcfWWfScrecaXWiWaYS`fSWiy
          `iWaYqSa`fSs4S4YSf`YWXYScaSWi`y
          WWSf`iSr4pX44acfScXY4`aS4SptupYcay
          rcfrS`uSWf`ficaXWSX`aY4atWpTSiWS
          geSXcaSuWScXXWppWrSuScaSWi`WWS
          Yf`thSpWyfWWffcS̀fSYf`thSfWWffcS
          uScSptWfe4p`fTSWSs4Sr4pYf4utYWS4a`fy
          icY4`aScu`tYSYWSgeSY`SWi`WWpS`fS
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          YW4fSX`arWaY4cStpWqScarSs4Sf`e4rWS
          r`XtiWaYpSfWhcfr4ahSgeScpScfYS`ScS
          rfthScscfWaWppSf`hfciTSS
          laS`frWfSY`Sic4aYc4aScSrfthyfWWSs`fy
          cXWqSYWSs`icaScpSWpYcu4pWrScS
          rfthyfWWScscfWaWppSf`hfciSY`SWrty
          XcYWSWi`WWpS`aSYWSrcahWfpS`SrfthS
          cutpWS4aSYWSs`fcXWqS`tfSrfthyfWWS
          s`fcXWS`4XqSYWScec4cu44YS̀ ScaS
          rfthyfWWSX`tapW4ahqSfWcu44YcY4`aScarS
          Wi`WWScpp4pYcaXWSf`hfcipScarSYWS
          WacY4WpSYcYSicSuWS4i`pWrS`fSe4`cy
          Y4`apS̀ S̀tfSrfthyfWWSs`fcXWS`4XT
          AFA6G@B69AQ6ARBö6BAGRFGH@AB
          QR898FBuAR78FIüB
          gaSWi`WWSfW`fY4ahSY`Ss`fSe4p4y
          uS4ic4fWrSs4SuWSrWWiWrStacuWSY`S
          Wf`fiSfWt4fWrSrtY4WpScarSs4Sa`YSuWS
          c`sWrSY`Ss`fTSlS`pp4uWSYWSWi`y
          WWnpSptWfe4p`fSs4SfpYSpWWSca`YWfS
          ptWfe4p`fnpS`4a4`aSY`SX`afiSYWSWiy
          `WWnpSpYcYtpTSxWdYqSYWSptWfe4p`fSs4S
          X`aptYSf4ecYWSs4YSYWSWi`WWSY`S
          rWYWfi4aWSYWSXctpWS̀ SYWS̀upWfecY4`aqS
          4aXtr4ahSsWYWfSptupYcaXWScutpWScpS
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          `XXtffWrTSlqS4aSYWS̀4a4`aS̀ SYWSptWfy
          e4p`fqSYWSWi`WWS4pSX`ap4rWfWrS4iy
          c4fWrqSYWSWi`WWSs4SuWSpWaYS`iWqS
          `fSY`ScSiWr4XcScX44YSuSYcd4S`fS`Yy
          WfSpcWSYfcap`fYcY4`aScYWfacY4eWSySrWy
          War4ahS̀aSYWSrWYWfi4acY4`aS̀ SYWS̀uy
          pWfeWrS4ic4fiWaYSyScarScXX`ica4WrS
          uSYWSptWfe4p`fS`fSca`YWfSWi`WWS
          4SaWXWppcfTSgSrfthS`fScX``SYWpYSicS
          uWS4aS`frWfTSgaS4ic4fWrSWi`WWSs4S
          a`YSuWSc`sWrSY`Srf4eWT
          67QF87}BuBPF7AR7B6BE»@G8FBuAR7B
          ARQ@7RüB
          i`WWpScarS`uSc4XcaYpSs`SceWS
          cS`p4Y4eWSX`afiWrSrfthS̀fScX``SYWpYS
          fWptYSicSWdc4aS`fSX`aYWpYSYWSfWptYS
          Y`SYWSiWr4XcSfWe4WsS̀ XWfSs4Y4aSeWS
          bdSs`f4ahSrcpScYWfSfWXW4e4ahSsf4YYWaS
          a`Y4XcY4`aS`SYWSYWpYSfWptYpSf`iSYWS
          iWr4XcSfWe4WsS`XWfTSlScaSWi`WWnpS
          `fS`uSc4XcaYnpSWdcacY4`aS`fSXcy
          WahWS4pStapcY4pcXY`fSY`SYWSiWr4XcS
          fWe4WsS`XWfqSYWSiWr4XcSfWe4WsS`y
          XWfSpcSfW`fYScS`p4Y4eWSYWpYSfWptYS
          ucXSY`SYWSX`icaTSlSYWfi4acYWrqScaS
          Wi`WWSicSX`aYWpYSYWSrfthSYWpYSfWy
                             Ujf
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          ptYTSSSiWSgWr4XcSvWe4WsSm XWfSpcS
          uWScS4XWapWrSp4X4caSs4YSa`sWrhWS
          `SrfthScutpWSr4p`frWfpTSSiWSgWr4XcS
          vWe4WsSm XWfSpcSa`YSuWScaSWi`y
          WWS̀ SvmsT
          PFAF78G@87}üB
          iWSX`arWaY4c4YS`ScaS4a`ficY4`aS
          fWXW4eWrSuSYWSWi`WfSYf`thScSptuy
          pYcaXWScutpWSYWpY4ahSf`hfciSpcSuWS
          f`WfSic4aYc4aWrqSuS`aSfWWcp4ahS
          YWS4a`ficY4`aSY`SvmsSfWfWpWaYcY4eWpS
           `fSf`WfSfWcp`apqSWdXWYScpS`YWfs4pWS
          f`e4rWrSuScsTSSlaSYWSWeWaYScaSWiy
          `WWSWpScShf4WecaXWqScSXcfhWS̀ Sr4py
          Xf4i4acY4`aqScScspt4YqS̀fS̀YWfs4pWSfc4py
          WpScaS4pptWS4ae`e4ahSYWSfWptYpS`SYWS
          YWpYbpdqS`sWeWfqSYWSi`WfS`fSgWry
          4XcSvWe4WsSm XWfSpcSicWSYWSfWy
          WecaYSrfthScarÙ̀fScX``SYWpYSfWptYbpd
          cec4cuWSY`SYWSi`WfnpSfWfWpWaYcy
          Y4eWbpdSfWp`ap4uWS`fSYWS4aeWpY4hcY4`aS
          carSfWp`tY4`aS̀ SYWS4pptWT
          HB5@89GF7B6QIBuAR78FIüS
          gS`uSc4XcaYpSb`pYỳ WfqSfWycXWy
          iWaYdScYSvmsSs4StarWfh`SYWpY4ahS`fS
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          ptupYcaXWScutpWScpScSX`ar4Y4`aS`SWiy
          `iWaYTSSgaSc4XcaYSs4YScSX`ay
          fiWrScarSeWf4WrS`p4Y4eWSYWpYSfWptYS
          s4SuWSrWa4WrSWi`iWaYT
          maXWScaS` WfS`SWi`iWaYScpSuWWaS
          icrWScarScXXWYWrqSc4XcaYpSs4SuWS
          fWt4fWrSY`Sptui4YSe`taYcf4SY`ScStf4y
          acp4pSYWpYScYScScu`fcY`fSX`pWaSuS
          vmsqScarSuSp4ha4ahScSX`apWaYSchfWWy
          iWaYSs4SfWWcpWSvmsSf`iS4cu44YTSlS
          YWSp4X4caqS`X4cqS`fScuSWfp`aaWS
          ceWSfWcp`acuWSptp4X4`aSY`SuW4WeWS
          YcYSYWS`uSc4XcaYScpSYciWfWrS
          s4YSYWSpWX4iWaqSYWSc4XcaYSs4S
          a`YSuWSX`ap4rWfWrS`fSWi`iWaYT
          vmsSs4Sa`YS4WhcSr4pXf4i4acYWS
          chc4apYSc4XcaYpS`fSWi`iWaYSuWy
          XctpWS̀ ScScpYS4pY`fS̀ SrfthS̀fScX``S
          cutpWTSlYS4pSYWSXtffWaYS`fSfWXWaYS4WhcS
          tpWS`SrfthpScarÙ̀fScutpWS`ScX``qS
          fWeWaY4ahSWi`WWpSf`iSWf`fi4ahS
          YW4fS`upSf`WfqSYcYSvmsSs4Sa`YS
          Y`WfcYWT
          E@}AAB6QIBGFB5@9@BuAR78FIüS
          vmsScpScr`YWrSYWpY4ahSfcXY4XWpSY`S
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          4rWaY4SWi`WWpSs`StpWS4WhcS
          rfthpS`aS`fS` SYWS`uS`fSs`ScutpWScy
          X``S`aSYWS`uTSlYSpcSuWScSX`ar4Y4`aS
          `SWi`iWaYS`fScSWi`WWpSY`Sptuy
          i4YSY`SptupYcaXWScutpWSYWpY4ahStarWfS
          YWS``s4ahSX4fXtipYcaXWp
          UTSvWcp`acuWSVtp4X4`aSfthScarS
             gX``SiWpY4ahTSSWaSYWfWS4pSfWcy
             p`acuWSptp4X4`aSY`SuW4WeWSYcYScaS
             Wi`WWS4pS4WhcStp4ahSrfthpS`fS
             cutp4ahScX``TSûvWcp`acuWSptp4y
             X4`anS4pSucpWrS̀aScSuW4WSYcYScaSWiy
             `WWS4pStp4ahqS`fScpStpWrqSrfthpS
             `fScX``S4aSe4`cY4`aS`SYWSWiy
             `WfnpS`4XSrfcsaSf`iSpWX4XS
             `uWXY4eWScarScfY4XtcfScXYpqScarS
             fWcp`acuWS4aWfWaXWpSrfcsaSf`iS
             Y`pWScXYpS4aS4hYS`SWdWf4WaXWTS
             gi`ahS`YWfSY4ahpqSicSuWSucpWrS
             t`aqSutYSa`YS4i4YWrSY`qSYWS``sy
             4ah
             cTSmupWfecuWSWa`iWacSs4WS
                 cYSs`fSptXScpSr4fWXYS`upWfecy
                 Y4`aS̀ SptupYcaXWScutpWS̀fS̀ SYWS
                 p4XcSpiY`ipS`fSica4Wpy
                 YcY4`apS̀ SuW4ahS4ic4fWrSrtWSY`S
                             woU
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                 ptupYcaXWScutpW¥
             uTSgua`ficSX`artXYS̀fSWffcY4XSuWy
                 ce4`fSs4WScYSs`fS`fScSp4ha4y
                 4XcaYSrWYWf4`fcY4`aS4aSs`fSWfy
                  `ficaXW¥
             XTSgSfW`fYS̀ SptupYcaXWScutpWSf`y
                 e4rWrSuScSfW4cuWScarSXfWr4uWS
                 p`tfXW¥S
             rTSe4rWaXWSYcYScaS4ar4e4rtcScpS
                 YciWfWrSs4YScaSptupYcaXWS
                 cutpWSYWpYSrtf4ahS4pS`fSWfSWiy
                 `iWaYSs4YSYWSXtffWaYSWiy
                 `Wf¥
             WTSla`ficY4`aSYcYScaSWi`WWS
                 cpSXctpWrS`fSX`aYf4utYWrSY`ScaS
                 cXX4rWaYSs4WScYSs`f¥
              TSe4rWaXWSYcYScaSWi`WWScpS
                 tpWrqS`ppWppWrqSp`rqSp`4X4YWrqS
                 `fSYfcapWffWrSrfthpSs4WSs`fy
                 4ahS`fSs4WS`aSYWSWi`WfnpS
                 fWi4pWpS`fSs4WS`WfcY4ahSYWS
                 Wi`WfnpSeW4XWqSicX4aWfqS
                 `fSWt4iWaY¥S̀f
             hTSViW4ahS̀ ScX``T
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          wTSWaSWi`WWpSceWScaS̀ayYWy`uS
              4atfSYcYSfWt4fWpSi`fWSYcaSfpYSc4rSS
              YfWcYiWaYqScaSWi`WWSitpYSptuy
              i4YSY`ScSptupYcaXWScutpWSYWpYT
          tTSgpScfYS`ScS``sytSf`hfciSY`S
              YfWcYiWaYS`fSrfthS̀fScX``ScutpWT
          TSvcar`iSfthSiWpY4ahTSSvmsSs4S
              X`artXYSfcar`iSrfthSYWpYpS`aSWiy
              `WWpScpSWfi4YYWrSuSc4XcuWS
              csSa`Si`fWSYcaSp4dSbdSY4iWpSWfS
              XcWarcfSWcfTSSSS
          gScXY4eWS`tfSWi`WWpSpcSuWS
          ptuWXYSY`Sfcar`iSrfthSYWpY4ahScarS
          pcSX`apY4YtYWS`aWS``S`fSpWWXY4`aTS
          kSY`S`aWSWfXWaYSbUÜdS`SYWSWi`y
          WWpS4aSYWS``ScYSYWSY4iWS`SYWSYWpYS
          pcSuWSptuWXYSY`Sfcar`iSrfthSYWpY4ahS
          a`Si`fWSYcaS`aWSbUdSY4iWSWfSXcWarcfS
          WcfTSSi`WWpSX`pWaSY`SuWSfcar`iS
          rfthSYWpYWrSpcSuWSX`pWaSuStp4ahScS
          pX4WaY4XcSec4rSfcar`iSpWWXY4`aS
          f`XWppSX`artXYWrSuScSec4rcYWrStfrS
          cfYScri4a4pYfcY`fSs`Ss4S4aptfWSYcYS
          YWS4rWaY4Y4WpS`SWi`WWpSY`SuWSfcay
          r`iSrfthSYWpYWrScYScaSY4iWSpcSa`YS
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          uWSfWeWcWrSY`SYWSWi`WfS`fSYWSWiy
          `WWStaY4SYWSrcS̀ SYWSYWpYT
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          `fSWfSpWWXY4`aqSYWSWi`WWSitpYSf`y
          XWWrSY`SYWSYWpYSp4YWS4iiWr4cYWScarSa`S
          Wi`WWSs4SuWSWdXtpWrT
          gaSi`WWSs`S4pSfcar`iSYWpYWrS
          tarWfSY4pSe`4XSs4SuWSc4rS`fScaS
          pXWrtWrSs`fSY4iWSi4ppWrSuWXctpWS`S
          YWSrfthS̀fScX``SYWpYT
          USdciWpS`S̄cSfW4cuWScarSXfWr4uWSp`tfXW°S4ay
          XtrWSb4dSaWspcWfÙiWr4cSfW`fYpSb444dS~WrWfcqS
          pYcYWS`fS`XcS`4XWSfW`fYpS`fSb444dS`YWfSp`tfXWpqS
          caS̀ Ss4XScfWSec4rcYWrScYWfScaS4aeWpY4hcY4`aT
          wSlaSfWX`ha4Y4`aS`SYWSX`iWd4YScarSXcahWS4ay
          WfWaYS4aSYWSWhcSr`XYf4aWS`ScXXfWY4`aqS4aSYWS
          WeWaYSYcYScaScXXfWY4`aS`SYWSxWsS~cX44YS4pS
           `tarSY`SuWS4aW WXY4eWqS4aec4rS`fStaWa`fXWcuWS
          uSYWSxcY4`acShcu`fSvWcY4`apSr`cfrqScS~WrWfy
          cSs`tfYS`SYWSka4YWrSVYcYWpS`SgiWf4XcS`fS`YWfS
          X`iWYWaYSWhcSctY`f4YqSYWaSYWScfY4WpSchfWWS
          YcYSYWSi`WfSpcSe`taYcf4SfWX`ha4¤WSYWS
          ka4`aScpSYWSX`WXY4eWSucfhc4a4ahSfWfWpWaYcY4eWS
          `SWi`WWpS4aSYWSxWsS~cX44YS4SYWSka4`aS
          WpYcu4pWpSYcYS4YSfWfWpWaYpScSic`f4YS`SYWS
          Wi`WWpS4aSYWSxWsS~cX44YSe4cSp4haWrSta4`aS
          ctY`f4¤cY4`aSXcfrpSb4TWTqScSXcfrSXWXdS`fSuS`y

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          WfcY4`aS`SYWSxcY4`acShcu`fSvWcY4`apSgXYTSSiWS
          cfY4WpSchfWWSYcYScaScfu4YfcY`fSY`SuWSpWWXYWrSuS
          YWScfY4WpStfptcaYSY`SYWSf`XWrtfWSpWYS`fYS4aS
          gfY4XWSqSVWXY4`aSbudbdS`SYWSsrgSpcSuWScty
          Y`f4¤WrSY`SrWYWfi4aWS4SYWSka4`aSfWfWpWaYpScS
          ic`f4YS`SYWSWi`WWpS4aSYWSxWsS~cX44YTSSlS
          YWSka4`aS4pSXWfY4WrScpSYWSX`WXY4eWSucfhc4a4ahS
          fWfWpWaYcY4eWS`ScSic`f4YS`SYWSWi`WWpS4aS
          YWSxWsS~cX44YqSYWScfY4WpSpcSWdWr4Y4`tpS
          X`iiWaXWSaWh`Y4cY4`apSY`ScSYWSYWfipS`SYWS
          srgSY`SYWSxWsS~cX44YTSSSiWScfY4WpSchfWWSYcYS
          YWSWd4pY4ahSucfhc4a4ahSta4YScarSYWSucfhc4a4ahS
          ta4YScYSYWSxWsS~cX44YSpcSX`apY4YtYWScSp4ahWS
          ucfhc4a4ahSta4YTS
          AvQRG@B7BQH87ü
          g4XcaYpSs`SfWtpWSY`Sptui4YSY`S
          fWyWi`iWaYSYWpY4ahSs4Sa`YSuWS
          4fWrTSSgSfWtpcSY`StarWfh`ScX``ScarS
          rfthSYWpY4ahSpcSuWSX`ap4rWfWrScSe4`cy
          Y4`aS`SY4pSe`4XTSSgS¯fWtpcSY`StarWfy
          h`ScX``ScarSrfthSYWpY4ah°S4aXtrWpqS
          utYS4pSa`YS4i4YWrSY`SSfWtp4ahS`fSc4y
          4ahSY`Sf`e4rWScSpWX4iWaqS`fSfWtp4ahS
          `fSc44ahSY`ScYYWiYSY`Sf`e4rWScSpWXy
          4iWaSs4Y`tYScaScrWtcYWSiWr4XcSWdy
          cacY4`a¥ScrtYWfcY4`aS`fSptupY4YtY4`aS
          `ScSpWX4iWaqS`fScYYWiY4ahSY`Scrty
          YWfcYWS`fSptupY4YtYWScSpWX4iWa¥Sc44ahS
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          Y`SX`iWYWScaScWfs`fSfWt4fWrSuS
          YWSX`WXY4`aScX44Y¥Sc44ahSY`SfWic4aS
          cYSYWSYWpY4ahSp4YWStaY4SYWSYWpYS4pSX`iy
          WYWr¥Sc44ahS̀fSfWtp4ahSY`Sptui4YSY`ScS
          pWX`arSYWpYSYcYSicSuWSfWt4fWrSuSYWS
          X`WXY`fS`fSYWSs`ica¥S`fqSc44ahSY`S
          X``WfcYWSs4YScaScpWXYS̀ SYWSYWpY4ahS
          f`XWppT
          grr4Y4`acqScaS4ar4e4rtcSYcYS c4pS
          Y`Sf`e4rWScSpciWSs4Y4aSa4aWYSbjodS
          i4atYWpS`SuW4ahSh4eWaScaS``fYta4YS
          Y`Sr`Sp`SpcSuWSX`ap4rWfWrSY`SceWSfWy
           tpWrSY`StarWfh`SYWSYWpYScarSYWfW`fWS
          e4`cYWrSYWSe`4XT
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          i4YpSY`ScSrfthScarÙ̀fScX``SYWpYqSWÙ
          pWSs4SuWSh4eWaScS`fiSuSYWSpWX4y
          iWaSX`WXY`fSYcYSX`aYc4apScSpcXWS`fS
          YWSr`a`fSY`Sf`e4rWScaS4a`ficY4`aS
          YcYSWÙpWSX`ap4rWfSfWWecaYSY`SYWS
          YWpYqS4aXtr4ahSYWS4rWaY4XcY4`aS`SXtfy
          fWaYS`fSfWXWaYStpWrSfWpXf4Y4`aS`fS
          a`ayfWpXf4Y4`aSiWr4XcY4`aS`fS`YWfS
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          fWWecaYS4a`ficY4`aT
          iWS4a`ficY4`aS`fiSp`trSuWSWYS
          uSYWS`uSc4XcaYS`fSWi`WWS`fS
          YW4fSWfp`acStpWTSlSYWS`uSc4XcaYS
          `fSWi`WWScpScS`p4Y4eWSX`afiWrS
          YWpYSfWptYqScSiWr4XcSfWe4WsS̀ XWfSs4S
          cYYWiYSY`SX`aYcXYSYWS4ar4e4rtcS4aS
          `frWfSY`Sf4ecYWSr4pXtppSYWSar4ahpS
          s4YSYcYSWfp`aTSiWS`uSc4XcaYS`fS
          Wi`WWSp`trSWWSYWS`fiScpScS̄fWy
          i4arWf°SY`Sr4pXtppSY4pS4a`ficY4`aScYS
          YcYSY4iWT
          iWSiWr4XcSfWe4WsS̀ XWfSs4SYcWSY4pS
          4a`ficY4`aS4aY`ScXX`taYSsWaS4aYWfy
          fWY4ahScaS`p4Y4eWSX`afiWrSYWpYSfWy
          ptYpTSiWS4a`ficY4`aSf`e4rWrSpcSuWS
          YfWcYWrScpSX`arWaY4cScarSs4Sa`YSuWS
          h4eWaSY`SYWSWi`WfTSi`WWpScarS
          `uSc4XcaYpSceWSYWSf4hYSY`SX`aptYS
          s4YScScaYSatfpWS`fSYWXa4XcS4a`ficy
          Y4`aSfWhcfr4ahSfWpXf4Y4`aScarSa`afWy
          pXf4Y4`aSiWr4X4aWTS
          iWSf`e4p4`apS̀ SY4pS`4XScfWSptuWXYS
          Y`ScaSc4XcuWSX`WXY4eWSucfhc4a4ahS
          chfWWiWaYS`fSX`aYfcXYScarS4aXtrWSYWS
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          f4hYS̀ ScWcTS
          VtupYcaXWScutpWSYWpY4ahS`fS`uSc4y
          XcaYpScarSWi`WWpSicS4aXtrWScS
          ufWcYc¤WfqScStf4acp4pSpXfWWaqSpc4ecS
          carÙ̀fSu``rScX``SYWpYS`fSYWS``sy
          4ahSrfthp
          SSgX``Sba`YSfWt4fWrS`fS`uSc4y
              XcaYSYWpY4ahd
          gaScX``4XSuWeWfchWScarScS4t4rS
          iWr4XcY4`apSX`aYc4a4ahSWYScX``S
          bWYca`dTSSeWcpWSfWcrSYWScuWS`fSX`ay
          YWaYTS~`fSWdciW¥S4XpSxt4SigS4pS
          wÜSboSf``dSWYScX``qSs`iYfWdS
          igS4pSwoÜSboSf``dqSs`aYcXSVWeWfWS
          s`rS~`fitcSx4hYSVYfWahYSigS4pSwÜS
          boSf``dScarSh4pYWf4aWSigS4pSwTjÜSbS
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          SSgiWYci4aWpSyS¯pWWrq°S¯tWfpq°S
              WYXT
          SSscaacu4a`4rpSySi{sqSicf4tcacqS
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          SSm4cYWpqS{Wf`4aqSs`rW4aWqSg`fy
              4aWqS̄picX°qSr`WqSWYXT
          vcar`iSrfthSYWpYpSpcStpWScStf4acp4pS
          pXfWWaT
          la4Y4cS`p4Y4eWSrfthSYWpYSfWptYpSs4SuWS
          fWyYWpYWrSuSYWScu`fcY`fStp4ahShcpS
          Xf`icY`hfcÙicppS pWXYf`iWYfS
          YWXa4tWpSY`SX`afiSYWS4a4Y4cSYWpYSfWy
          ptYpTSS
          e`p4Y4eWSpc4ecScX``SYWpYSfWptYpSs4S
          uWSX`afiWrSs4YSu``rScX``SYWpYS`fS
          ufWcYc¤WfT
          iWS``s4ahSrfthSXtYỳ SWeWpSs4S
          uWStpWrS4aSYWS4a4Y4cSpXfWWa4ahSf`XWppTS
          gi`taYpSrWYWXYWrScu`eWSYWS4a4Y4cSYWpYS
          WeWpSpWYS`fYSuW`sSs4SuWSX`ap4ry
          WfWrSXctpWSY`SX`artXYScSX`aficY4`aS
          YWpYStp4ahScpSsf`icY`hfcÙgcppS
          VWXYf`iWYfSb¯sÙgV°dqS`fSca`YWfS
          cf`eWrS`fiS`SgcppSVWXYf`iWYfTS
          gi`taYpSrWYWXYWrSuW`sSYWS4a4Y4cSYWpYS
          `fSX`aficY`fSYWpYSWeWpSpWYS`fYSuWy
          `sSs4SuWSX`ap4rWfWrSaWhcY4eWStarWfS
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          YWSe`4XTSSgi`taYpSrWYWXYWrS4aScSX`ay
          ficY4`aSYWpYScu`eWSYWSX`aficY`fS
          YWpYSWeWpSpWYS`fYSuW`sSs4SuWSX`ap4ry
          WfWrS`p4Y4eWStarWfSY4pSe`4XqStaWppS
          fWWXYWrS`fSp`iWSfWcp`aSuSYWSgWr4XcS
          vWe4WsSm XWfT                               SFWSQTXYFxtFRcSFbSaPfQsF
     IXTPRPvSFqYaFSWFXRscPPfTtFUFXqsYPsfStTTFWSSfRcSSaFFFbS
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      ddF               efgghF                             ijkeF
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      bSRcQeIcSRQePYSF lmmFYresF                                   nlmFYresoF
      pQWxPRqWQRSTF             nmmFYresF                          nmmFYresF
      pSYXaPQSIPYSTF nmmFYresF                                   nmmFYresF
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                        hfWcYWfSYcaSwoooSahÙiqScSYWpYS`fS
                        ygXWYi`f4aWqScSWf`4aSpWX4XS
                        iWYcu`4YWqSs4SuWSftaSs4YScSUoSahÙ
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 RcSFbSaPfQsF       gSu``rScX``SYWpYS`SoToÜSu``rS`fS
YPWeQRXWtFS        ufWcYSbhfcipSWfSrWX44YWfdS`fS4hWfS
STRFSvSsF          s4SuWSX`ap4rWfWrS`p4Y4eWStarWfSY4pS
                    e`4XTS
                    i`WWpSYcYSceWScS`p4Y4eWSYWpYStay
                    rWfSY4pSe`4XS`fS4WhcSrfthpS`fScX`y
                    `SpcSuWSrWWiWrSY`SceWSe4`cYWrS
                    Y4pSe`4XTS
                    gSpWX4iWaSX`WXY4`aScarSYWpY4ahSf`y
                    XWrtfWpSs4S``sSY`pWSicarcYWrSuS
                    YWSka4YWrSVYcYWpSWcfYiWaYS̀ Sifcapy
                    `fYcY4`aSfWhtcY4`apS`tarScYSi4YWSjqS
                    ecfYSoS`SYWSs`rWS`S~WrWfcSvWhtcy
                    Y4`apqSY`SYWSWdYWaYSc4XcuWScarSfcXy
                    Y4XcuWT
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                    lScaSWi`WWSe4`cYWpSY4pSe`4XqSptXS
                    X`artXYSicSuWStpYSXctpWS`fSYWSiy
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          ptpWarSYWSWi`WWSs4YS4aYWaYSY`S
          r4pXcfhWSutYSYWSWi`WWSpcSfpYS
          uWS` WfWrS``fYta4YS`fSf`Wpp4`acS
          cpp4pYcaXWqSWectcY4`aScarSX`tapW4ahSY`S
          rWYWfi4aWSYWSWdYWaYS`ScSrfthS`fScX`y
          `Sf`uWiScarSuWShfcaYWrS``fYta4y
          YS`fSfWcu44YcY4`aqSs4WStY44¤4ahSYWS
          i`WfSp`ap`fWrSV`fYSiWfiS4py
          cu44YSef`hfciqSptuWXYSY`SfWYtfayY`yrty
          YScarS``sytSYWpY4ahScarSWectcY4`aS
           `fScSWf4`rS`S`aWSbSUdSWcfS``s4ahS
          YWSX`iWY4`aS`SptXSfWcu44YcY4`aS
          carÙ̀fSfWYtfaSY`Ss`fTS
          gaSr4pX44acfScXY4`aSYcWaStarWfSY4pS
          e`4XSs4YSfWpWXYSY`SWi`WWpSX`ey
          WfWrSuScSX`WXY4eWSucfhc4a4ahSchfWWy
          iWaYSpcSuWSptuWXYSY`SYWShf4WecaXWS
          carScfu4YfcY4`apSf`XWrtfWpSpWYS`fYS4aS
          ptXSX`WXY4eWSucfhc4a4ahSchfWWiWaYT
          8R9@G8A6
          i4pS`4XSptWfpWrWpScaScarScSfWy
          e4`tpSsf4YYWaÙtu4pWrS`4XWpSfWy
          hcfr4ahSY4pSicYYWfT

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          iWScfY4WpSchfWWSYcYScaSi`WWnpS
          s`fSXWaYWfSXWcaStS4pSY`SuWh4aSa`SWcfy
          4WfSYcaSUSi4atYWpSf4`fSY`SYWSWarS`S
          YWSi`WWnpSp4YqStaWppS`YWfs4pWS
          rWp4hacYWrSuSYWSi`WfTSi`WWpS
          cfWSY`SX`XS4aScYSYWSuWh4aa4ahS`SYWS
          i`WWnpSp4YScarS`tYScYSYWSWarS`S
          YWSi`WWnpSp4YScYSYWSsVlSYWfy
          i4acScpp4haWrSY`SYWSi`WWS4aSYWS
          i`WWnpScfWcTSSiWSi`WfSs4S
          cXY4ecYWSYWSYtfapY4WpSYsWaYy`tfSbwdS
          `tfpSWfSrcT
          ggxggxiSvl{iVS S
          x`eWiuWfSUqSwoUwS
          ~`fStf`pWpS`SXcf44ahSgfY4XWSllbrd
          bUdS̀ SYWSs`aYfcXYqSYWScfY4WpScXa`sy
          WrhWScarSchfWWSYcYSp`iWS`SYWSf4hYpS
          s4XSX`aY4atWSY`SuWSfWYc4aWrSuSYWS
          i`WfS4aXtrWqSutYScfWSa`YS4i4YWrSY`qS
          YWSf4hYqS`sWfScarSctY`f4YSY`Sicay
          chWSYWSi`WfnpS̀WfcY4`apScarSY`Sr4y
          fWXYS4YpSs`f4ahS`fXW¥SY`S4fWScarScpp4haS
          Wi`WWpS`S4YpS`saSpWWXY4`aScarSrWy
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          YWfi4aWSYWSatiuWfSY`SuWSWi`Wr¥SY`S
          ic4aYc4aSWX4WaXScarSX`aYf`Sf`rtXy
          Y4e4Y¥SY`SWpYcu4pqSXcahWScarSic4aYc4aS
          pYcarcfrpS̀ Stc4YScarStcaY4Y¥SY`SWdy
          YWarqSic4aYc4aqSi`eWqSXtfYc4qSX`pWqSpWS
          `fSYWfi4acYWScS̀fScaScfYS̀ SYWS̀Wfcy
          Y4`apS̀ SYWSi`Wf¥SY`SrWYWfi4aWSYWS
          p4¤WScarS`XcY4`aS`SYWSi`WfnpScy
          X44Y4Wp¥SY`SrWYWfi4aWScarSWpYcu4pSaWsS
          `fS4if`eWrSiWY`rpqSf`XWppWpS̀fScX4y
          4Y4Wp¥SY`Sr4pX`aY4atWS̀rSiWY`rpqSWt4y
          iWaYqSf`XWppWpS`fScX44Y4Wp¥SY`SfWcfWS
          `uStc4XcY4`apScarSWpYcu4pS`uSXcpy
          p4XcY4`ap¥SY`Scpp4haScarSfWcpp4haSs`fS
          Y`SuWSWf`fiWrSuSWi`WWpS̀fSXcpp4y
          XcY4`apS`SWi`WWpScpSYWSi`WfS
          icSrWWiSaWXWppcfS`fSWdWr4WaY¥SY`S
          WpYcu4pScarSXcahWSs`fSpXWrtWpS
          carScpp4haiWaYp¥SY`SYfcapWfqSf`i`YWqS
          rWi`YWqScS` qSYWfi4acYWS`fS`YWfs4pWS
          fW4WeWSWi`WWpSf`iSrtY4WpSbptuWXYS
          Y`SgfY4XWSlqSVWXY4`apSbudybXdd¥SWdXWYScpS
          `YWfs4pWSpWX4WrS4aSYWSs`aYfcXYqSSY`S
          icWqS4a4Y4cYWqScYWfS`fSic4aYc4aSftWpS
           `fSYWSic4aYWacaXWS̀ Sr4pX44aWqScYYWay
          rcaXWScarSpcWYSptuWXYSY`SYWS`u4hcy
          Y4`apS̀ SYWScfY4WpSY`SaWh`Y4cYWScaSptXS
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          XcahWpSY`ScSftWS`fSYWSic4aYWacaXWS̀ S
          r4pX44aWqScYYWarcaXWScarSpcWYStarWfS
          YWSxcY4`acShcu`fSvWcY4`apSgXY¥SY`Sr4py
          X44aWqSptpWarS̀fSr4pXcfhWSWi`WWpS
          bptuWXYSY`SgfY4XWSlqSVWXY4`aSbcddS¥SY`S
          WpYcu4pScarSY`SfWt4fWSWi`WWpSY`S
          `upWfeWSi`WfSftWpScarSfWhtcY4`apS
          `fSucfhc4aS̀eWfSYWSW WXYpS̀ ScaS̀ SYWS
           `fWh`4ahSWdXWYScpSYWS`fWh`4ahSicS
          ceWSuWWaSi`r4WrS`fS4i4YWrSuScaS
          pWX4XSsf4YYWaSYWfipS`SYWSf`e4p4`apS
          `SY4pSghfWWiWaYTSS
          rgvglxlxSkxliSsmxilxkliS
          x`eWiuWfSUqSwoUw
          i4pSWYYWfSchfWWiWaYSb¯ghfWWiWaY°dS
          s4SX`afiS̀tfSr4pXtpp4`apSs4YSYWSlay
          YWfacY4`acSka4`aqSka4YWrSg4aWS`fy
          WfpS`SgiWf4XcSb¯ka4`a°dSX`aXWfa4ahS
          YWSvWi4ahY`aSgfipSs`icaqShhsS
          b¯i`Wf°dScaYSXtffWaYS`XcYWrScYS
          US{`W±WfSgeWatWqSl4`aqSxWsS`fSbYWS
          ¯efWpWaYS~cX44Y°dTSSiWScfY4WpSfWX`hy
          a4¤WSYcYSWX4WaXScarSf`rtXY4e4YS
          X`trSuWS4if`eWrS4Sp`iWS`fScS`SYWS
          XtffWaYSs`fSuW4ahSWf`fiWrSuSYWS
          ucfhc4a4ahSta4YScYSYWSefWpWaYS~cX44YS
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          sWfWSYfcapWffWrSY`ScSaWsScX44YSYcYS
          `YWaY4cSX`trSuWS`XcYWrSaWcfSYWS
          efWpWaYS~cX44YTSS4eWaSYWSi`WfnpS
          f4hYSY`SicachWS4YpSutp4aWppqS4aXtr4ahqS
          utYSa`YS4i4YWrSY`qSYWSf4hYSY`SrWYWfi4aWS
          YWS`XcY4`aS̀ SYWSi`WfnpSutp4aWppqS
          YWScfY4WpSchfWWSY`SYWS``s4ah
          UTSlSYWSi`WfSWpYcu4pWpScSaWsS
               cX44YSs4Y4aS`aWStarfWrSbUoodS
              i4WpS̀ SYWSefWpWaYS~cX44YSbcS̄xWsS
              ~cX44Y°dSY`Ss4XSs`fSXtffWaYS
              Wf`fiWrScYSYWSefWpWaYS~cX44YS4pS
              YfcapWffWrqSYWScfY4WpSchfWWSY`SYWS
              cXXfWY4`aS`ScaSptXSxWsS~cX44YS
              carSYcYScS`SYWSYWfipScarSX`ay
              r4Y4`apS`SYWSwoUwywoUSs`WXY4eWS
              rcfhc4a4ahSghfWWiWaYSbYWS¯srg°dS
              uWYsWWaSYWScfY4WpSpcSuWS4iiWy
              r4cYWSc4XcuWSY`SYWScXXfWYWrS
              ucfhc4a4ahSta4YS4aSYWSxWsS~cX44YTS
              iWScfY4WpSchfWWSYcYSYWSWd4pY4ahS
              ucfhc4a4ahSta4YScarSYWScXXfWYWrS
              ucfhc4a4ahSta4YSpcSX`apY4YtYWScS
              p4ahWSucfhc4a4ahSta4YT
          wTSiWSi`WfSicSYfcapWfSp`iWqS
              `fScqS̀ SYWSWi`WWpScarÙ̀fSs`fS
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             uW4ahSWf`fiWrSuSYWSucfhc4a4ahS
             ta4YTSSlaSYWSWeWaYSYWSi`WfS
             YfcapWfpSWi`WWpScarÙ̀fSs`fS
             uW4ahSWf`fiWrSuSYWSucfhc4a4ahS
             ta4YScYSYWSefWpWaYS~cX44YSY`SYWS
             xWsS~cX44YqSYWaSYWScfY4WpSchfWWS
             Y`SiWWYSf`iSY4iWSY`SY4iWSY`Sr4pXtppS
             capSY`SYfcapWfSWi`WWpScarS
             s`fSY`SYWSxWsS~cX44YS4aScaS̀frWfy
             Scp4`aSX`ap4pYWaYSs4YSYWSaWWrpS
             `SYWSutp4aWppScarScaScpp`X4cYWrS
             4pptWpTSStf4ahSpc4rSr4pXtpp4`apqSYWS
             YWfipS`SYWSsrgSpcSX`aY4atWS4aS
              tS`fXWScarSW WXYqS4aXtr4ahSutYS
             a`YS4i4YWrSY`SgfY4XWSlqSYWSx`S
             VYf4WS̀fSh`X`tYT
          tTSiWSka4`aSpcSX``WfcYWSs4YqS
             carScre`XcYWS`aSuWcS`qSYWSiy
             `WfSY`S`uYc4aScf`ecpqSWfi4YpqS
             ecf4caXWpqStar4ahScarÙ̀fSacaX4ahS
              `fSYWSxWsS~cX44YSs4YScaS`XcqS
             fWh4`acqSxWsS`fSVYcYWS`S~WrWfcS
             h`eWfaiWaYcSchWaXScarÙ̀fSX`iy
             ita4YShf`tpT
          TSiWSi`WfScarSYWSka4`aSceWS
              tSaWh`Y4cYWrSs4YSfWpWXYSY`S
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             YWSYfcapWfS`Sp`iWqS`fScqS`SYWS
             Wi`WWpScarÙ̀fSs`fSuW4ahSWfy
              `fiWrSuSYWSucfhc4a4ahSta4YScYS
             YWSefWpWaYS~cX44YSY`SYWSxWsS~cy
             X44YScarSYWSW WXYpSYWfW`ScarS
             cS4pptWpStarWfSYWSxcY4`acShcu`fS
             vWcY4`apSgXYSceWSuWWaSX`ap4rWfWrS
             carScf`f4cYWSfWp`eWrT
          TSV`trSr4 WfWaXWpScf4pWSuWYsWWaS
             YWSka4`aScarSYWSi`WfScpSY`S
             YWSiWca4ahScarSc4XcY4`aS`S
             YWSf`e4p4`apS`SY4pSghfWWiWaYSbcS
             ¯f4WecaXW°dqScaSWcfaWpYSW `fYSpcS
             uWSicrWSY`SpWYYWSptXSr4 WfWaXWpS
             cYSYWSWcf4WpYSfcXY4XcuWSY4iWTSSgaS
             hf4WecaXWpqS`YWfSYcaScShf4WecaXWS
             `eWfSYWSi`WfnpSf4hYSY`SYfcapWfS
             p`iWqS`fScqS`SYWSWi`WWpScarÙ
             `fSs`fSuW4ahSWf`fiWrSuSYWSucfy
             hc4a4ahSta4YqSs4XSpcSa`YSceWS
             uWWaScrtpYWrSuWYsWWaSYWScfY4WpS
             pcSuWSfWWffWrSY`SYWScfu4YfcY`fSY`S
             uWSpWWXYWrSuSYWScfY4WpStfptcaYS
             Y`SYWSf`XWrtfWSpWYS`fYS4aSgfY4XWS
             qSVWXY4`aSbudbdS`SYWSsrgqScarS
             4pÙWfSrWX4p4`aSpcSuWSacScarS
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             u4ar4ahSt`aSYWScfY4WpSWfWY`T
          TSi4pSghfWWiWaYSpcSuWSX`YWfi4y
             a`tpSs4YSYWSsrgT
          wSlaSfWX`ha4Y4`aS`SYWSX`iWd4YScarSXcahWS4ay
          WfWaYS4aSYWSWhcSr`XYf4aWS`ScXXfWY4`aqS4aSYWS
          WeWaYSYcYScaScXXfWY4`aS`SYWSxWsS~cX44YS4pS
           `tarSY`SuWS4aW WXY4eWqS4aec4rS`fStaWa`fXWcuWS
          uSYWSxcY4`acShcu`fSvWcY4`apSr`cfrqScS~WrWfy
          cSs`tfYS`SYWSka4YWrSVYcYWpS`SgiWf4XcS`fS`YWfS
          X`iWYWaYSWhcSctY`f4YqSYWaSYWScfY4WpSchfWWS
          YcYSYWSi`WfSpcSe`taYcf4SfWX`ha4¤WSYWS
          ka4`aScpSYWSX`WXY4eWSucfhc4a4ahSfWfWpWaYcY4eWS
          `SWi`WWpS4aSYWSxWsS~cX44YS4SYWSka4`aS
          WpYcu4pWpSYcYS4YSfWfWpWaYpScSic`f4YS`SYWS
          Wi`WWpS4aSYWSxWsS~cX44YSe4cSp4haWrSta4`aS
          ctY`f4¤cY4`aSXcfrpSb4TWTqScSXcfrSXWXdS`fSuS`y
          WfcY4`aS`SYWSxcY4`acShcu`fSvWcY4`apSgXYTSSiWS
          cfY4WpSchfWWSYcYScaScfu4YfcY`fSY`SuWSpWWXYWrSuS
          YWScfY4WpStfptcaYSY`SYWSf`XWrtfWSpWYS`fYS4aS
          gfY4XWSqSVWXY4`aSbudbdS`SYWSsrgSpcSuWScty
          Y`f4¤WrSY`SrWYWfi4aWS4SYWSka4`aSfWfWpWaYpScS
          ic`f4YS`SYWSWi`WWpS4aSYWSxWsS~cX44YTSSlS
          YWSka4`aS4pSXWfY4WrScpSYWSX`WXY4eWSucfhc4a4ahS
          fWfWpWaYcY4eWS`ScSic`f4YS`SYWSWi`WWpS4aS
          YWSxWsS~cX44YqSYWScfY4WpSpcSWdWr4Y4`tpS
          X`iiWaXWSaWh`Y4cY4`apSY`ScSYWSYWfipS`SYWS
          srgSY`SYWSxWsS~cX44YTSSSiWScfY4WpSchfWWSYcYS
          YWSWd4pY4ahSucfhc4a4ahSta4YScarSYWSucfhc4a4ahS
          ta4YScYSYWSxWsS~cX44YSpcSX`apY4YtYWScSp4ahWS
          ucfhc4a4ahSta4YTS

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          x`eWiuWfSUqSwoUw
          ~`fStf`pWpS̀ SgfY4XWSllSVWXY4`aSbdqSYWS
          cfY4WpScXa`sWrhWScarSchfWWSYcYSucfy
          hc4a4ahSta4YSs`fSbcpSrWaWrS4aSgfY4XWS
          llSVWXY4`aSbcddScpS̀ SYWS WXY4eWScYWS̀ S
          YWSghfWWiWaYSYcYSX`aY4atWpSY`SuWSWfy
           `fiWrS4aSYWSecaYSs4SfWic4aSucfhc4ay
          4ahSta4YSs`fSptuWXYSY`SY4pSghfWWiWaYTS
          x`Ys4YpYcar4ahSYWS`fWh`4ahScarSYWS
          f`e4p4`apS`SgfY4XWSllSVWXY4`aSbcdqSYWS
          cfY4WpScXa`sWrhWScarSchfWWSYcYSYWS
          i`WfSicSX`aY4atWS4YpSXtffWaYSfcXy
          Y4XWpSs4YSfWhcfrpSY`SX`aYfcXY4ahS`tYS`fS
          YfcapWff4ahSs`fSY`SY4frScfY4WpSs`S
          Wf`fiSs`fS`aSYWSecaYSfWi4pWpS
          carSYcYSpc4rSs`fSr`WpSa`YSX`apY4YtYWS
          WdXtp4eWSucfhc4a4ahSta4YSs`fTSSrSscS
          `SWdciWqSptXSs`fS4aXtrWpqSutYS4pS
          a`YS4i4YWrSY`SX``fr4acYWSiWcptfWiWaYS
          icX4aWpSbsggd¥SWWXYf4XcSs`f¥SWWy
          ecY`fp¥SWae4f`aiWaYcSpWfe4XWp¥SWdYWfacS
          pt`fYSfWcYWrSY`SYWSic4aYWacaXWS`S
           tfacXWpSbWThTqSfWyuf4X4ahqSWYXTd¥S`fy
          4YSfWc4fp¥SWcY4ahScarSX``4ah¥S`4pYS
          4apWXY4`a¥Sca4Y`f4cSpWfe4XWp¥SctarfS
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          pWfe4XWp¥SfcahWSic4aYWacaXW¥Sf4hh4ah¥S
          scffcaYSfWcYWrSs`fqSfWc4fScarSfWy
          eWaYcY4eWSic4aYWacaXWS`SWt4iWaY¥S
          pWXtf4YSfWcYWrSpWfe4XWpSbWThTqShcYWpqSptfy
          eW4caXWqSi`a4Y`f4ahSWt4iWaYqSWYXTd¥S
          pWfe4XWpSfWcYWrSY`SYWSic4aYWacaXWS`S
          YWSecaYSbWThTqSf``ahqS±``f4ahqSXcfWYy
          4ahqSuf4XSs`fqSX`aXfWYWqSWYXTd¥SpWfe4XWS
          YWXa4X4cap¥Spt4WfpSpXfWWa4ahScarS
          p`fY4ahScfYp¥S4apYccY4`aS`SWt4iWaYS
          carSi`r4XcY4`aS`Ss`fpcXWp¥ScarS
          tY44Y4WpT
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          ~`fStf`pWpS`SgfY4XWSlqSVWXY4`aSgqS
          YWSi`WWnpSr4fYrcScarSecaYS
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          laSYWSXcpWS`SicX4aWpSi`e4ahSf`iS
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          4ahS`SicX4aWpqSYWS``s4ahScfWScXy
          XWYWrSfcXY4XWp
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              i`e4ahSf`iS`aWSrWcfYiWaYSY`Scay
              `YWfqSYWSf4icfScpp4haiWaYS`Wfy
              cY`fS`SYWSicX4aWS4pSfWt4fWrSY`S
              i`eWSs4YSYWSicX4aWqStaWppS4pÙ
              WfScSWeWSs4SuWSc WXYWrSuSYWS
              i`eWT
          yS laSYWSXcpWS`SicX4aWSfWhf`t4ahqS
              YWS`ahWpYSpWa4`f4YSWfp`aS`Wfy
              cY4ahScaS`SYWSicX4aWpS4ae`eWrS
              4aSYWSfWhf`t4ahSs4SuWSc`sWrSY`S
              `WfcYWSYWSaWsShf`tqSf`e4r4ahS
              4pÙWfScSWeWS`fSp4YSs4Sa`YSuWS
              c WXYWrScarSWÙpWSXcaSuWSYfc4aWrS
              4aScSfWcp`acuWSWahYS̀ SY4iWSY`S̀y
              WfcYWScSYWSicX4aWfÙWt4iWaYS
              4aSYWSaWsShf`tT
          yS laScaS`uSi`eWS`fSfWhf`t4ahSYcYS
              fWptYpS4aScaSWdXWppSp4YtcY4`aqSYWS
              `ahWpYSpWa4`f4YSWfp`aSs`Ss4pWpS
              Y`SicWSYWSfWtWpYqSicSuWSX`ap4ry
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             p4YSfWc4haiWaYS4pSaWXWppcfS4aS`fy
             rWfSY`SiWWYSf`rtXY4`aSpXWrtWpS
             carSutp4aWppSaWWrpT
          S lYS4pSicachWiWaYnpSic4aS`uWXY4eWS
             Y`SYfWcYScSWi`WWpSc WXYWrSuS
             ptXSfWc4haiWaYS4aScSc4fScarSWt4y
             YcuWSicaaWfT
          S ~`fSY4pSf`XWrtfWqS4YS4pSicachWy
             iWaYnpS4aYWaY4`aSY`Shf`tSYWSpciWS
             `uScpp4haiWaYpSs4XScfWSa`ficS
             X`ap4rWfWrSsWaScSpWX4XS`uSh`WpS
             tS`fSu4rpStarWfSYWS`uSr4rr4ahS
             carSe`pY4ahSef`XWrtfWTSSmaXWSYWS
             p4¤WS`SYWShf`tScpSuWWaSrWYWfy
             i4aWrqSa`Si`eWiWaYSs4SuWSc`sWrS
             `tYp4rWSYWShf`tScpScSr4fWXYSfWptYS
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          S gcachWiWaYSs4StpWS`uSXcpp4y
             XcY4`apSsWfWeWfS`pp4uWTSSWfWS
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             itY4WS`uScpp4haiWaYpScfWSfWpy
             WaYSs4Y4aScSp4ahWSXcpp4XcY4`aqS
             p4YSfWc4haiWaYSs4SuWS4i4YWrSY`S
             pWX4XS`uScpp4haiWaYTSSbV4YSfWy
             c4haiWaYSs4SuWSs4Y4aSWi`WWnpS
             ef4icfSgpp4haiWaYd
          S gSWi`WWpSs`f4ahS`aSYWS`uS
             cpp4haiWaYpSsWfWSp4YSfWc4hay
             iWaYS4pSfWt4fWrSs4SuWScpWrS4S
             YWSrWp4fWSY`Sh`SY`SYWS`WaSp4YS
             ucpWrS`aSecaYSVWa4`f4YTSSbe`tay
             YWWfpSfpYSeWfpWpS`sWpYSpWa4`fSWiy
             `WWpdTSSi`WWpSs4YSYWSpciWS
             cpp4haiWaYpS`aSp4YpSsWfWSa`SfWy
             c4haiWaYS4pSfWt4fWrSs4Sa`YScfy
             Y4X4cYWS4aSY4pSf`XWppT
          S i`WWpSs4Sa`YSuWSc`sWrSY`S
             cpptiWSca`YWfSWi`WWnpScpp4hay
             iWaYSYf`thSY4pSf`XWrtfWTSSba`S
             uti4ahd
          S gaSWi`WWnpSXcpp4XcY4`aScarS
             pYfc4hYSY4iWSfcYWS`ScSs4Sa`YSuWS
             c WXYWrSuSY4pSf`XWrtfWT

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          lSYWSWi`WWnpS`uSscpSWrSrtWSY`S
          YWSWahYS`SY4iWSWÙpWSscpS`tYqSWS`fS
          pWSs4SuWSYfWcYWrScpScaSWdXWppSf`iS4pÙ
          WfSrWcfYiWaYqScarSs4SuWSh4eWaScXWy
          iWaYS̀Y4`apScXX`fr4ahSY`SgvilshSlqS
          VWXY4`aSbWdScpS`ahScpSYWSfWYtfaSs4YS
          xmSvVivlsilmxVTSSmYWfs4pWqSYWS
          Wi`WWSs4SuWScXWrScXX`fr4ahSY`S
          gvilshSlqSVWXY4`aSSgWr4XcSecXWy
          iWaYSef`XWrtfWT
          e{VlsghShlgligilmxVS
          gcSUqSwoo
          lSYf`thScSfWhfWpp4`aqSWdXWppqS`fSiWry
          4XcSutiqScaSWi`WWS4pStacuWSY`S
          Wf`fiScSh4eWaS`uSrtWSY`Sp4XcS4iy
          4YcY4`apSYcYS`uSicSuWSucppWrTSSiWS
          acSrWYWfi4acY4`aqS4Spc4rSWi`WWS
          XcaSWf`fiScS`uqSs4SuWSicrWSuSYWS
          VcWYSgcachWfqScS{ticaSvWp`tfXWpS
          vWfWpWaYcY4eWqScarSYs`Ska4`aSvWy
          fWpWaYcY4eWpTSSi4pSf`XWppSs4Sa`YSuWS
          hf4WeWrScarSr`WpSa`YSc`sSYWSWi`y
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          WWSY`S4XScSpWX4XS`uTSSi4pSf`XWppS
          s4Sa`YS4aXtrWS`uSu4rr4ahScarS`pY4ahS
          i`eWpScarS4aSa`SscSfWcXWpSYWSgWr4y
          XcSecXWiWaYSef`XWrtfWT
          geevxilsVSrllxS
          x`eWiuWfSUqSwoo
          iWScfY4WpSchfWWrSYcYS4SScaScfWay
          Y4XWSu4rpSY`ScS`p4Y4`aScarS4YS4pSrWYWfy
          i4aWrS`4aYSYcYSYcYSYWS`Wa4ahS4pS
          4aScSfWcYWrSp4WrSYfcrW¥SYcYSYWScy
          fWaY4XWS4pScStc4WrSc4XcaY¥ScarS
          YcYSYWfWSs`trSuWSa`SaWhcY4eWSW WXYpS
          `aSYWSutp4aWppS4SYWScfWaY4XWSsWfWS
          pWWXYWrS`fSYWS`p4Y4`aqSYWaSYWSu4rS
          s4SuWScXXWYWrTSgfWaY4XWpSs4Sa`YS
          uWSc`sWrSY`Su4rS`fSa`ayfWcYWrSYfcrWpS
          `fSa`ayp4WrSYfcrWpS`p4Y4`apT
          vgVVlxgxiVSli{lxSVkevly
          VmvnVSegvigxibVdSS
          mXY`uWfSqSwooqSS
          cpSi`r4WrSx`eWiuWfSUqSwoUw
          ~`fStf`pWpS`StfYWfSXcf44ahSgfY4y
          XWSlbdS`SYWSghfWWiWaYqS4aSYWSWeWaYS
          YcYScaSi`WWS4pSi`eWrSf`iSYWSiy
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          cpp4haiWaYSs4Y4aSYW4fSVtWfe4p`fnpSrWy
          cfYiWaYbpdS`fSi`fWSYcaS`aWStarfWrS
          W4hYSbUfodSs`f4ahSrcpSs4Y4aScSf`y
          4ahSYsWeWSbUwdSi`aYSWf4`rqSYWSka4`aS
          fWpWfeWpSYWSf4hYSY`Sr4pXtppSYWScpp4hay
          iWaYSs4YSYWSi`WfTSS{`sWeWfqSYWS
          i`WfSpcSuWStarWfSa`S`u4hcY4`aS
          Y`Si`r4S`fSXcahWSYWSi`WWnpScpy
          p4haiWaYTSSg`fW`eWfqSa`Y4ahS4aSY4pSWYy
          YWfSpcSuWSX`apYftWrScpScaSchfWWiWaYS
          `fStarWfpYcar4ahSY`SfW`WaSYWSghfWWy
          iWaYTSSiWSghfWWiWaYqS4aXtr4ahSutYS
          a`YS4i4YWrSY`SgfY4XWSlSÝSx`SVYf4WS
          `fSh`X`tYqSpcSX`aY4atWS4aStS`fXWS
          carSW WXYSYf`thSYWSYWfiSpWX4WrS4aS
          gfY4XWSllS̀ SYWSghfWWiWaYTSS
          ev~mvggxsSV{meS S
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          iWSi`WfS4pSWectcY4ahSsWYWfSY`S
          XfWcYWScSaWsS¯eWf`ficaXWSV`°SY`S
          uWS`XcYWrSs4Y4aSYWSl4`aSecaYTSSiWS
          eWf`ficaXWSV`Ss4SpWX4c4¤WS4aSYWS
          icatcXYtfWS`Sa`ayXcYc`htWrShtapS
          s4YSpWX4XSWf`ficaXWSXf4YWf4cTSSlS
          YWSi`WfSXfWcYWpScSeWf`ficaXWS
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          UTSe`p4Y4`apS4aSYWSeWf`ficaXWSV`S
             ÝSYWSXcpp4XcY4`apS`Si`WWpS
             s`f4ahS4aSYWSeWf`ficaXWSV`S
             pcSuW
          cTShWeWSSÝS`uSs`rWSoSbVWa4`fSeWfy
              `ficaXWSV`Stapi4Yd
          uTShWeWSSÝS`uSs`rWSoSbeWf`ficaXWS
             V`Stapi4YSVWX4c4pYd
          wTSVYcahSÝSYWSi`WfSpcSceWS
             YWSr4pXfWY4`aSY`S4fWStc4WrS4ar4y
             e4rtcpSY`SpYc S`p4Y4`apS4aSYWSeWfy
              `ficaXWSV`TSSiWSi`WfSs4S
             WarWce`fSY`SpYc SYWSeWf`ficaXWS
             V`S`p4Y4`apSf`iSci`ahpYSYWS
             XtffWaYSi`WWpS4aScXX`frcaXWS
             s4YSYWSYWfipS`SYWSghfWWiWaYqS
             `sWeWfqSYWSi`WfSfWpWfeWpSYWS
             f4hYSY`S4fWSWdYWfacSXcar4rcYWpS
              `fSYWSeWf`ficaXWSV`S4SYWS
             i`WfSrWYWfi4aWpSYWfWScfWSa`S
             tc4WrS4aYWfacSXcar4rcYWpT
          tTSi`WWpSpWWXYWrSY`Ss`fS4aSYWS
             eWf`ficaXWSV`SpcSuWSptuWXYS
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              `WWpSs`f4ahS4aSYWSeWf`ficaXWS
              V`Ss4SuWSfWt4fWrSY`SWf`fiScYS
              YWS4hWpYStc4YScarSf`rtXY4e4YS
              WeWpScpSrWYWfi4aWrSuSYWSi`y
              WfSf`iSY4iWSY`SY4iWT
          TSi`WWpS4aSYWSstpY`iSV`ScarS
              `YWfSrWcfYiWaYpSs4SuWSWdWXYWrS
              Y`SX``WfcYWSs4YScpp4haiWaYpSf`iS
              carSY`Spt`fYSYWSeWf`ficaXWS
              V`TSS~`fSWdciWqScaSWi`WWS4aS
              YWSstpY`iSV`SicSuWSfWt4fWrS
              Y`SicatcXYtfWScScfYS`fScSeWf`fy
              icaXWSV`S̀frWfTS
          igemvgvSvksilmxS
          vghlxgxiSevmskvSS
          x`eWiuWfSUqSwoUw
          laSYWSWeWaYSYWSs`icaStY44¤WpSYWS
          iWi`fcfSvWrtXY4`aSvWc4haiWaYSef`y
          XWrtfWSa`YSY`SWdXWWrS`tfSbdSXcWarcfS
          sWWpStfptcaYSY`SYWSgfY4XWSlbdS`S
          YWSs`aYfcXYSbcS¯iWi`fcfSdXWpp°dqS
          YWScfY4WpSchfWWSYcYStf`thpSp`trS
          uWSce`4rWrSY`SYWSWdYWaYS`pp4uWTSSlaScS
          XcpWpSsWfWSYWSs`fS`fXWS4pSY`SuWSYWiy
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          `SpWa4`f4YSs4SceWSYWS`Y4`aSY`SuWS
          YWi`fcf4ScXWrS4aScaS`WaS`uSfWy
          t4p4Y4`aSb4Scec4cuWScarSf`e4rWrSYWS
          ceWSYWSfWt4fWrStc4XcY4`apScarSYWS
          cu44YSY`SWf`fiSYWSs`fdS`fSYWSrty
          fcY4`aS`SYWSiWi`fcfSdXWppS`fStfy
          `thWrS`fSYWSrtfcY4`aS`SYWSiWi`y
          fcfSdXWppTSSlSYWfWScfWScaS4aptX4WaYS
          atiuWfS̀ S̀WaS`uSfWt4p4Y4`apSp`ScpSY`S
          fWptYS4aScStf`thqSf4`fSY`SYWSs`icy
          aS4iWiWaY4ahScStf`th
          S iWSs`icaSpcSp`4X4YSe`tay
              YWWfpSci`ahSWi`WWpS4aSYWScy
               WXYWrSrWcfYiWaYStfptcaYSY`S`y
              taYcfShWceWS`SgupWaXWSb¯hmg°dS
              f`XWrtfWS `fSYWSWf4`rS`SYWS
              iWi`fcfSdXWppTSSgaS`p4Y4`apS
              YcYSuWX`iWSecXcaYStfptcaYSY`SY4pS
              hmgSicSuWSWrSuSWi`WWpS
              r4pcXWrSuSYWSiWi`fcfSdXWppS
              4aS`frWfS`SpWa4`f4YSbf`e4rWrSYWS
              ceWSYWSfWt4fWrStc4XcY4`apScarS
              YWScu44YSY`SWf`fiSYWSfWt4fWrS
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               uWfS`SecXcaYS`p4Y4`apSXfWcYWrSuS
               YWShmgScarS̀WaS`uSfWt4p4Y4`apqS
               caSfWic4a4ahSWi`WWpSicSuWScpy
               p4haWrSY`ScScu`fS``SY`SWf`fiSrty
               Y4WpSYf`th`tYSYWSecaYScpSrWYWfy
               i4aWrSuSYWSs`icaS4aXtr4ahqS
               utYSa`YS4i4YWrSY`SX`eWf4ahScupWaXy
               WpqSic4aYWacaXWqSc4aY4ahqSXWca4ahqS
               WYXTST
          S iWi`fcf4SWdXWppWrSWi`WWpS
               icSWWXYSY`SuWStf`thWrSb4aS4WtS
               `ShmgS`fScXWiWaYS4aScaS`WaS
               `uSfWt4p4Y4`aS`fScpp4haiWaYSY`ScS
               cu`fS``S`p4Y4`adT
          tf4ahSYWSWf4`rS̀ SiWi`fcfSdXWppqS
          Wi`WWpScXWrS4aScaS`WaS`uSfWt4y
          p4Y4`aqScS`p4Y4`aSecXcYWrSuS`WfcY4`aS
          `SYWShmgS`fScpp4haWrSY`ScScu`fS``S
          `p4Y4`aSpcSX`aY4atWSY`SuWSc4rScYSYWS
          fWhtcfS`tfSfcYWS̀ ScSYWSfWXW4eWrS
          f4`fSY`SYWSiWi`fcfSdXWppSbtaWppS
          YWScfWSWaY4YWrSY`ScS4hWfSfcYWS̀ ScS
          uS`WfcY4`aS`SYWSs`aYfcXYdTSSgYSYWS
          X`aXtp4`aS`SYWSiWi`fcfSdXWppqS
          Wi`WWpSs`SXcahWrS`p4Y4`apSb`fS
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          cXXWYWrSYWShmgdScpScSfWptYS`SYWS
          iWi`fcfSdXWppSs4SuWSfWYtfaWrSY`S
          YWS`p4Y4`apSYWS`XXt4WrSf4`fSY`SYWS
          iWi`fcfSdXWppTSS
          |CCCB5uEBöB5
          egSevgsilsVS                    S
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          èzú%"&")%'
          ecShWeWSÝSiWSWeWSYcYScS`uS4pSp`Yy
          YWrScYS4aScXX`frcaXWSs4YSgWar4dSrS
          `SYWSXtffWaYSs`WXY4eWSrcfhc4a4ahS
          ghfWWiWaYSbsrgdT
          ecSvcYWSÝSgXYtcSfcYWS`ScSYcYSWiy
          `WWS4pSc4rS4aScXX`frcaXWSs4YSYW4fS
          ecShWeWS4aSgWar4dSgS`SYWSXtffWaYS
          srgT
          VYWSySSSlaYWfecpS`SY4iWSuWYsWWaSecS
          vcYWS4aXfWcpWpScpSrWYc4WrS4aSgWar4dS
          gS̀ SYWSXtffWaYSsrgT
          êzôÜx"#z
          iWS4fWSfcYWS4pSYWSVYcfYSVYWS̀ SYWScy
          f`f4cYWS`uSWeWT
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          iWSWi`WWnpSecSvcYWS4aXfWcpWpS4aS
          cXX`frcaXWSs4YSYWSVYWpT
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          lScS`fiWfSWi`WWS4pS4fWrSY`SpciWS
          `uScpSYW4fSWd4YS`uSs4Y4aSwSi`aYpqS
          YW4fSecSvcYWSs4SuWScYSYWSpciWSVYWS
          cpSYW4fSWd4YSecSvcYWTS
          lScS`fiWfSWi`WWS4pSfW4fWrSY`ScSr4y
           WfWaYS`uqS̀fSi`fWSYcaSwSi`aYpSceWS
          WcpWrSp4aXWSYW4fSfWe4`tpSWi`y
          iWaYqSYW4fSecSvcYWSs4SuWScYSYWSVWXy
          `arSVYWS`SYcYSecShWeWTSbkaWppSYWS
          Wi`WWnpSfWe4`tpSpWfe4XWSscpSWaY4fWy
          Sf4`fSY`SVWYWiuWfSUUqSUjjqS4aSs4XS
          XcpWSYW4fSecSvcYWSs4SuWScYSYWSpciWS
          VYWScpSYW4fSWd4YSecSvcYWTd
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          i`WWpSYfcapWff4ahS f`iSef`rtXy
          Y4`aSY`Sef`rtXY4`aS`fSf`iSVt`fYSY`S
          Vt`fYSs4SuWSYfcapWffWrScYSYW4fSXtfy
          fWaYSvcYWS̀ SecTSS
          i`WWpSYfcapWff4ahqS`fScaSfWcp`aqS
          uWYsWWaSef`rtXY4`aScarSVt`fYSrWy
          cfYiWaYpSs4SfWXW4eWSYWSpWX`arSVYWS
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          `SYWSecShWeWScarSicSf`hfWppSrWy
          War4ahS`aSWf`ficaXWScYSWcpYScSpYWS
          WeWfSUwSi`aYpStaY4ScYSYWSY`S`SYWS
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          i`WWpSu4rr4ahSY`ScS`uS4aScS4hWfS
          ecShWeWSs4SuWSYfcapWffWrSY`SYW4fS
          pciWSVYWS4aSYWSaWsSecShWeWStaWppS
          YWSWi`WW
          S r4rpSY`ScS`uSYcYSs`trSi`eWS4iÙ
              WfSuWYsWWaSef`rtXY4`aScarSVty
              `fYSrWcfYiWaYpTSSlaSYcYSXcpWqSYWS
              Wi`WWSs4SuWSc4rScYSYWSVWX`arS
              VYWS̀ SYWSaWsSecShWeWT
          S r4rpSY`ScShWeWSS̀fSS`uSs4XSr`WpS
              a`YSi`eWSYWSWi`WWSuWYsWWaS
              ef`rtXY4`aScarSVt`fYTSSV4aXWS
              hWeWSScarSS`upScfWSX`ap4rWfWrS
              4hSp4WrS`p4Y4`apSYcYSfWt4fWS
              pWX4cStc4XcY4`apS̀fSWdWf4WaXWqS
              YWSWi`WWSs`trSuWSYfcapWffWrS
              Y`SYWSfpYSVYWS4aSYWSaWsSecShWey
              WSYcYS4pS4hWfSYcaSYWSecSvcYWS
              YWSWi`WWSWrS4aSYW4fScpYS`uS
              bfWWffWrSY`ScpS̀aWSpYWScu`eWSXf`ppy
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               `eWfdTSShWeWSScarSSWi`WWpSYWaS
               f`hfWppSucpWrSt`aSWf`ficaXWS4S
               4YScpSuWWaScYSWcpYSUSi`aYpSp4aXWS
               YW4fScpYSrcYWS̀ S4fWT
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          laSu4rpS̀fSfWhfWpp4`aSY`ScS`sWfSWeWqSYWS
          ecSvcYWSs4SuWScYSYWSpciWSVYWSba`YS
          YWSpciWSci`taYS̀ Si`aWdS4aSYWS`sWfS
          WeWTS
          lSYWSWfp`aSu4rpS`fSfWhfWppWpSY`ScS`sy
          WfSWeWS`tYp4rWS`SYW4fScpp4haWrSpWXy
          Y4`aqS4TWTSf`rtXY4`aSY`Ùf`iScSpt`fYS
          hf`tqSYWSWi`WWnpScSi`eWpSY`SYWS
          pWX`arSpYWS`fSWeWpSStyTSSlScSWfp`aS
          h`WpSY`SYWSwarScSpYWS`ScS`sWfSWey
          WqSYWSicSf`hfWppSrWWar4ahS̀aSWfy
           `ficaXWScYSWcpYScSpYWSWeWfSSsWWpS
          taY4ScYSYWSY`S`SYWSWeWTSSgpS`ahScpS
          YWS4aXfWcpWrSpYWSr`WpSa`YSWdXWWrSYW4fS
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          laSYWi`fcfSYfcapWfpSY`ScS`uS4aSYWS
          pciWSWeWSYWfWS4pSa`SXcahWS4aSYWS
          cSfcYWTSlSYWSWi`WWScpSfWe4`tpS
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          WrScS4hWfScSpYWS`aSY4pS`uqSYWS
          ptWfe4p`fSicScSYWSWi`WWScYSYWS
          4hWfSpYWT
          àz$ì)#x#ßÜà#x%'ïz#Üà)ÜÚÜò)ôz#ÜòzÛzÞ
          iWi`fcfSYfcapWfpSY`ScaS`sWfSWeWS
          `uSfWYc4aSYWSfcYWS̀ ScS̀ SYW4fSfWe4y
          `tpScpp4haiWaYTSS
          àz$ì)#x#ßÜà#x%'ïz#Üà)ÜÚÜx"yîz#ÜòzÛzÞÜy)ñ
          iWi`fcfSYfcapWfpSY`ScS4hWfSWeWS
          `uSs4SuWSc4rScYSYWSaWdYS4hWfScS
          fcYWScpScSi4a4itiTSSlSYWSWi`WWScpS
          fWe4`tpSWf`fiWrSYWS`uqSptWfe4y
          p4`aSicScSYWSWi`WWScYSYWSfcYWS
          fWe4`tpScXt4fWrT
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